18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 1 of 24

Case 1

A I 8 I

I [ I [ I I I I
8003549441 OUCHAN, KARIMA K NL QO 0 0 0 0 0 0 0 Q 0 Q 0
8906140155 KOELLNER, BERT DE Qo 0 0 0 0 0 0 Qo 0 0 0 0
571687 NORRISTOWN CHURCH OF GOD us 0 0 0 0 0 0 0 0 0 0 0 0
8003551311 STEEGHS, MARTIEN EN CHRISTIEN NL 0 oO 0 0 Q Qo 0 0 0 0 0 QO
572615 WHITTINGTON, JAMES W us 0 Qo 0 Q 0 Q 0 0 Q 0 0 0
8906142567 KOBER, GOTTHARD DE 0 0 0 0 0 0 0 0 Q 0 0 0
573628 STOKER, MELANIE US 0 0 0 Q 0 0 0 a 0 Q 0 0
6003553455 KNAPEN, ANITA NL 0 Qo 0 0 QO 0 0 0 0 0 0 0
8906139779 HAENSCH, MARIO DE 0 0 0 0 Qo Qo 0 0 0 0 Oo Q
8003416250 VAN DEN BERG, H NL O 0 0 0 0 oO 0 0 0 oO 0 0
8906140162 FIEDLER, HANS JURGEN DE 0 0 0 0 0 0 QO 0 0 0 0 0
7800007602 RAVASI, CARLO ENZO IT 0 0 0 0 0 0 0 0 0 0 0 0
669066 LEAR, CLIFF US 0 0 0 0 0 0 0 0 0 0 0 0
8404543941 MOLANDER, MONA SE 0 0 0 0 0 0 0 0 0 0 0 0
§72375 JENKINS, BRENDA Us 0 0 0 0 0 0 QO 0 0 0 0 Q
8404563221 KARSIKKO, STELLAN SE 0 Oo 0 0 o oO 0 oO Oo 0 oO 0
7000188280 NECIT.NET AT oO oO Oo O O 0 oO oO 0 0 0 0
571696 EISENHARD, MARK US 0 0 0 0 0 0 0 0 0 Qo 0 Q
8404543575 ARAPINOWICZ, JAROSLAW & IRIS SE 0 0 0 0 0 Qo 0 0 0 0 0 0)
8404546671 ESKELINEN, TOMMY SE 0 0 0 0 Q Q 0 0 0 0 0 Q
670394 LUCE, STEPHAN M US 0 Qo 0 0 0 0 0 0 0 Q 0 0
570406 GOLUB, RUSSELL W US 0 0 0 0 0 0 0 0 0 Q 0 0
8404518513 SAWIRS, ALEXANDRA SE 0 0 0 a 0 Qo 0 0 0 0 0 0
8404421596 SOEDERSTROEM, SINIKKA SE 0 0 Q 0 0 0 0 QO 0 0 Qo Q
8404521727 EKERMAN, ANN-MARIE SE 0 0 0 o Qo QO 0 0 0 0 Q 0
§72370 TULL, JANET F us 0 0 0 0 0 0 0 0 0 0 0 0
573659 RUSHING, WILLIAM us 0 0 0 0 0 0 0 0 0 0 0 0
8906106012 KLIEMANN, INES DE a 0 0 0 0 Qo 0 0 0 0 0 0
8003553551 VULPEN, GERIE NL Q 0 0 0 0 0 0 0 0 0 0 0
§71035 HARVEY, JOHNNY L US 0 0 0 0 0 Qo Q 0 0 oO 0 0
613775 MCCARTER, THOMAS W US 0 0 0 0 0 0 0 Q 0 0 0 Q
8701887000 NERVIK, BERIT MYHRA NO 0 0 0 0 QO 0 0 0 0 0 QO 0
7670692034 ACCOLAS, CHRISTIAN FR 0 Q QO 0 0 871.38 0 $71.38 0 0 0 Q
8702053487 JAS CONSULTING NO QO 0 Oo 0 0 0 0 0 0 oO 0 Q|
8906207514 VOIGT, RENATE. DE Qo Q QO 0 0 a 0 0 Qo 0 0 a
611190 BIBLIS, DAVID & SHEILA us 0 0 QO 0 0 0 0 0 0 0 0 0
611191 WILLIAMS, DREW us 0 0 0 0 0 0 0 0 0 0 0 0
611198 HARRISON, JAMES C us 0 0 0 0 Q 0 0 0 0 0 0 Q
6103375204 CHRISTENSEN, LARS DK 0 0 0 Q 0 0 0 0 0 a 0 0
8702128150 FJELLE, NELLY PETRA NO 0 0 0 0 0 0 Qo 0 0 a 0 0
8702106361 KJOENIKSEN, MAGNE NO 0 0 QO 0 0 0 0 0 0 0 0 0
612460 DEADERICK, DIANE US 0 0 0 Q 0 0 18.49 18.49 0 0 0 a
614085 SAKONY, MICHAEL Us 0 Q 0 Q QO 0 0 0 0 0 Q 0
613770 SUMPTER, JOHNNY & DOROTHY US 0 a 0 0 0 0 0 0 0 0 0 0)
613769 HALSTIED, MARILYN US 0 0 0 0 0 0 0 0 0 0 0 0
8103361225 SCHUNCK PREBEN & SUSANNE DK 0 0 QO 0 0 Q Q 0 0 0 0 0
6906199206 LEHER, DIETMAR DE a 0 0 0 0 0 0 0 0 0 0 0
8882704742 GREEN, RUSSELL W GB 0 0 0 Q 0 0 0 0 0 Qo 0 0
8702079955 JOHANSEN, JOHAN NO Oo 0 O oO 0 0 0 0 0 0 O 0
8702096225 KJETIL LANGBERGET KONSULENTEN NO 0 Qo 0 QO 0 0 0 0 0 Q 0 0
8906205454 RW TEL GBR DE Qo 0 0 Qo 0 0 0 Q 0 0 QO 0
8103352614 MADSEN, BETTINA V OK 0 Q 0 Qo 0 0 0 0 0 0 0 0
8003586782 AKER, KO NL Qo Qo 0 0 0 Q 0 0 0 0 0 0
8702129662 BRODERSEN, KIM KAMMAN NO 0 0 0 0 0 0 0 0 0 0 Q 0
612157 SHEFFIELD, LISA US 0 0 0 0 0 0 0 Qo 0 a 0 0
8906195375 JANISCHEWSKY, STEFFEN DE QO 0 0 0 0 0 Q 0 0 0 0 a
8702126801 IVERSEN, STIG BERTIL NO Qo 0 0 0 0 0 0 0 0 0 0 0
609627 PETERSON, DALER US 0 0 0 0 0 0 0 0 o 0 0 0
610387 LOPEZ, RICHARD C us 0 0 QO 0 0 0 0 0 0 0 0 0
8404575106 WESTER, HAAKAN SE 0 o 0 0 0 0O 0 0 Oo QO O 0}
§88662 GABOR, MARK US 0 0 Qo 0 0 0 Q 0 0 0 0 0
7670691898 PERRODET, LAURENCE FR 0 Qo 0 0 0 0 0 Qo 0 0 0 0
8906216877 BEEHORST, HENNING DE 0 Q 0 Q Q 0 0 0 0 0 Q 0
611795 VAN DRIESSCHE, CORY US 0 0 0 Q 0 0 0 QO 0 Q 0 Q
8906200248 HESSEL, RALF DE 0 0 0 Q 0 0 0 0 0 0 0 oO
612425 OLIVARES, LEOBARDO R us 0 0 0 0 0 Q 0 0 0 0 QO 0
8103345294 ANDERSEN, KURT DK 0 0 0 Q 0 0 22.17 22.17 0 0 0 Q
8906177474 HEBOLD, ELFI DE 0 0 0 0 0 0 0 0 0 0 0 Q
8906209728 VIETEN, MICHAEL DE 0 0 0 0 0 0 0 0 0 0 0 Q
614419 BASHA, BRANDON H US 0 0 0 0 Qo 0 0 0 0 0 0 9
614063 WOLFLEY, DELOY US 0 0 0 0 0 0 0 0 0 0 0 0
8906188414 THOMAS LEE WATKINS, SIMONE MARTZ DE Qo Q 0 0 0 0 Q 0 0 a 0 0
609642 JOHNSON, KAREN L us oO 0 0 0 Oo oO 0 0 0 0 0 0]
8103348521 NIELSEN, PETER LUND DOK 0 oO oO QO QO 0 0 0 0 0 0 0)
8103354575 STRAARUP, PIA OK Qo 0 0 0 0 0 0 0 Q 0 0 0
8103353221 BIEL-KNUDSEN, CARSTEN DK a a 0 0 0 0 0 0 0 0 0 0
7670691564 PAULIN, YOANN FR Q oO 0 Q 0 42.85 Q 42.85 9 Q 0 0
8906216882 WALKOWIAK LISA DE 0 0 0 Q 0 0 0 0 Q 0 QO 0
89061682950 OBERMUELLER, CHRISTIAN DE 0 Q 0 0 0 0 QO Oo 0 0 0 0
8404576477 EKBLAD, LARS SE 0 Q 0 0 0 Q 0 0 0 0 0 0
611802 THE JANE ARMSTRONG ACTS OF KINDNE!CA 0 Qo 0 0 0 0 0 0 Qo 0 0 Q
612437 YUSOFF, ZABIDI US 0 0 Oo 0 O O 0 0 0 0 0O 9
8702097345 NIKOLASEN, FINN - INGAR NO 0 Q 0 0 0 0 QO 0 0 Qo 0 Q
8103343403 M@LGAARD, ANJA DK 0 Q 0 0 0 Qo Q 0 0 Q 0 0
8702092728 SALVESEN, SVEN ANDERS NO 0 0 0 0 0 0 0 0 0 0 0 9
8906195293 HAAS, RAINER DE 0 0 0 0 Qo 0 0 Q 0 0 0 a
8003562869 HAAFTEN VAN-HAAFTEN VAN, ERNA NL 0 0 0 Qo 0 0 QO 0 0 0 0 0
7000197866 WALTER, ELISABETH AT 0 0 0 0 0 0 0 0 0 0 oO 0
8702079713 NICKEL SABINE DORITHEA NO QO 0 0 0 0 0 QO 0 0 0 0 Q
611906 MAGANA, MARCO A US 0 0 0 0 0 0 0 0 0 0 0 0
612571 MULLIGAN, SHANNON US 0 Qo 0 0 0 0 0 0 0 0 0 Q
612590 PREHN, ROBERT G US 0 0 0 0 0 0 0 0 0 0 0 Q
612934 SAUNDERS, RAHMAN Us 0 0 0 0 0 0 0 0 0 Q a 0
612895 CRESCI, NICHOLS US 0 oO Q Q 0 oO 0 0 0 o 0 9

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 2 of 24

Case 1

iz
}

A I B
8906191114 STEINMETZ, CHRISTIANE
8906193906 ROSSNAGEL, JUGO

574791 CUTTLER, WALTER
8906106155 SCHERNAU, ELENARE
8702024662 GRAV, MAY LILL

576686 GLENN, DEBORAH

576995 OGLESBEE, KEITH
8906145100 ZIMMERMANN, SEBASTIAN
8882708303 KEEVES, NIGEL
8906187240 HORNSTEIN, FRANZISKA
8906189985 HELLER, HANS DIETER

573896 MULLIGAN, MICHAEL
8404515451 EKMAN, INGVAR

574751 DOMINGUEZ, FRANCIS
8404510644 KARLSSON, THERESE
8404472706 EKSTROEM, LARS

577168 COE, JODY T
8702024425 SIVERTSEN, JIM
8905824850 KRAEMER, RALF
8404478900 ANDERSEN, HELENE

568978 RUFFIN, DENISE
8404494485 NILSSON, PER-OLOF

569660 COOL, DONALD E

570947 DAYMON, DONALD

571271 MCCRAY, RICHARD S
8103349532 NIELSEN, KENNETH

572582 ALLEN, JOHN H
8404465537 LANGENSTAM, GUNNAR
8404550393 MOBAECK, LENNART

570607 LEON, JAVIER

569008 HODGE, BRIAN

569362 RICHARDSON, LISA

570319 VAN GUNDY, SUZANNE
8906166824 BENDIK, NORBERT
8103334437 GREISEN,KIRSTEN, GREISEN, THORKIL
8702045917 VIGMOSTAD, ELISABETH

571295 MASTEN, BRENDA G
8404514552 EPITONUS

572595 ARRUDA, MATHEW J

8404539432 J. BERGQUIST EK. & MARKNADSKONSULT SE

8702064165 OLSEN, GEIR IVAR
572581 MORENO, EDGAR E
569617 NICHOLLS, ROBIN G

8404516767 SJOESTRAND, ROGER

8404516770 MALLING, DANIEL
571547 BARKER, DUDLEY S

7800007814 JUCCA, MAURIZIO

8702012345 MOGSTAD, KURT

8404503232 TJAENSTEMAEKLARNA SVERIGE KB

8882529570 BOTWRIGHT, MICHAEL J
572517 SKENNONTO, SHANE Q

8906174289 LEIDIG, HORST

8003555522 COSTER, BEREND BC

8103336642 BAAKO, MARY A

8404517799 ERIKSSON, INGEGERD

8404403900 KARLSSON, STEFAN

8906164216 TRIER, MARION

8404522172 JANSSON, FREDRIK

8906146879 MUECK, ROSWITHA

8404513301 CLAESON LENA
572527 YOUNGHALE JR, ROBERT G

7000185873 HOHENTHANNER, GERHARD

7800006861 MILLAURO, GIUSEPPE

8906166818 PERNESCH, ROSEMARIE
568947 ROGERS, JANNIE L
568966 KOTCH, CHRISTOPHER L

8702049286 STRAND, RUNE

8404540522 EKLUND, LINDA

8404480614 HANSSON, HELENA
574003 VERMETTE, DAVID
572379 BORGER, RANDY L

8003559123 4 ESSENTIALS

8404543620 LEKHAMMAR, MIKAEL
573349 PARRY, ROBERT A
573717 MARQUIS, AMY |

8702023995 KAMPENHAUG, SVEIN
569130 PETWAY Ill, JESSE J
569150 DUGDALE, JOSEPH H
570759 HALE, VAN

7000188266 POLESNIG, ALEXANDRA
572064 HEISE, LEN
570660 RESENDEZ, DANIEL V
578717 RICK, FRIRES

7000158022 BACHMAIR, EVA
574017 EGRESI, ANGELA
576525 MILLER, BEVERLY J
577153 WHITSON, JANICE E
577466 TAYLOR, SUSAN K
577772 LAFFERTY, SHAWN
577777 EVANS, BOYD L

7670701008 FRISON, GREGORY

8404544644 ANDERSSON, KRISTOFFER

8404525477 ANDERSEN, ANNELI

8103347331 FEJER TALK

eococoeso0e9NDoDABeCAOOCOCoOOeC OOOO COCO O BOBO OC OCC OOOO C OOOO BoD OCOD OOOO OC OO C OC OOOO OOOO COCO OOO COC CC OOO COG OoOCOCSG

eoocococceosns99900FCCONDS SOO C OC OSB OB OOOO oOo OOOO DODO OOOO OOOO OOO OOO COCO OC OC OOO OOOO OOO OOOO OOOO OC COC OO C COC oG

eoeceooocoeoeocoseosooBSeOCOOC eC OOS OOOO oO BO OO OC OOO OO OD OD OOOO OOOO ODOC OC OO OC OCC OOOO DOC OOOO OOOO COCO OO OCC CO O0G

eaeeoecesooccocoooSoDSeSCOCOoO COO SGOoCOO BDO OSD OOO OBO OO BO OOOO oOo DOO OOO COO OO OC OOOO OKC OOO OC OOOO OOOO OOOO OOOO COC OOS

sooo0ecoc0noccoGceseSeC CoCo oC OC oOoO OOOO OoC Ooo OOOO O Oooo ADOC DDO OOO OO OC OOOO OOO ODOC OOOO OOOO OOOO OOOO COCO O OOO OOOO OOD

esoeoc0oeosecOoCoOoCOSD OOOO OOOC OOOO OO COO OD OOOO OO eO Oo OOOO OG Oe OOO OO OCC OOO OOO COC OOO C OOO OOO OKC OOO OC OCC OOOO CGOSO

Pooo0ccc00ccscec eG eo eco O OOO eC Oooo oOoSD

13.7

eceocooooeooOoCOOoOFoODoOeB ODOC OCC oOOoO OO OC OOO OD OOOO COCO OOo GC OC OCC OOO CO00

BococCOoOeC COO BG OO OOCoOoOoOoOGC OOO OCOaGOoOoD

13.7:

eec0o0sceooeDsFceoOCOoO OOOO O OC eC O COCO OOOO OOOO OC oO OBGO GOO OO OC eC Oo OOOO OoOOGOCO

eoc0eoco0c0cCcCoDoOFDoCCNOOOCoOoCSCOoOSOoOoOSGOoOCOOD OOOO D BD OOO OOD FC OO COO OOO OD OOO OOo OGD OOO OCC OOOO OC OOOO OOO COCO OOOO OOCOoS

eeececeosc9ec CFD OC OCOD SDCOoOeG OSG OOOO B OOD O OOO ODO OOOO OO OOOO OGeCOoO OOOO COC OC OOOO OOOO OCC OOOO OOO OOOO OC OOGC OOOO D

2
SoocoeoCC OD Oe OC OCOD OOO o OBO OO oC OOO BO OO OD ODO Oooo OmOOOCOOO OD OOD OO OO ODO ODOC OCC OC OOO OOO DOOD OCC OOO COCO GCOCCS

MOSAIDSDSS90S9D90900900090900C0DDDOFDDOo OOOO D OD OOGC OOOO OC OCoOO OO O00

24.8:

SPSoTST909D9009DF2SFD9DF OOO OD OD OOOO O OOOO OOD OOOO OOGO00

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 3 of 24

Case 1

A___|

B | I I I | I I I I |
574745 MEDRANO, JOSEFINA T US 0 0 0 0 0 0 Q 0 0 0 0 0
8702009792 KNUTSEN, EGIL NO 0 0 0 QO 0 0 0 Qo 0 0 Q 9
8702053181 ALMESTAD, IRENE NO 0 0 0 0 0 QO QO 0 QO 0 0 0
574406 CAMBIO, GARY A US 0 0 0 0 0 0 0 QO 0 0 0 0
$75701 ZULAK, BERRIE CA QO 0 0 0 Q Q 0 Q 0 0 0 0
8404522851 WALLMAN, ELISABETH SE 0 0 0 0 Q 0 0 0 Q 0 0 0
8103348886 DIEU, BUN DK 0 0 0 Q 0 0 0 Qo 0 0 0 0
576917 KINNEY, SHERYL D us 0 QO Q 0 Q 0 0 0 0 0 a 0
577247 REBEL, JAY W US oO 0 0 0 QO oO 0 0 0 0 0 0}
8103141530 RATNASINGHIE, RAJAVAROTHAYAR DK 0 oO oO QO oO 0 Oo Q 0 0 0 0)
574095 SHOOK, STEPHEN L US QO Qo 0 0 0 0 0 0 0 0 0 0
574435 HINTON, RANDY CA 0 0 0 0 0 0 0 0 0 Qo 0 0
8906156093 SENGE, JUERGEN DE 0 0 0 Qo 0 0 0 Qo 0 0 0 Q
574736 MACHUCA, JOANNA G US 0 0 0 0 0 0 0 0 0 0 0 0
576293 PAHANG, SERVANDO US 0 Q 0 0 0 0 0 0 0 0 0 0
8906137478 WEIDNER, OLIVER DE 0 0 0 0 0 0 Q 0 0 Qo 0 0
8906164888 HOFFMANN, NICOLA DE 0 0 0 0 0 0 0 0 0 0 0 Qo
576327 CHENEY, SHAYNE M US 0 a 0 0 0 0 0 0 oO 0 0 0
576328 ULM, JAMES D US 0 Q 0 0 0 0 0 0 0 0 0 0
8702064881 SKOGLUND, MORTEN NO 0 0 0 0 0 0 0 0 0 0 0 0
576923 JUNG, ALEXANDER LEE US 0 0 0 Qo 0 0 Q 0 0 0 0 a
7800012451 FAGANELLI, GIORGIO IT 0 0 Q 0 0 0 0 Q 0 QO Q Q
8702019004 BREISETH, HARALD NO 0 0 0 0 Q 0 0 0 0 0 Q 0
8103337155 KROGSGAARD, JENS P DK 0 0 Q 0 0 Qo oO Qo 0 0 0 0
578190 MCGOVERN, SUE US Q 0 Q 0 Qo Q 0 0 0 0 Q 0
8404547545 WESTBRANDT, ROBERT SE Q 0 0 Q 0 Q 0 0 0 0 Q 0
674445 LINDGREN, JACKIE US Q Qo QO Qo 0 Qo 0 0 Q Q 0 Q
578124 MASKWA, DAN J US 0 0 0 0 0 0 0 QO Oo 0 0 0
573487 WALTHER, G. DAWN US 0 QO 0 Qo 0 0 0 0 0 0 0 0
577184 SWEZY, JOHN P US 0 0 0 0 0 0 0 0 0 Q 0 0
8404552094 ARVIDSSON, MARTINA SE 0 0 0 0 0 0 0 0 0 0 0 0
8404495804 BABRA HUSLAEKARMOTTAGNING SE 0 0 0 0 0 0 0 0 QO Q 0 0
578758 FOX, CHRISTINE M US a 0 0 0 0 0 0 0 0 QO 0 0
574374 OVIATT, BEN J us 0 0 Q 0 0 Q 0 Qo 0 0 0 Q
8906146876 JENTSCH, MADLEEN DE 0 0 Qo 0 0 0 0 0 0 0 0 0
575959 CORPENING, FRANK E us 0 0 0 0 0 Q 0 0 0 0 Q Q
575976 SAFFELL, REBECCAM US 0 0 0 Q 0 oO 0 Q Q 0 Qo 0}
676266 TSHIMBALANGA, ANNE CA 0 0 0 0 0 0 0 0 0 0 0 9
§77507 PICARD, CHARLES US 0 0 0 0 0 0 0 0 0 0 0 0
578146 WARE, CLYDE E US 0 0 0 0 0 0 0 0 0 0 0 0
8404560484 JAANISTE, ANNE-LI SE Qo 0O 0 0 0 oO 0 0 O 0 0 0
575740 ANDERSON, MIRANDA L us 0 0 0 0 0 0 0 0 QO 0 0 0
8906165474 PIESKER, ROLAND DE 0 0 Q 0 Q QO 0 0 0 0 0 0
8702069586 NYLAND, BENTE NO 0 oO 0 0 0 0 0 0 0 0 Q 0
8103335465 BRITTA CHRISTIANSEN DK 0 0 0 0 0 Q 0 0 0 0 0 0
8701487810 GODOEY, JENNY NO 0 0 0 Q Qo a 0 0 0 0 0 0
575010 PAVLIC, BRIAN CA 0 0 0 Qo 0 0 0 Qo 0 0 0 0}
575346 NANCE, LINDSEY us 0 0 0 0 Q 0 0 0 0 0 0 0
575673 MANNLE, BARBARA US 0 Q 0 0 0 Q 0 0 0 0 0 0
575675 GARDNER, DEXTER D US 0 0 0 0 0 0 Qo 0 0 0 0 0
576273 KILL, GORDON us 0 0 0 0 0 0 Q 0 0 Q 0 0}
§76283 TAKE CHARGE LLC US 0 0 0 0 0 0 Q 0 0 0 0 0
576292 DINGER, CARLA K US 0 0 Q 0 0 0 0 0 0 0 Qo Q
577515 STOPKA, BARBARA A US 0 0 0 0 Qo Qo QO Q 0 0 0 0
8404552131 MAGNUSSON, ELIAS SE 0 0 0 0 0 0 0 0 0 0 0 0
8906187276 JOST, VIKTORIA DE 0 0 0 Q Q 0 Q 0 0 0 0 Q
8702041887 LOEKEN, MERETE NO 0 9 0 0 Q 0 0 0 0 0 0 0
8870130624 PATEL, DEVANG J GB 0 0 0 0 0 0 oO 0 0 0o 0 0
8404493055 JOHANSSON, ANNH SE 0 Qo 0 0 0 0 0 Q 0 0 0 0
578292 C. JIMENEZ AND ASSOCIATES US 0 Q 0 0 0 0 0 Q 0 0 0 0
573933 DUNN, JOAN CA 0 Q 0 0 0 Qo 0 0 0 0 0 0)
573934 LUCAS, JENNIFER D US 0 Q 0 0 0 0 0 Q Q Q 0 0
576732 HOOD, JENNY F US 0 Qo 0 0 0 0 0 0 0 0 0 0
577046 FREEMAN, WILLIAM A US 0 0 Qo 0 0 0 0 0 0 0 0 O
8003563202 R&R BEHEER B.V. NL Q 0 0 0 oO Q 0 0 0 0 0 0
577687 BERMEO, CID us 0 Oo 0 0 0 0 0 0 O o 0 0)
8404549947 DACKE, YYONNE SE 0 0 0 Qo 0 9 0 0 0 0 QO 0
574235 ALLEN, KEVIN K US 0 0 Q 0 0 0 Q 0 0 0 0 0
8700177460 MATHISEN ENGROS AS NO 0 0 Q 0 0 0 Q 0 0 0 0 Oo
574866 WILSON, LYHEA US 0 0 0 0 0 0 0 0 0 0 0 0
8404557388 JOHANSSON, ANNICKA SE 0 0 QO 0 0 0 0 0 Q 0 0 Q
8404479408 ERIKSSON, CHRISTOFER SE 0 0 0 0 Q 0 0 0 a 0 Q 0
576746 MINEMIER, SUZANNE J US 0 0 0 0 0 0 0 Q 0 0 0 0
8404503272 DANIELSSON, DANIEL SE 0 Q 0 0 0 0 0 0 0 0 0 Q
7800000039 COMERCI/ORAZIO, COMERCI/ CORINNA & IT 0 QO 0 0 0 0 Qo 0 0 0 0 0
577670 BURCH, GREGORY us 0 0 0 0 0 0 0 0 QO 0 0 Q
578317 TRGOVCICH, ANDREA M US 0 0 0 0 0 0 0 Q 0 0 0 Q
578331 WRIGHT, ROBERT J US 0 0 0 0 0 0 0 0 0 Qo 0 Q
6906165395 LUEDECKE, ANDREAS DE 0 0 Q Qo 0 0 0 Q 0 0 Q 9
8003572491 FRAHO OVERLOON BV NL 0 0 0 0 Q 0 0 0 0 0 0 Q
577974 BROWN, NANCY C US 0 Qo 0 Q Q Q 0 QO 0 a 0 0
8702046191 LARSEN, BJ@RN GUDMUND NO 0 Qo 0 0 0 0 QO 0 0 0 15.13 15.13
575941 ALLEN, NOEL S US 0 0 0 0 0 0 0 0 0 0 0 0
8702052462 HELMINSEN, LARS PETTER NO Q 0 0 0 0 0 0 0 0 QO 0 0
8702062965 LINDKVIST, BENTE BREIDVIK NO 0 0 Qo Qo Q 0 0 0 0 0 Qo 0
577891 SALAAM, SAMA CA Q 0 0 0 Q 0 0 0 0 a 0 0
8170059589 KJAER, TINE H DK 0 0 0 O 0o 76.78 0 76.78 0 0 0 0
8404464145 LIMINGA, GUNNEL SE 0 Q 0 0 0 0 0 0 0 0 0 0
7950236802 NAGHIZADEH, SANAZ NZ 0 0 0 0 0 0 0 oO 0 0 0 0
575415 PFEISTER, JOHN C Us oO 0 0 0 0 0 0 0 0 0 0 0
8404461335 DOUERHOLM, MALIN SE 0 0 0 9 0 Q 0 Q QO QO Q 0
576373 CORREIA, JASON T US 0 0 0 0 0 0 0 0 0 0 Q 0
8702018382 ARNESEN, ROY EGIL NO 0 0 0 Qo Q 0 0 0 0 0 0 0
8906165396 WEIMAR, HORST-DIETER DE 0 0 Qo 0 oO 0 0 Q 0 0 0 Q

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 4 of 24

Case 1

8404505128 ENMAFO

8003275970 KLINK, H.J

A B I I I I I I | I K I J I I
539645 VALDEZ, TOM US 0 0 0 0 0 0 0 0 0 Q 0 0
539653 GAMA, FRANCISCO C US 0 0 0 0 0 oO Oo Oo oO 0 0 0}
539998 JACKSON, EMILY C US 0 0 0 0 QO 0 0 0 0 0 0 0
8404464807 LARSSON, EMILIE CHOELER SE 0 0 0 0 0 0 0 0 0 0 0 0
542307 STREETER, ROY H US 0 0 0 0 0 0 0 0 QO 0 0 0
537231 SADIGH, AZAR US 0 0 0 Oo 0 0 0 0 0 0 0 0
538360 COLLINS, ROSEMARY US 0 Qo 0 0 0 0 0 0 0 QO 0 Ql
8404179260 ELVIN, GUNNAR SE 0 0 0 0 0 0 0 0 0 0 0 0
8404410452 CARLSSONS TEAM, CARLSSON, LINDA SE 0 0 0 0 0 0 Q 0 0 0 0 0
8906143455 SCHMIDT, KATHRIN DE 0 0 0 9 0, 0 QO 0 0 0 0 Q
539342 SELLECK, DAN F US 0 0 0 0 0 0 0 0 0 0 0 0
542330 DALY, TERENCE M US 0 0 0 0 0 0 0 0 0 0 0 O
537920 YOUNG, DONNA N US O 0O Oo oO O 0 0 0 Oo 0 oO 0
541864 JOHNSON, RODNEY T us 0 0 0 0 0 0 0 0 0 Qo 0 0
8003082850 VAN RIJN, BART NL 0 Qo 0 0 0 0 0 0 0 0 0 Q
8403683180 DYALL, KARL AND LOTTA SE 0 0 0 0 0 0 0 0 0 0 0 Q
538903 KLEIN, TAMI US 0 0 0 0 0 0 0 QO oO 0 0 0)
8702014247 KITTILSEN, VIDAR NO 0 0 0 0 0 0 QO 0 0 0 0 0
SE 0 0 0 0 0 0 0 0 0 0 0 0
538238 TROMBA, MARK A us 0 0 0 0 0 ° 0 0 0 0 0 0
538563 GOMEZ, GILBERT US 0 0 0 0 0 0 0 0 0 0 0 0
2037587 MACPHERSON, SCOTT A US 0 0 0 0 0 0 0 0 0 0 0 0
8404465514 LAVIN, SVEN-ERIK SE 0 0 0 0 0 0 0 0 0 0 0 0
NL 0 0 0 0 0 0 0 0 Oo 0 0 oO
537971 CAMPBELL-CHAMBLISS, JANE US 0 0 0 0 0 0 0 0 0 0 0 a
541900 MAYO, KATHRYN US 0 0 0 0 0 0 0 0 0 0 0 0
539696 BRISSON, JOCELYNE CA 0 0 0 0 0 0 0 0 0 0 0 0
538275 CAINE, BRIAN M us 0 Q 0 0 0 0 0 Qo 0 0 0 0)
8404461559 HALLSTROEM, ANN-KRISTINE SE 0 0 0 0 0 0 0 0 0 0 0 0
537601 MARKET SALES INTERNATIONAL LLC US 0 0 0 0 0 0 0 0 0 0 0 oO
537609 TELECOM SALES RUSH LLC US 0 0 0 0 0 0 0 0 0 0 0 0
8404307020 FRYCKNE CARL GUSTAF SE 0 0 0 0 0 0 0 0 0 0 Qo 0
8702015393 WINDSPOLL, TORE NO 0 0 0 0 0 0 0 0 0 0 0 0
540276 WATSON, CATHY J us 0 0 0 0 0 0 0 0 0 0 0 0
8404363872 THUNQVIST, BIRGIT SE 0 0 0 0 0 0 0 0 0 0 0 0)
7000098974 FRITZ, ANDREAS AT Qo 0 0 0 0 0 0 0 0 0 0 0
8701392710 SCHROEDER, MORTEN NO 0 0 0 0 0 0 0 0 0 0 0 0
541272 O"CONNOR, GAIL L US 0 0 0 0 0 0 0 0 0 0 0 0
8003435040 ROELS, MARLON NL 0 0 0 0 0 0 0 0 0 0 0 0
544093 LOOMER, SHANNON K us 0 0 0 0 0 0 0 Qo 0 0 0 0
546350 RACCO, TONY CA 0 0 0 0 0 0 0 0 0 0 0 0
547672 JOHNSON, CORA US 0 0 0 0 0 0 0 0 0 0 0 0
543259 CARO, EVELYN US 0 0 0 0 Q 0 0 0 0 0 0 0)
543347 ALLMON, ANYIKA N US 0 0 0 0 0 0 0 0 0 0 0 0
543357 TURLEY, ERIC D US 0 0 0 0 0 0 0 0 0 0 0 0
8404307000 WAENGELIN, ROLAND SE 0 0 0 0 0 0 0 0 0 0 0 0
547641 CUDNIK, DANIEL M us 0 0 0 0 0 0 0 0 0 0 0 0
8906122974 EICHLER, ANDREAS DE 0 0 0 0 0 0 0 0 0 Oo 0 0
545728 ROGERS, REGINA US 0 0 0 0 0 0 0 a 0 0 0 0
8905727090 OTTE-KRONE, SABRINA DE Q 0 0 0 0 0 0 0 0 0 0 0
546406 PAGE, LARRY US 0 0 0 0 0 0 0 0 0 0 0 0
8906137227 BOHNEN, UTE DE 0 0 0 0 0 0 0 0 0 0 0 0
8404473865 JONSSON, ANDERS SE 0 0 0 0 0 0 0 0 0 0 0 0
8404461380 WERNER, ANNA SE 0 0 0 0 Q 0 0 0 0 0 0 Q
545412 ARIAS, ESTEBAN US 0 0 0 0 0 0 0 Q 0 0 0 0
546425 BROOKS, LASONJA US 0 0 0 0 0 0 0 0 0 0 0 0)
546761 MULCH, BRENDA K US 0 0 0 0 0 0 0 0 0 0 0 0
547103 HIBBERT, JEREMY J US 0 0 0 0 0 Qo 0 0 0 0 0 0)
8404528207 RUBINENS HAELSA & UTVECKLING SE 0 0 0 0 0 0 0 0 0 0 0 0
543798 SAFE, MARVIN US 0 0 0 0 0 0 0 0 0 Q 0 a
544126 PARKINSON, SHIAN CA 0 0 0 0 0 0 0 0 0 0 0 0
544450 WILLIAMS, MINNIE US 0 0 0 0 0 0 0 0 0 Qo 0 0
8906147412 PAEPKE, BERND DE Qo 0 0 0 0 0 0 0 0 0 0 0
8404350460 E.SIMONSSON EDUCATION SE 0 0 0 0 0 0 12.35 12.35 0 0 0 0
545758 RUPERT, FRANK A US 0 0 0 0 0 0 0 0 0 0 0 0
543492 LOFTIN, TAMMY L us 0 0 0 0 0 0 0 0 0 0 0 0
7670713857 BARON, MICKAEL YANN FR 0 0 0 0 0 0 0 0 0 0 oO 0
8702014402 TENGGREN, HANS RUBEN NO 0 0 0 0 0 0 0 0 0 0 0 0
8404332710 REINIKAINEN, NILS SE 0 0 0 0 0 0 0 0 0 0 0 0
8404462173 GRINDEFORS, ANNELI SE 0 0 0 0 0 0 0 0 0 0 0 0
8404464482 NILSSON, HENRIK SE 0 0 0 0 0 0 0 0 0 0 0 0
8003412810 SMIT BOND, CARLA NL 0 0 0 0 0 0 0 0 0 0 0 0
8882549170 WALSH, ASHLEY O GB 0 0 Q 0 0 0 0 0 0 0 0 0
542357 BUCHINSKY, CHRIS US 0 0 0 0 0 0 0 0 0 0 0 0
8403024650 KARLSSON, ANN SE 0 0 0 0 0 0 0 0 0 0 0 0
540383 ROBINSON, BERNADETTE US 0 0 0 0 0 0 0 0 0 0 0 0
8404380862 WIKBERG, BILL SE 0 0 0 0 0 0 0 0 0 0 Q 0
8701631820 PEDERSEN, OLAUG-AANERUD,SVEIN NO 0 Q 0 0 0 0 0 0 0 0 0 0
8701055680 LARSEN, OLE MORTEN NO 0 0 0 0 0 0 0 0 0 0 0 0
7370179324 ESTEBANELL MARTINEZ, MARIA ES 0 0 0 0 0 0 0 0 0 0 0 0
8404435210 ENERGIPUNKTEN SE 0 Qo 0 Q 0 QO 0 0 0 0 QO 0
8701271110 NORDIC ELECTRONICS No 0 0 0 0 0 0 0 0 0 0 0 0
8404507770 WIKLUND, JONAS SE 0 0 0 0 0 0 0 0 0 0 Qo 0
8905854430 SCHMIDT, MYRIAM DE 0 0 0 0 0 0 0 0 0 0 0 0
546334 MULLEN, JASON US 0 0 0 0 0 0 0 0 0 0 Qo 0
8404465296 POOVI, JENNY SE 0 0 0 0 0 0 0 0 0 0 Qo 0
8003062420 WAARD DE, WILMA W.M NL 0 0 0 0 0 0 0 0 0 0 0 0
547345 MICHEL, JANVIER P CA 0 0 0 0 0 0 0 0 0 0 0 0
543172 SANDERS, LYNDAF US 0 0 0 0 0 0 0 0 0 0 0 0
543178 HOWIE, LUKE J us 0 0 0 0 0 0 0 0 0 0 0 0
543286 ARRENDONDO, STEVEN D US 0 0 0 0 0 0 0 0 0 0 0 o
7370176480 GRONDONA MORALES, ENRIQUE ANTONICES 0 0 0 0 0 0 0 0 0 0 0 0
8404169020 LINDBLAD, TOMAS SE 0 Qo 0 0 0 0 0 0 0 Qo 0 0
2036789 HAYES, JAMES H US 0 0 0 0 0 0 0 o 0 0 0 0}

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 5 of 24

Case 1

A B ]
8702023523 NELMIDA, NORA C NO
8003512531 DEN W CONVENIENTE MULTI-SERVICES NL

544465 STUCKEY, CAROLYNL CA

544466 BUDRAM, MARLENE US

544792 GEBURT, JUSTIN C CA
8404283940 JIRHAGE, LOTTIE SE
8404351325 OLSSON, DANIEL SE

547136 BLAND, LUCILLE T us
8404421317 NIDAROS SE
8701907090 NO LIMIT TEAM DA NO
8003205220 OLIVEIRA, VALGUIRIA NL
8404142400 LIDEN, TOMAS SE

546839 BURROWS, LORI US

547148 MCCOLLOUGH, SEAMUS A US

547161 FUENTES, BARBARA US
8905776330 SY, HEIKE DE

546844 CATALOGNA, PATRICIAA US

546848 SETO, GENE J US
6906138258 REINERS, RALF DE

542850 SCHOCH, SETH M US

544186 ARFARAS, LORIE US
8404491756 LALLOO, MARCUS SE

545506 READ, NAOMIA R US
7000166750 HOFER, THOMAS AT

570840 STROBEL, BRIAN US

573694 ZUNITA, LUIA US
8882714563 PITT, COLIN J GB

568847 FLAITZ, JOAN US
8702055484 FRANG, PAAL NO
8702061157 ENGER, GRO NO

570171 DAVIDSON, MARGARET US

§71613 BRAVO, JOHN US

572108 CONNELLY, ALICIA us

573080 DELANNOY, RICHARD F US

573095 JACKSON, KASEY F US
8701664730 KARLSEN, FREDDY NO
8702023763 STIGEN, LIV SIGRUNN NO

570193 MORLET, JAMIE R US
8404503811 CENTERVALL, ANDREAS SE

573107 HAYES, GERALD US

568868 ANDERSON, JUSTIN R US
8404535435 MARKUSSON, HELENA SE

6570199 ANDERSON, MICHAEL US
8103335181 JENSEN, EJNER DK

572164 KRUEGER, JOHN US
8404521560 BAENGS-ERICSSON, KENT SE

572189 CAPRILLI, RITA US
8701720490 GROENDAL, HEGE NO.
8404526332 SUNDBERG, DICK SE
8003556475 JONGSMA, MARTINE NL

570184 BRADSHAW, WILLIAM E US
8404505123 KARLSSON, LINDA SE

545765 NIELSON, RICHARD L US
8404467300 BAANG, AGNETHA SE

543093 CERTO, CHRISTINE A us

543962 MCCANN, VICKIE L US

544285 ANDERSON, LORI J CA

544292 CONNORS, JULIE B US
8403643040 ANDERS BAECKSTROEM COMPETENSE SE
8404471222 KOSZEWSKA, IRENA SE

544929 CLARK, JAMES US
8103543724 DANROS - MARKETING V/HENRIK ROSENK DK

545606 VILLAIRE, BONNIE S US
8404446478 NILSSON, ANNIKA SE
8003521271 KANHAI,VISJAY, KANHA!,DINESH NL

546315 DELEON, RICARDO E us
8404451006 LARSSON, AASA SE

543121 EDWARDS, JUSTIN US

544301 CHAMPAGNE, JEFFREY L US

$47617 HEASLEY, CARMEN US

543200 MUSICCO, APRIL M CA
8906142716 LENGTE, REINHARDT DE

544333 BRUCKNER, MYSTIE R US

544648 STRACHAN, LORI M CA

6544981 SNYDER, ANTES C US

545321 GONZALEZ, JAIME US

545326 MCCONOCHY, DAN us

546937 JIMENEZ, JUAN J us

645611 HENDERSON, MARK US

539336 NELSON, NICK US
8404461110 TROST, IRINA SE

538324 MOLESKI, THOMAS J US
8404422490 SVENSK IDROTTSSERVICE SE
8404413809 ENGSTROEM, ANN SE

539311 CHAN, PHYROATH US

539618 BOGART, BRUCE P US
8404448786 NYBLOM, MARKUS SE
8402942500 LUNDBERG, LARS SE
8404426946 EMET, HANS SE
8404437467 MAKE IT TODAY COSMETIC. SE
8701851690 LANGVED, JOHAN NO
6404477309 WOUDA, PETRUS SE
8404346010 ERIKSSON, ROLAND SE
8404309520 LUND, MIA SE

eoeee oe oo ooo OOOO COO DOO ODO ODD OOOO OOO OOO C COO DO OOOO oOoDOOBO SCO OBD OOOO C OOOO ODO OBO OCB DOOD oD DO ee BOO OO AO OO} |

eooeo eo DOC ODOC OO COO DOO OOO OOO CODD OOO COC OoD OOOO OC OOO BO OOOO OD OB OOO COO OC OC OOD OOOO DOB DOO OOO eo OBO OB OOOO OO} |

eooKoKo Ooo DOO O ODOC O OCC OOOO OOOO OOOO OOD ODO OOOO OOO OOOO OOD OOO DOD OD OOO DDO OO OCOOO DOD DOO DOSS OOOO OOSC O88 FO} _)

coKDeD OOOO ODD OOOO OOOO DODO OOOO OOO OOOO ODD OOO ODO OOOO OOO OBO OOOO DOO OOOO OOD CODD OSDSD DODD OO OOOO OOOO O OS OOO OL)

eooD DCO ODOC OOD OD OOO OOOO O OOOO OOO ODDO OO OOO OOOO OOOO OOD OOO OOD ODO OCOD D OOOO O OOD DOOD OOSBODASCO DO OF FO OO}

CoO KD COCO OOOO DOO OOOO OOOO OBOO OOOO O ODO oO OOD OD OOOO OOOO OOD OOOO ODO O OOOO OCOD ODO ODDO O COONS OBDOO OBO COCO O OF FFF0 OF)

loc ceo RDO OOO ODO OOOO OOOO OOOO OOOO OCOOOoC OOO OOOO OO OD OOD OOOO DO OOOO AOSC OOOO OOO OO AOSB OOD BOO OOOO OOOO BODO OOOO OO}

econo c ceo DCO OO DO OOOO OOOO OOOO OOO ODO OOOO O OO OOOO OOOO OOOO OCOD OOO OOOO OO OOOO DOOD ODO B OBO OSB OOOO OCOO FOO}

eooKne CoO OOOO OC OOO CO OCOD OO OOO OOOO ODO OOO SC OO BDO OOOO OOD OOOO COO DOOD D OCOD OOOO OOD OOD OOOO OBB OOOO OOOO OOOO} |

ecoCc eB DOOD OOO DOC OO OOOO OOO OOOO D OOOO OOOO D OOOO OO OeC OBO OBO OOD OOO OOOO BO OBO OD SOO COO OOD OBO OOOO BOO OOOO Oooo}

eooKpe coo Oe DOO OC OOO OOOO De ODO OeOC OOD OO ODOC ODO O OOO OOOO BODO OOO ODO OOO OOOO OO CODD ODDO DOB OO Be De NOAO OOOO OOo O})

Inc ooo Oo OKO DOOD OOOO OD OOOO ODO OOO ODDO OOO DOO ODD OOOO OOD OD OO OOOO DSODDADODSPODADDADDODAPBDAPDAOGDAPOPCSCOCSSDAPAQOCOO0

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 6 of 24

yy NISINININ
sl SNS} NS)
a B/ pa S/S)
| Go] es] es] os] co
a Diwlslols

ININININTN
NN] NI
Bia] a/ aa
Bplala

Slalslalis)

x
a
NI
S

NINN
SS) NS}
Blalala
MIM S]iS:
ol hon.

IN]
SI
ib
je]

RRB
SSIs
alala
alals

o

8404159740 BLOMQVIST, JAN

566228 GLASS, JESSE

8404516282 JANSSON, STURE

8906151168 BACKMANN, JOERG
8906142015 DIEL, ROSEMARIE
8003509091 THIJSSEN, PIET P. J. M.

8702011964 EDVARDSEN, MONICA,

8404448756 ID-VISION

591028 SERNA, RAY
8906188615 NOWAK, REINALD
8702079632 ARNE VIKTOR N&SS
8906188037 DENEKE, ECKHARD
8906193670 ROCH, FRANZISKA
8906214131 SOMMER, ANNETTTE
8404547339 CLAESON, BARBRO
8404527382 FROEJD, CATARINA

7670703771 FOUINEAU, CHARLINE
8404500206 JOHANSSON, STEFAN

8404359838 WIDMARK, MATHIAS

8404475069 WIKTORSSON, SIV
563731 IVEY, BESSIE M

564126 GRIFFIN, JANE
7700005014 HALES, SIMON C
8906147751 DECKER, MARKUS.

8702045920 ALVSAKER, STEINAR

8906230784 PAULSEN, BERNHARD
563704 USRY, GLENN

8103335551 ZIG ZAG PARTNERS IT

8870133278 SINGH, GURCHARAN

8906141425 REYELT, ANDREAS
545211 JORDAN, JILL L

8404283990 PUKONEN, PER
2033192 MANN, MONEET
8404506600 IVARSSON, GUNNAR

8701650210 MOLLER, ANDERS

8103146480 LANGBAK

7800004952 HUG KARIN
8404410582 PALMGREN, PETER
8404470980 FLOREN, ANNA
8102954440 WARMING, RANDI
8701675310 OESTENSTAD, MARIT
8404470989 GUTMAN, JAN

546245 FABIAN, RYAN

42992 SMITH, HT
8404495161 ANDERSSON, HELENA
8882275230 PICKWICK, NICHOLA A

B [ l I ] l | I J I K I I I

SE 0 0 0 0 0 0 0 0 0 0 0 0}

564615 SNELLGROVE, BRIAN us 0 Oo 0 0 0 0 0 0 0 0 O 0
563830 JEFFREY, SHARI D US 0 0 0 0 0 0 0 0 0 0 o 0}
§63847 JEFFREY, ROBERT S US 0 0 0 Q 0 0 0 O 0 Qo 0 0
564835 KELLER, LYNNA US 0 0 0 0 oO 0 0 o 0 0 0 0)
8404510351 UNGHEDEN, CHRISTER SE 0 0 0 9 0 0 0 0 0 0 0 0
§66767 GUERRERO JR, ANDRES US o 0 0 0 0 0 0 0 o 0 0 0}
566774 ROWLETT, MICHELLE L US oO 0 0 0 0 0 14.72 14.72 0 0 o 0}
566736 COTTA, CATHERINE US 0 0 o 0 0 0 0 0 0 0 0 0
567208 CUEVAS, EDUARDO. us 0 0 0 o 0 0 0 0 0 0 0 0

US 0 0 0 0 0 0 0 0 0 0 0 0}

8404517731 ZETTERLUND, MARCUS SE 0 0 0 0 o 0 0 oO 0 0 0 0}
7670702547 MAILLET, MARIE MADELEINE FR 0 0 0 0 0 85.71 o 85.71 0 0 0 0
568525 TOOHEY, SEAN K US 0 0 0 0 0 0 0 oO 0 0 0 0}

SE 0 0 0 0 0 o O 0 oO o 0 0

564224 ANDREWS, BRIAN US 0 0 0 0 0 0 0 0 0 0 0 0
8404539862 AAFAERDS BIL & MOTOR SE 0 0 0 0 0 0 0 0 0 0 o 0
DE 0 0 0 0 0 0 0 0 0 0 0 0)

DE 0 0 0 0 0 0 0 0 0 0 0 0)

NL o 0 0 0 0 O 0 0 0 0 0 0}

566245 BLACKWELL, JOHN T US 0 0 0 0 0 0 0 0 0 0 0 0}

NO 0 0 0 0 Oo 0 0 0 O 0 0 0

8404517210 F:A ELISABETHGUSTAFSSON SE 0 0 0 0 0 0 0 0 0 0 0 0}
564086 MODISETTE, JENNIFER L US oO oO 0 0 0 0 0 0 0 0 0 0}
589289 MCCLELLAND, JASON L US 0 O 0 0 0 0 0 0 0 0 0 0)
589612 CHACON, FRANCES US Oo 0 0 Oo 0 0 0 0 0 0 0 0}

SE 0 0 0 0 0 0 0 0 0 0 0 0

590656 SULLIVAN, TIMOTHY S US 0 0 0 0 0 0 0 0 o 0 0 0}

US 0 oO 0 0 0 0 0 0 0 0 0 0

DE 0 0 0 0 0 0 0 0 0 0 0 0}

NO 0 o 0 0 0 0 0 0 0 0 0 0}

DE 0 0 0 0 0 0 0 0 0 0 0 0)

DE 0 0 0 oO 0 0 0 0 0 0 0 0}

DE 0 Oo 0 0 0 0 0 0 0 0 0 0

SE 0 0 0 0 0 0 0 0 0 o 0 0

SE 0 0 0 0 0 0 0 0 0 0 0 0

8003552685 RAVELJE, ROBIN & DENISE NL 0 0 0 0 0 . 0 0 0 0 0 0 0
567012 ALEGRIA, GUSTAVO A US 0 0 0 0 0 oO 0 0 0 0 0 0
566499 JOHLES, MICHAEL A US 0 0 0 0 0 0 0 0 0 0 0 0)

FR 0 o 0 0 0 42.85 Oo 42.85 0 0 0 0}

SE 0 0 Oo 0 0 0 0 0 0 0 0 0}

8404523142 SOEDERBERG, CONNY SE 0 0 0 0 0 0 0 0 0 0 0 0
SE 0 0 oO 0 0 0 0 0 0 0 0 0}

8906150849 POSCHWATTA, KATHRIN DE 0 0 0 0 0 0 0 0 0 0 0 0)
8404536579 BOERJESSON, CARINA SE 0 0 0 0 0 0 0 0 0 0 0 0)
563670 GOETZE, INGRID CA oO 0 0 0 0 0 0 0 0 0 0 0)
8906152800 KRUSE, HANS GERHARD. DE 0 0 0 0 0 0 0 0 0 0 0 0)
8404420857 STORHANNUS, HENRY SE 0 0 0 oO 0 0 0 0 0 0 0 0
564979 HAGEN, TRAVIS N us 0 0 0 0 oO 0 0 Oo 0 oO 0 0}
8003564621 SVP VISION CLUB JOS DIEDEREN NL Oo 0 0 0 0 0 0 0 0 0 25,68 25.68)
7870095328 MAZZARELLA, ANGELO IT 0 0 0 0 0 0 0 0 0 0 0 0
566519 TERRAN, JACK P US 0 0 0 0 0 0 0 0 0 0 0 0

SE 0 0O 0 0 0 0 0 0 0 0 0 0

8003551282 BOOT, MARCEL & ESTHER NL 0 0 0 0 0 0 0 0 0 0 0 0)
US 0 0 0 oO 0 0 0 0 0 0 0 0)

§63729 HAFT, CONSTANCE US 0 0 0 0 Oo 0 0 0 0 0 0 0}

US 0 0 0 0 0 0 0 0 o 0 0 0}

le 0 0 0 0 0 0 0 0 0 0 0 0

DE 0 0 0 0 0 0 0 0 0 0 0 0

567177 REDD, COREY D US 0 0 0 0 0 0 0 0 0 0 0 0

NO 0 0 O 0 0 0 0 0 0 0 0 0

567825 FOARD Ill, HOWARDA US 0 0 0 0 0 0 0 O 0 0 Oo 0

DE 0 0 oO Oo 0 0 0 0 0 0 0 0)

US 0 0 0 0 0 0 0 0 0 0 0 0

542606 GLEASON, DONALD US 0 0 0 0 o 0 0 0 0 0 0 0}
546098 MOSS, SHEILAR US 0 0 0 0 0 0 0 0 0 QO 0 0
8404477703 HB CORE DESIRE NETWORK SERVICE SE 0 0 0 0 QO 0 0 0 0 0 0 0
8404138340 KARLSSON, LARS-ERIK SE 0 0 0 0 0 0 0 0 0 0 0 0
DK 0 0 0 0 0 0 0 0 0 0 0 0}

GB 0 0 Oo 0 0 0 0 0 0 o 0 0

DE oO 0 0 0 0 0 0 0 0 0 0 0)

US 0 0 0 0 0 0 0 0 0 0 0 0

8702011923 ERIKSEN, GOERAN BOLLE NO 0 0 0 0 0 0 0 0 0 0 0 0)
SE 0 0 0 0 0 0 0 0 0 0 0 0}

CA 0 o 0 0 0 0 0 0 0 0 0 0}

SE 0 0 0 0 0 o 0 0 0 0 0 0)

7800004954 VIRMAN, ANJA HELENA IT 0 0 0 0 0 0 0 0 o 0 0 0
NO 0 0 0 0 0 0 0 0 0 0 0 0

545853 ALFARO, YSIDROR US 0 0 0 0 0 0 0 0 0 0 0 0)

DK 0 0 0 0 0 0 0 0 0 0 0 0

8404465995 LINDSTROEM, SVERKER SE 0 0 0 0 0 0 0 0 0 0 0 0
545241 OLIVER, CHARLES E US 0 0 0 0 0 0 0 0 0 0 0 0}
546890 COYNE, ANTHONY us 0 0 0 0 0 0 0 0 0 0 o 0

IT 0 0 0 0 0 0 0 0 0 0 o 0)

SE Oo 0 0 0 0 0 0 0 0 0 0 0}

SE 0 0 0 0 0 Oo 0 0 0 0 Qo 0)

DK 0 0 0 0 0 0 0 0 0 oO 0 0}

NO 0 0 0 0 0 0 0 0 0 0 0 0)

SE 0 0 0 0 0 0 0 0 0 0 0 0

us 0 0 0 0 oO 0 0 0 0 0 0 0}

US 0 oO 0 0 0 0 0 0 0 0 0 0}

SE 0 0 0 0 0 0 0 0 0 0 0 0

GB oO 0 0 0 0 0 0 0 0 0 0 0|

DK 0 0 0 0 Oo oO o 0 0 0 oO 0}

8103336204 NIELSEN, LARS

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 7 of 24

Case 1

[ B

yy)
Sy
nN
S|
Bi

MTN]
SN
NIN
NN
i=

RISTSISTSISTSININININTS
SS aS] SIS SS SSS
RIPON OINININININ|
[co] Ga] >] co] od] co] YJ a SS
olsloln|s|ololalslalals’

NIN)
XN
NIN
| a
ols

NINTNINISTS
RISINININIS|
Oo) o]a/a}a
S/S} S/d]o]a
SHO | HIS|S]9}

NS
a)
ala
19
Sle

NIRTRIRTSINTNINININTNINISTN
SSIS SIS SSSI SS)
BO] Q)Q/Q]Q] a] a] e/a] }3] a] |
NININININ|[ NNN] y/o] o)s]o/5
Sola s/oly|slololalalolay

NIN] NIN] NTN NIN]
alelalelelalelele alalelala
aialalelgiele|a[s slelalsls
assess elalslels

RIN]
IN]
alala|
Haya
BIN]!

A
593810 GARDNER, JACOB
§93811 VAN PROOYEN, DAVID A
8702051877 OLSEN, STEIN ARNE
8404399799 AASLUND, ANDERS
8702052391 HANDELAND, TORILL
591224 GOREY, BRISIAM
8404575854 NRT NORDIC RIFLE
8906213985 SCHOLZ, THOMAS
8906189694 GROCHOCKI, KLAUS
593630 OLIVEROS, JOHN A
8404584754 MENTZER, OLA
8003576724 VAN DER PUTTE,JAN
§89460 JACKSON, BRUCE A
589469 CORDOBA-CORE, YOHANNA
590182 GUBINS, TORZALDS
8404590986 FOLBERT, ERLAND
8906151125 SCHLEGEL, VOLKER
8404500001 RINGKVIST, ANN-SOFI
8404531164 HELLQVIST, OERJAN
8103348071 SKOUSGAARD, JENS ARNE

IN)
NI
Sl
a
3

IN]
XN
yy
NI
2

yy)
SI
nS]
o
5)

8003571839 MARTINA, CARLOS
593676 STONE, TOMMY
589731 GIBBONS, JOHN R

8702087164 REIERSEN, KJETIL

yy)
XN
y
a
2)

590780 GOLDSTEIN, LISAM

592545 ECKSTEIN, SYLVIA
8103336619 JENSEN, LINDA

589739 HATCH, NANCY
8906176830 SCHOELLHORN, GISELA
8701911380 KVALSVIK, INGER PAULINE
7800014931 ZAMMATARO, OTTAVIO
8906168971 GESCHWINDE, HANS-PETER
8702010107 FLATIN, KRISTI
8103352460 TINE MOEHNCKE
8906156344 LOEW, MICHAELA
8404531981 FIRMA MATHILDA SANDSTEDT
8906136022 RAECKE, RENATE

594087 YIM, CHARLES
8906162711 HAHN, RENE
8404541155 ERIKSSON, MARTIN
7800007307 CURATOLO, CRISTINA
8404593357 TYKESSON, VIKTORIA
8906138928 MF WORLD
8702053575 EKNES, MAGNE
8906162714 ROTH, GOTTFRIED
8906178204 KOENIG, ROLAND
8702078529 SPJ@TVOLD, RUT

§65252 KRETZ, JENNIFER L
8404595903 JOHANSSON, GERHARD
8103339441 LARSEN, MARIJANNE SIFF
8905889540 SHEPHERD, YVONNE
8702062799 SOERENSEN, FREDRIK
8701544050 JOKELA, TEPPO

§63889 WHITE, RALPH L
8003547241 HEK DE, HUIBERT JAN H.J
8404532672 YAMDEE, SOMMAI
8404523495 SUNDELL, MARIA
8404519429 RUBNE, KENT
8404539433 CMJS KROPPSHAELSA
7800018524 TRUONO, ROSANNA
8404535909 BJOERK, STIG
8404505922 CLAESSON, OLA
7800019246 GALLI ROBERTO
7000188230 LESNIK, GERHARD
8702041437 SOLHEIM,JON ARILD
8702017336 BORG, MARTIN
8701888070 BALKE, HILDE

yy
“I
a
o

Ny)
N
a
3
2

yD
NI
eS

IN]
x
o
zp

Ny)
x
a
=

Nv
SI
a
N
Ss

IN)
Ny
e
Nn
io)

Ny]
q
Q
Nn
S

ND
S
oa
NS
o

ND
SS}
a
a
iN

8404339350 FREDERIKSSON, THOMAS
8404525721 OSAYANDE, FRANCIS
8862700321 2DG MARKETING LTD

8003565011 LAMERIS, SANDER S
563806 FOSTER, CHRISTINE M
575515 GUEST, SHELBY J
567974 MANCINI, STEPHAN A
§68573 STEWART, CATHY L

8404462633 BAECK, ANDERS

8404543166 PETTERSSON, LARS OLAF

8103339902 TRY US APS
567688 INGRHAM, LISA J
567997 LAWRENCE, LORI D

7470080611 SIVALINGAM, SIVAKUMAR

8404421758 HAELLSTROEM, PETER
§66727 COLLINS, DAVID P
567404 STEVENS, JAMES M

8906145584 MUELLER, ERNST

8404415205 AXELSON, CARINA
663809 CONNER, PATRICIAA
565178 SMITH, SANDRA K

8702048878 BERG, KNUT

yy
q
o
a
iN)

yy
qq
Q
a
oe

IN
NI

)
x
o
ay
NN)

)
x
a
q
2

8702065871 HGH STUDIO HELENE GULAKER HANSEN

8701852900 SCHJELDERUP, MONICA CECILIE
8404526334 ARTHUR SUNDQVIST ARKITEKT OCH DESI

8404361093 CEAAS ELEKTRONIKSERVICE AB

COD eCDC OC OOOO DODO OOD OD OOOO COOD Oo Ooo OODOOOOO OOO FOOD OOOOOOB BODO ODO OOOO OOOO oD OO eC OO BDA OOOADO Oo oAeO CoCo oOo oO} |

CODD oC Oop OOOO OOOO Oe OOOO O OOOO OOOO OOOO OOOO Oo OOOO D OOO OOOO OBO OOOO GC OSC ODO OoC COO KC ODO OOOO COCO OBO DOO oOKO COO OO} _|

eoKoKoKC Oo OOOO OOOO OOOO OO OOO oC OeC OOOO OCeCoOOOoD OOOO BOO OOCOOD OOO OOOO OO DOO oOBD OOo OD OOOO OBO COBB ee oOo oO OOOO Ooo OO} |)

ooo DeC OC OC OOOO OOO OO eC OC OOOO DoOOOOoCOSC oC OOO D OOOO OoFOOCOOO OOO OOOO oO Ooo OC OOO OOOO COO OOC ODBC CO e Oooo DO Oooo Sooo ooo} |

coo Ko eC ODO OOOO OOOO OOD OOO D DOO OOOODO OO OB OOOO ODOOOOOoOoOOOOoOC OBO OD OOOO OOO B OOO oOo O OSD OOO SBBeSeooeo Oooo OS OOO} |)

101.

cone o oe oO Foocco CoO CCC OOD ODO OOOO OOC OOO OOD eO ODO OOOO OOO BD OO OOD OB OOO B OOOO OOO OOO OOOO BAO OOO OOO oOSG ee o Sao ooOC ooo} |)

eco KC CC OC OC OO OOOO OOO oO OOOO OOO ODO OOO oO OBO OD OOOO OO OOOO oO OBC OO OOOO BOO OO AOD OOO ODO ODDO OOOO OOOO OOOO OAoAD ACO OOOO} |

101.5:

eonePC OOo OC OCC OC OOOO OOOO OOOO OOCO DOO Oo OOOO oD OD oO OOOO ODO OoOoOeCoOOOD OOO BD OOD OOoC OOO OOO OOOO O _|

eco0e0ceCBoOoOOCO

CoKpKC Oe OC O OOOO OD OOOO eC OOO OOD OOO COCO OOo BODO OOOO oO OOOO O OOO OOD OOOO OC OOOO OOo eCOCOC OOO Ooo OO B OOO OKC oO OOo ee Oooo Ol |

evoceceCKc DOC oC oO OOOO OOD OOO DOO OBO ODO ODO OOOO OO COO OOO OOO OD oO OD OBC OOO OOOO OOOO oOo eCODO OO B COCO eo O OO OOD OOo OOS OO |

eooe oo OCC OOOO OC OOO DC OO OOOO OOOOC OOO oO OOOO OOOOOO OOO OOO OOO OO SFO BOAO O OC OOO OOO OOOO DO OC OS eo ee oO oC oO OOO SCO So OOo} |)

Coo KC oO OC OOO OOOO OOOO OOO OOO OO ODO OOOO OOOO OO OD OOOO OOOO ODDO OOOO OOO DO OOOO SODOSOSSOOSDOSDDSCSDDOOBODSOD9DF0OSSO

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 8 of 24

Case 1

| A I B I I I [ I I I I K | I I I
27167| 560689 TIM, SAVANN US 0 0 0 0 0 0 0 0 0 0 0 0
[27168] 561015 HARKER, SHAUNA us 0 0 0 0 0 0 o 0 0 0 0 0}
27169} 8404506123 BRINGSARVE, PETTER SE 0 0 0 0 0 0 0 0 0 0 0 0
[27170] 8404429280 FRANSSON, BENGT SE o 0 0 0 0 0 0 0 0 0 0 0
[27174] 567650 WEBER, JEREMIAH C us 0 0 0 0 0 0 0 0 0 0 0 Q
[27172] 8003565692 IWANINK, MARTHA M NL 0 0 0 0 0 0 0 0 0 0 0 oO
[27173] 7370175161 MORALES BOLIVAR, JESUS ES 0 0 0 0 0 42.85 0 42.85 0 0 0 0
[27174] 8003549191 BROUWERS-BLANS, JOKE NL 0 0 0 0 0 0 0 0 0 oO 0 oO
(27175) 562846 SHEPHERD, ELIZABETH M us 0 0 0 0 0 0 0 0 0 0 0 o
[27176] 8882703994 SCOTT, HAMISH F GB 0 0 0 0 0 0 0 0 0 0 0 0
[27477] 558907 DAVIS, JARED E us 0 0 0 0 ° Oo 0 0 0 0 0 0
27178] 8701644040 ROKSVAG, BRITT KARIN NO 0 0 ° 0 0 0 0 0 0 0 o oO
[27179] 8404503592 HANSSON, NILS GUNNAR SE 0 0 0 0 0 0 0 oO 0 0 0 o
27180 559935 VENTURA, DEANNA us 0 0 0 o 0 0 0 0 0 0 0 O
27181] 8404523490 DAHLIN, HANS SE 0 0 0 0 0 0 0 0 0 0 0 oO
8702041526 KRISTIANSEN, REMI NO 0 0 0 0 0 0 0 0 0 0 0 O
127183] 560909 MEURER, STANLEY us 0 ° 0 0 0 0 0 0 0 0 0 oO
27184| 561243 ADELMAN, JOEL us 0 0 0 0 0 0 0 0 0 0 0 0
[27185] 8404521966 LUNDBAECK, ROGER SE 0 0 0 0 0 0 0 0 0 0 0 0
127186} §61570 HINOJOS, MICHAEL us 0 0 0 0 0 0 0 0 0 0 0 0
718 561613 THOMAS, LISA J us 0 0 0 0 0 0 0 0 0 0 0 0
559253 MALIA, MICHAEL us 0 0 0 0 0 0 0 0 0 0 0 O
559602 GRANT, PEROMNIA us 0 0 0 0 0 0 0 0 0 0 0 0
559950 LINARES, CECI C us 0 0 0 0 0 0 0 0 0 0 0 0
561267 WHITTINGTON, JOYCE & EMORY us 0 0 0 0 0 0 0 0 0 0 ° oO
561269 DAY, JOE us 0 0 0 0 0 0 0 0 0 0 0 oO
8906162493 PIECHA, JOACHIM DE 0 0 0 0 0 0 0 0 0 0 0 0
8906148287 GUERTH, CAROLA DE 0 0 0 9 0 0 0 0 0 0 0 0
8404543674 PERSSON, MAGNUS SE 0 0 0 9 0 0 0 0 0 oO 0 oO
560941 HODES, KEVIN US 0 0 0 ° 0 0 0 0 0 0 0 o
7670706508 EL MGHAIMIMI, HOUCINE FR 0 0 0 0 0 0 0 0 0 0 o oO
560955 SMITH, MAURICE L us 0 0 0 o 0 0 0 0 0 0 0 Q
562201 EDWARDS, CHARLES A us 0 0 0 0 0 oO 0 0 0 0 0 0
561251 WARD, ODIA CA 0 0 0 0 0 0 0 0 0 0 0 0
8003576720 GERRITS, RICO NL 0 0 0 0 0 0 0 0 0 0 0 0
27202] 8103355676 JYDSK BYGGEHJAELP DK 0 0 0 0 0 0 0 0 0 0 0 0
[27203] 8702054241 BERGET, OLE ANDERS NO 0 0 0 0 0 0 0 0 0 0 0 0
[27204] 8103344929 HJORTH, JOHN DK 0 0 0 0 0 0 0 0 0 0 0 0
27205] 7000195625 MITTEREGGER, NINA AT 0 0 0 0 0 0 0 0 o 0 0 0
[27206] 8906156007 GUETER, ANGELIKA DE 0 0 0 0 0 0 0 0 0 o 0 oO
|27207| 8702087055 JOHANSEN, ODD ARILD NO 0 0 0 0 0 0 0 0 oO 0 0 0
[27208] 8702070559 HAFSLUND, ANNE - BERIT No 0 0 0 0 0 0 0 0 0 0 0 oO
[27209] 592823 CLAY, JEANNE us 0 0 0 0 0 0 0 0 0 0 0 0}
[27210] 7000186182 MATOSEVIC, MARIO AT 0 0 0 0 0 0 0 0 0 0 0 oO
[27211] 593416 CATES, DYLAN S us 0 0 0 0 0 0 0 0 0 0 0 0
[27212] 594057 RAND, JAN us 0 0 0 0 0 0 0 0 0 0 0 0}
[27213] 8404576322 NILSSON, CARL-ANDERS SE 0 0 0 0 0 0 0 0 0 0 0 oO
[27214] 8404553052 REHNFELDT, ANNELIE SE 0 0 0 0 0 0 0 0 0 0 0 0
27215] 8404509511 KGL-BYGG SE 0 0 0 0 0 0 0 0 0 0 0 0
8003525791 EERLAND HANDELSONDERN NL o 0 0 0 0 0 0 O 0 0 0 oO
8702087225 VIKAN, JAN RUNE NO 0 0 0 0 0 0 0 0 oO 0 0 QO
8906176086 WALTHER, ELKE DE 0 0 0 0 O 0 0 0 0 0 0 0
8702091783 OPPEDAL, REIDAR NO 0 o 0 0 0 0 0 0 0 0 0 0
8404549193 EDSTROEM, ROSE-MARIE SE 0 0 0 0 0 0 o 0 0 0 0 0
27221| 8906176413 JOERG, HILDE DE 0 0 0 0 0 0 0 0 0 0 0 0
[27222| 591496 KRAMOLIS, STACY us 0 0 0 0 ° 0 0 0 0 0 ° O
[27223] 591498 CAMPBELL, STEPHEN A us 0 0 0 0 0 0 0 0 0 0 0 0
27224] 8404578272 LOREN, NIKLAS SE 0 0 0 0 0 0 0 0 0 0 0 0
[27225] 592523 PHOTHIRATH, KHAMPHET us 0 0 0 0 0 0 0 0 0 0 0 Qo
[27226] 592834 ASBURY TOWN NECK U. M CHURCH us 0 0 0 0 0 0 oO 0 0 0 0 oO
27227| 8906184431 EYSELEE KOCH, REGINE DE 0 0 0 0 0 0 0 0 0 0 0 0
8906184173 MKB GMBH U CO KG DE 0 0 0 0 0 0 0 0 0 0 0 0
565427 BARDEN, ISOBEL M us 0 0 0 0 0 0 0 0 0 0 0 oO
8404517984 HALONEN, MAURI SE 0 0 0 0 0 0 0 0 0 0 0 0
8702068571 SOERENSEN, HILMAR NO 0 0 0 0 0 0 o 0 0 0 0 oO
590712 SUSALLA, GERALD E us 0 0 ° 0 0 0 0 0 0 0 0 oO
591769 STEVANOVIC, VASOR us 0 0 0 0 0 0 0 0 0 0 0 oO
8702068800 ROEBERG, KIM - JORAN NO 0 0 0 0 oO 0 0 0 0 0 0 0
593369 APARICIO, DAN us 0 0 0 0 0 ° 0 0 0 0 0 0
8404575341 JAKOBSSON, ANDERS SE 0 0 0 0 0 0 0 0 0 0 0 0
593371 PEERY, STANLEY R us 0 0 0 0 0 0 0 0 0 0 0 0
593376 DARKE, STEVEN E us 0 0 0 0 0 0 0 0 0 0 0 0
593379 JOSSELET-JAMES, LISA us 0 0 0 0 o 0 0 0 ° oO 0 oO
8404619919 JOENSSON, HAAKAN SE 0 0 0 0 0 0 0 0 0 0 0 oO
8906184172 WELLNITZ, MICHAEL DE 0 0 0 0 0 0 0 0 0 0 0 0
7800028572 PACENTI, RENATO IT 0 0 0 0 0 0 0 0 o 0 0 0
8906150678 DIEKHAUS, CHRISTIAN DE 0 0 0 0 0 0 oO 0 0 0 0 0
8003576835 ISMAIL, RAOUL NL 0 0 0 ° 0 ° 0 0 0 0 0 0
591083 GETZ, RAYMOND E us 0 0 0 0 0 O oO 0 0 0 0 0
8404541969 HOLM, GERTH SE 0 0 0 0 0 0 0 0 0 0 0 0
591795 MANN, LANCE us 0 0 0 0 0 0 0 0 0 0 0 0
8003569054 WOLFF, INGRID M NL 0 0 0 0 0 0 0 0 0 0 0 0
8404615221 LUNDGREN, ANETTE SE 0 0 0 0 0 0 0 0 0 0 0 0
8404619991 PAALSSON, VICTORIA SE 0 0 0 0 0 0 0 0 0 0 0 oO
592799 WATNICK, JAY S us 0 0 0 0 0 0 0 0 0 0 0 0
593393 JUNGER, MICHAEL us 0 oO 0 0 0 0 0 0 0 0 0 0
593394 JUNGER, LINDSY us 0 0 0 0 0 0 0 o 0 0 0 o
8404503277 SVENSSON, JOERGEN SE 0 0 0 0 0 0 0 0 0 0 0 0
8906182115 VOGT, LARS. DE 0 0 0 0 0 0 0 oO 0 0 0 0
8702061212 FRONES, MARGARETA ORRBECK NO 0 0 o ° 0 0 0 0 0 0 0 0
8003559158 SANDERS, DENNIS D. NL 0 0 0 0 0 0 0 0 0 0 0 0
8701478500 SAETHRE ANNE NO 0 0 0 0 0 0 0 0 0 0 0 oO
8404582743 RANTATALO, ROGER SE 0 oO 0 0 0 0 0 0 0 0 0 0
8882711554 FOXWELL, LISA J GB oO oO o 0 oO o oO 0 oO oO Oo Q|

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 9 of 24

Case 1

A__ | B I I ] I I | I I I ]
561149 CAIN, CHRISTOPHER J US 0 0 0 0 0 0 15.46 15.46 0 0 0 0
561163 DENNY, ROBERT B us 0 0 0 0 0 0 0 0 0 0 0 0}
562122 MIX, TODD us 0 0 0 0 0 0 0 0 0 0 0 0
562142 SMITH, THOMAS US 0 0 oO 0 oO 0 0 oO 0 0 0 0}
8003564671 LINDEN VD, IVOP.AA NL 0 0 0 0 0 0 0 0 0 0 0 0
562439 HARRIS JR, ROBERT M us 0 0 oO 0 0 0 0 0 0 0 0 |
6404533282 LARSSON, LARS SE 0 o 0 0 0 0 0 0 0 0 0 0
8404498812 EMRETZON, HAAKAN SE 0 0 0 0 0 0 0 0 0 0 0 0
8906093750 BOLLHORST, HORST DE 0 0 0 0 0 0 0 0 0 0 0 0
7000179472 WENK, BERNHARD AT 0 0 oO oO o 0 0 o 0 0 0 0
8702020146 BUGGE NINA, BUGGE FREDRIK NO 0 0 0 0 0 0 0 0 0 0 0 0
565349 WEST, DEBRAR us 0 0 0 0 0 0 0 0 0 0 0 0
566266 BAKER, CARA J us 0 0 0 0 0 0 0 0 0 0 0 0
566271 CARSON, SUNDRA P us 0 0 0 0 0 0 0 0 0 0 0 0
568495 POLTER, CATHERINE L us 0 0 0 0 0 0 0 0 o 0 0 o
8404514801 GUSTAFSSON, MONICA SE 0 O 0 0 0 0 0 0 0 oO 0 0
8404522731 OLOFSSON, ROLF SE 0 oO 0 oO 0 0 0 0 0 0 0 0
7670703931 AIT TALEB, BARAKET FR 0 0 0 0 0 0 0 0 ° 0 0 0
8003550771 STICHTING SKIDOO NL 0 0 0 0 0 0 0 0 0 0 0 Ql
8403819380 HILLBOM, LISBETH SE 0 0 0 0 0 0 0 0 0 0 0 Q
559032 DIANE, MORY us 0 ° 0 0 0 0 0 0 0 0 0 O
8906162807 CZYBIK, BERNHARDINE DE 0 0 0 0 0 0 0 0 0 0 0 Q
8404471318 STEFAN FERM UTVECKLING SE 0 0 0 0 0 0 0 0 O 0 0 0
578399 MILANO, PAUL us 0 0 0 0 0 0 0 0 0 0 0 oO
8404463364 OEDMAN, SOPHIE SE 0 0 0 0 0 0 0 Oo 0 0 0 0
559510 O"HALLORAN, KEVIN J us 0 0 0 0 o 0 0 0 0 0 0 |
7800019005 KOMES INTERNATIONAL D. KONRAD MESS IT 0 0 0 0 0 0 0 0 o 0 0 oO
8701984390 BJELLA, TORFRID NO 0 0 0 0 0 0 0 0 0 0 0 0
559864 MARQUARDT, JERAH us 0 0 0 0 0 ° 0 0 0 0 0 Q
559870 WILLIAMS, MARY K US 0 0 0 0 0 0 0 0 0 0 0 Ql
8702050344 ENKERUD OLE KAARE, ENKERUD CECILIE NO 0 0 0 0 0 0 0 0 oO 0 0 0
8404512989 GREGORSKY, IRENA SE 0 0 0 0 0 0 0 oO 0 0 0 0
8103343592 PEDERSEN, VERNER DK 0 oO oO 0 0 Oo 0 0 0 0 0 q
7800016655 KELDERER, JOSEF IT 0 0 0 0 0 0 0 0 0 0 0 0
8402858730 ERLANDSSON, ANNE-LIE SE 0 0 0 0 0 0 0 oO 0 0 0 0
8404533795 PERSSON, HANS GOERAN SE 0 0 0 0 0 0 0 0 0 0 0 0
8702006511 JOHANNESSEN, CLAS ERIK NO 0 0 0 0 0 0 0 0 0 0 0 O|
561863 STEVENS, LARRY us 0 0 oO 0 0 0 0 0 0 0 0 O
562816 GUSSIN, DAVID A cA 0 0 0 0 0 0 0 0 0 0 0 oO
562818 TRANSWORLD POWER, LLC Us 0 0 0 0 0 0 0 0 0 0 0 0
8882208310 BODJI, KOGORE THOMAS GB 0 0 0 0 0 0 0 0 0 0 0 q
558546 PENDLETON, SCOTT E us 0 0 0 0 0 0 0 0 0 0 0 0
558880 BROOKS, GEORGE us 0 0 o 0 ° 0 0 0 0 0 0 0
8701102720 ENGESET, ELISABET No 0 0 0 0 0 0 0 0 0 0 0 Q
560883 EDWARDS, ANDREWS us 0 0 0 0 0 0 0 0 0 0 0 0
561164 ROZSA, BEVERLY us 0 0 0 0 0 0 0 0 0 0 0 O}
576786 WINCHESTER, DUANE E us 0 0 0 0 0 0 0 0 o 0 0 O}
8404526528 HENESTAAL, MARIE SE 0 0 0 0 0 0 0 0 0 0 0 0
577382 KOTTER, CRAIGR us ° 0 0 0 0 0 0 O 0 0 0 0
577699 MILLS, MICHAEL J CA 0 0 0 0 0 0 0 0 0 0 0 0
8404465392 SOERLING, TOMAS SE 0 0 0 0 o 0 0 0 0 0 0 O
578349 LOURENS, MICHELLE A CA 0 0 0 0 0 0 0 0 0 0 0 o
578355 JENKINS, BRENDA J us 0 0 0 0 0 0 0 0 0 0 0 0
578356 JONES, ANETTE H us 0 oO 0 0 0 0 0 0 0 0 0 q
8404521316 BYRSTEN, KLAS SE oO 0 0 0 0 0 0 0 0 0 0 0
[27126] 8701204520 SERENANDER, JAN OLOV NO 0 0 0 0 0 0 0 0 0 0 0 0
[27129] 8701767160 MOERKEN, STEIN NO 0 0 0 0 0 0 0 0 0 0 0 Q
27130 576170 OLSON, CHAD R us 0 0 0 0 0 0 0 0 0 o 0 0
[27131] 8003561451 NIJENHUIS, WIETSE W.T.P NL 0 0 0 0 0 0 0 0 0 0 0 0
[27132] 576781 UNIQUE SERVICES OF HOPE MILLS INC US 0 0 0 0 0 0 0 0 0 0 0 oO
[27133] 562507 LITTLE, PATRICIA us 0 0 0 0 0 0 0 0 0 0 0 0
[27134] 8702078982 JOHANSEN, JAN OEYVIND NO 0 0 0 0 0 0 0 0 0 0 0 O|
27 578369 LAUMATIA, VAI T us 0 0 0 0 0 0 0 o 0 0 0 0
[27136] 573969 MAYNARD, SMILJA R us 0 0 0 0 0 0 0 0 0 0 0 q
[27137| 8906161779 PAULS, EDITH DE 0 0 0 0 0 0 0 0 0 0 0 0
[27136] 576184 KENNEDY, MARK S us 0 0 0 0 0 0 0 0 0 0 0 Q
[27139] 577730 ALEXANDER, DEIRDRA us 0 0 0 Q 0 0 0 0 0 0 0 0]
27140) 577745 FROST, DANNY C us 0 0 0 0 0 0 0 o ° 0 0 q
[27141] 8003504131 DOMPIG, M.M NL o 0 0 0 0 0 0 0 0 0 0 0
[27142] 8003552270 TIJHUIS-BEUMER, J.M.H NL 0 0 0 0 0 0 0 0 0 0 0 Ql
8404500004 RINGKVIST, LOTTA SE 0 0 0 0 0 0 0 0 0 0 0 O|
575249 CHOW, ANDY us 0 0 0 0 0 0 0 0 0 0 0 o}
7800004117 MORBIDONI, MAURO IT 0 0 0 0 0 0 0 0 0 0 0 Q
560663 DASIUK, WENDI M cA 0 0 0 0 0 0 0 0 ° oO 0 0
562579 COOTS, FRANCES A US 0 0 0 0 0 0 0 0 0 0 0 ql
7000171086 SCHRATZER, WILFRIED AT 0 o 0 0 0 oO 0 0 0 0 0 o|
27149| 8003522981 BLOEMENDAL, DAPHNE NL 0 0 0 0 0 0 0 0 0 0 0 0
[27150] 7000175422 HAGEN, KLAUS AT 0 0 0 0 0 0 0 0 0 0 0 0
[27151] 559335 ALLAN, JEFFREY D us 0 0 0 0 0 0 0 0 0 0 0 0
[27152] 8404278640 FRIBERG, CARINA SE 0 0 o 0 0 0 0 0 0 0 0 0}
27153) 561300 AMOS, JAY us 0 0 0 0 0 0 0 0 0 O 0 Ql
[27154] 561640 DONOVAN, MICHAEL us 0 0 0 0 0 0 0 0 0 0 0 0
[27155] 8702044953 WILHEMESEN, MORTEN NO 0 0 0 0 0 0 0 0 a 0 0 0
27156] 8404536885 OESTLUND, STEFAN SE 0 0 0 0 0 0 0 0 0 0 0 0
[27157| 8404381143 HELMERSSON, MICHAEL SE 0 0 0 0 0 0 0 0 0 0 0 0
(27156) 561231 GLOVER, NICOLE us 0 0 0 0 0 0 0 0 0 0 0 Q
27159 560329 ALLSUP, MYKEN us 0 0 0 0 0 0 0 0 ° 0 0 0
[27160] 561279 CARLO, DEAN A us 0 0 0 0 o 0 0 0 0 0 0 q
[27161] 8404525848 BRAUER, MARLENE SE 0 0 0 0 0 0 0 0 0 0 0 oO
27162] 8404433262 AEKTENSKAP & FAMILJ | FOKUS SE 0 0 0 0 0 0 0 0 0 0 0 q
[27163] 8702044291 BOLLE, GUNNAR OLAF NO 0 0 0 0 0 0 0 0 0 0 0 Q
[27164] 7670705007 EL ABED, ZOUHEIR FR 0 oO 0 0 0 5.71 0 85.71 0 0 0 0
8404411440 LINGVALL, MARCUS SE 0 0 0 0 0 0 0 0 0 0 0 O|
8404412032 AT INTERNATIONAL HS SE oO 0 0 0 0 0 o 0 oO o oO |

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 10 of 24

Case 1

A
8906236155 ZEIER, KATJA
8906225666 STUCKEN, GISELA
8906202691 TEWES, SABINE
8103385142 ARKITEKT & BYGGESERVICE
8906179955 BUEDENBENDER, ROSWITHA

560126 SMITH, JAMES M
8404517698 RUBIN, INGRID

561422 CLOS, KIMBERLY A

562064 BARTH, JOYCE L

§62065 LAZALA, MICKIE C

§62076 FRYAR, JAY W
8906159157 HUEBNER, JANNINE
8906146777 BOHNEN, ROLF

562703 PINTO, ROSEMARY

563342 STINSON, KIM A

558449 BALDWIN, RANDY

558776 LATHAM, RODNEY C
8404532681 HEDEN, MARKUS

559806 WELSH, EDWARD L
8702008218 HOESTLAND, KARSTEIN
8404525871 SANDELL, EGON
8404496414 BLOM, ELIN
8404298690 NYHOLM, CATHRINA
8404463385 LULEAA GRUS TRAILER AB
8003546751 RAMDIN, ROY

563051 HALLINAN, TODD

563053 SWAFFORD, LATONYA C

559134 SHANDLE, SHIRLEY A

559483 GOULD, BRET

560162 FLORES, ISMAEL A
7670689931 BRANDALAC, PASCAL G

559792 CRENSHAW, SUSAN M

562996 GONZALES, EDGAR J
8404539964 THORIN, MONIKA

560713 BARTON-GRIMLEY, RYAN A.
8882708875 NAPIER, ELMA
8103257840 PRIMDAHL, OLE
8906139061 WASSING
8404544366 ROLF, JENNY

560723 NOAH, DONITA

560728 ADAIR, GERY W

560743 BURGESS, TELIA
8103334585 JANSSEN, GERT

562031 FAGAN, JERRY J
8404523781 CARLSSON, PETER
8906141093 SCHARNERT, ELKE

562741 WIGINGTON, ERIC L
8404496888 NIELSEN, JENS & GUNILLA
8906166191 BRAASCH, TANJA

559065 HARRIS, TAMII F
8882149850 CONNON, ALLAN
8003411440 HOOG DE, JOEP
8404339280 JOHANSSSON, CHRISTER
8700034550 MOEN, KJELL
8404533225 WAGNER, GOERAN

2024728 RIGGINS, MARCIA M

8882222660 REED, DAVID

559775 NALDO, JOSE K
8906157663 CATBELLO GMBH

567617 TOOMBS, CLOREY L

560483 CILENTO, DARLENE

567586 DOUGLAS, TCHALLA

567592 HAYES, PAMMI M

567906 MUHAAMMAD, WANDA N

568571 FERDOWSIJAH, MARY W
8003505351 GURCUOGLU, TALIYE S
8404496871 GUSTAVSSON, ANDERS
8003540061 UIL DEN, GERT JAN G-J
8404538274 WALTHER, BIRGITTA
8404523182 LARSSON, RIKARD
8404491502 EK, CLAES
8404269060 SVENSSON, ROLF

566966 HERNANDEZ, ROSAURA
8702064328 SKAUEN, TROND

568536 GUZMAN JR, JUAN
7800004430 SUSCA, LUCIA

567624 SINCLAIR, DEBBIE

567958 CHAPMAN, BRANDI

567964 SOTO, VIDAL T

568605 SUSKIN, JUDITH ELLEN

568612 COLEMAN, TODD A

564436 MORELL, ALANA J
8404498890 AAKERVALL, STEN
8906137474 BERGER, ARNOLD
8702024448 HOEYEM, EINAR
8404493060 HELENS LE HB
8103241160 JOERGENSEN, NIKOLINE
8906149800 BECKER, ASTRID

558811 DALITE & ASSOC, LLC

558813 ZIEGLER JR, DAVIDA
8702015945 KARLSEN LINE, MARIA

559848 WAGNER, DAVID E

$60175 HILLMANN, ERIC T

560186 ROSS, KIM

eoooccoeeoeccocoec eco oCOC oOo Oo oOOCOC oO oOo OOoOeC OOo oOo OC oOoC OC oOo eC Oooo COSC ao OOO OOO OCOD OOOO OOOO COO OOOO OOO COOOGSG

eoococc0oc9D09GD CC CCFC OOO SCOOOOD OOO OCOD OOOO OOOO OO ODOC OD OOOO BO OO ODOC COCO OOO OCC OOOO OOO COCO C CO OOO OOOO OC OOCOO

oeoooeoeco9o99990CCOCCOSBDoOSOCOOOOoOD OOO OD OOOO oOOOB OOOO DOO COC OOOO OOOO COCO COCO CO OC OC OOO DOO COCO OOD OOO COC OCOCOS

eoocoeeces9eoCc CoCo oO CSCO oOoOoC ODO OSC Oooo eB OOOO COOC OO OOOO OC OO BOO ODDO OOO COCO OOO COSC SC OOO ODO OOO OOOO OOOO eC OOOOSOSD

eooo0ecoconocofoG9 Foo cCCCOCCeCOCDSC ODO oOoOOoO oO SOOO Oo BO eOoO OOOO OOO Ooo OD OOOO OOO OOOO COCO OOO OO OGC OOO BDO OD OOO OOOO OOoD

esc090eece osc OC oOBD OOO OOGC OOo OOOO OCCODe

a
g
w
o

e2s0DD eo oCoOSOeOCOOOOBCOOOOOD OOF OOOO OoOFG OOD ODOC OO CO OC Oo CO oOOOG COC OC eC OOOO GOCD

eooncsneoe99e0 CCC oCoOoOCOoCoCSe SOOO OCOoO OSD oOo oOOOeC oC OO oOo ODO OOOO OOOO oO OC OOO OOOO COCO OOOO BGO OOOO OOOO OC OOOO OOO COO oD

®eeceosc0909cDeCoCeC SC oOSGOOOoCOOOAOoOOOOOCCD

571.31

ese0o0esoeoODoOO OCC OOD D OOO COCOCCOOCOoOGeoOD OO eC OB OOO OOO OC OOOO OOOO OC oOOCOOD

esooevececcc9c9C FOO FOGO OCC OCOC OOOO o OOo OOO eo O OOOO oOoOoCoCoC oO oOOFC Oe OOC OO OBO OOOO COO OOO COC OOOO OOOO OOOO OOO OC OCOOOS

goo00000CTFCCCCOCoOFCOOoCoOoOSGCoOe OOOO Oooo OOOO OOo oOB Oooo oO oOo Oe oOo C OBO OOo OOOO oO OOO OOO OG OOO OOOO OC OC OOOO OCC OoOCGS

ecco0ecCoeoDCeoCCoCoOoOCOoCoOoSooOoOBGOeCOOC OOO ODO OOO oOBC OC OC OOO KFC OOO BOO oO OOO OO oO COO OC OC OOOO COO OOO OC OCOD OOOO OOOO OOD

SAPDSDSDDSDFDFDDODCOOSD OOo SooOoOoOoOOD OOO oO Boo OOBD OC ODOC D OOo O OOOO COO DOC OOOO COO OOO COO OD OOO OOOO CO OC OOOO OOO OOOO OOS

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 11 of 24

Case 1

B

A I | I I I I ] ] I I 9
650295 HOFER, JOCELYN Us 0 0 0 0 0 0 0 0 0 0 0 0
8003616927 DASDELEN, UZAY NL 0 0 0 0 0 oO ° ° 0 0 0 oO
8882755842 DAY, GEORGE H. GB 0 0 0 0 0 0 0 0 ° ° 0 q
8906252559 TANG, SABINE DE 0 0 0 oO 0 0 0 0 0 0 0 0
7800042885 ZATTIN, LUCA DAMIANO IT 0 0 0 0 0 0 0 oO o 0 0 O|
7670674989 MELIANI, AAZ-EL FR 0 0 0 0 o 0 42.85 42.85 0 0 0 O|
7800027582 BUFFONI, ALESSIA IT 0 0 0 0 0 ° 0 ° 0 oO 0 q
652366 SHIELDS, LINDA D CA 0 0 o 0 0 0 0 0 0 0 0 q
8103372552 P-A .TELE DK 0 0 0 0 0 0 0 0 0 0 0 0)
7800045855 NIEDERKOFLER, THOMAS IT 0 O 0 0 0 0 0 0 0 0 0 0
8702137596 KLELV, RITA NO 0 0 0 0 0 0 0 0 0 0 0 0
8906288422 EHMER, KITTY DE 0 0 0 0 0 0 0 0 0 0 0 0
8702132763 TOR KLAAPBAKKEN NO 0 0 0 0 0 0 0 0 0 0 0 0
655303 CROSS, GEORGE us 0 0 0 0 0 0 0 0 0 0 0 9
8103361715 MARIATHAS, GNANAKONE DK 0 0 0 0 0 0 ° 0 0 0 0 0
650288 IRISH, LACEY us Oo 0 0 0 0 0 0 0 0 0 0 o|
8906207101 LAPING, MARCO. DE 0 0 0 0 0 0 0 0 0 0 0 0
8404598455 MAKENDER, LEO SE 0 0 0 0 0 0 0 0 0 0 0 O|
7670672787 MONTOYA, DAVID FR 0 0 0 0 0 42.85 0 42.85 0 0 0 0
8906206339 EICHHORN, GOTTFRIED OE 0 0 0 0 0 0 0 0 0 0 0 0
8702119711 GREEN, MARTIN NO 0 0 0 0 0 0 0 0 0 o 0 0
8906218002 FUCHS, SABINE DE 0 0 0 0 0 0 0 0 oO 0 0 0
653359 BAKER, RALPH A us 0 0 0 0 0 0 0 0 0 0 0 0
653363 CONEY, DIANA M CA 0 0 0 0 0 0 0 0 0 0 0 Q
653725 DOLAN, FAITH E us 0 0 0 0 0 0 0 0 0 0 o q
653737 ELITE ASSOCIATES LLC us 0 0 0 0 0 0 0 o oO o 0 0
654129 MCEWEN JR, ROBERT us 0 0 0 0 0 0 0 0 0 0 0 Q
654539 GONZALEZ, DEBORAH us 0 0 0 0 0 0 0 0 0 oO 0 Q|
8906183445 KLOSE, DIETMAR DE 0 0 Q 0 0 0 0 0 0 o 0 Qo
6906268674 LUDWIG CONSULTING DE O 0 0 0 0O 0 0 0 0 o 0 0
8103383883 SKAARUP, SUSANNE DK 0 0 0 0 0 0 0 0 0 0 0 0
8701238700 MOLENHUIS, PIETER NO 0 0 0 0 0 0 0 0 0 0 0 q
7670670137 KRZYSZCZYK, FRANCIS FR 0 0 0 0 0 0 0 0 0 571.38 0 571.38
7000207365 KAMMERER, INGEBORG AT 0 0 0 0 0 0 0 0 0 0 0 0
1988781 BURGER, JOHN C us 0 0 0 0 0 100 0 100 0 0 0 O|
8103378299 LARSEN, NICHLAS DK 0 0 0 0 0 0 0 0 0 0 0 O|
654577 RHODEN, DEANDRA M us 0 0 0 0 0 0 0 0 0 0 0 0
655296 BAICHI, DAVID us 0 0 0 0 0 0 0 0 0 0 0 q
aI 650827 EMMERSON, KENT CA 0 0 0 0 0 0 0 0 0 0 0 q
[26924] 8003573004 DE VRIES, MARCEL NL 0 0 0 0 0 0 0 0 0 0 0 0
[26925] 8003597486 HELM VAN DER,BOB NL 0 0 0 0 Qo 0 0 0 0 oO 0 oO
[26926] 7000207882 BATIZOVSKY, MARKUS AT 0 0 0 0 0 0 0 0 Q 0 0 0
[26927| 650897 HENRY, KATRINA A us 0 0 0 0 0 0 0 0 0 0 0 |
[26928] 655220 TAYLOR, WILLIE J us 0 0 ° 0 0 0 0 0 0 0 0 0
26929 652826 SNOWDEN, WILL T us 0 0 0 0 0 0 0 0 0 0 0 oO
[26930] 7000328494 RAUCH, BERNHARD AT 0 0 0 0 0 0 0 0 0 0 0 0
[26931] 8003585460 SNIJDERS KAMPHUIS, ANTOINETTE NL 0 0 0 Oo 0 0 0 Oo 0 0 0 0}
[26932] 8702144483 THORDARSON, ARNAR NO 0 0 0 0 0 0 0 0 0 0 0 0
[26933] 8404622278 LUND, CHRISTER SE 0 0 0 0 0 0 0 0 0 0 0 oO
[26934] 8906230562 ZARGARPOUR, ALI DE 0 0 0 0 0 0 0 0 0 o 0 O|
[26935] 6003599591 TUIJP, GERT JAN NL 0 0 0 0 0 0 0 0 0 0 0 oO
[26936] 7670674695 NADIR, BOUDOUMA FR 0 0 0 0 0 0 0 0 0 0 0 0
[26937] 7300192573 MORELLI, TON| DOMENICO ES o oO 0 0 0 0 0 0 0 42.85 0 42.85|
[26938] 8003562327 GARBIN, MOERIAT H NL 0 0 0 0 0 0 0 0 0 0 0 0
[26939] 8103387594 JEPE MICHEL DK 0 0 0 0 0 0 0 0 0 0 0 0
[26940] 8103390225 DETHELE.DK DK 0 0 0 0 0 0 0 0 0 0 0 ql
[26947] 655316 MILES, SHARRON us 0 0 o 0 0 0 0 0 0 0 0 0}
652181 POWELL, PATRICIA L us 0 0 0 0 0 0 0 0 0 0 0 O
651371 GONZALEZ, SUSAN us 0 0 0 0 0 0 o 0 0 0 0 ol
8003602481 KORNMAN MEIJER, TRUUS NL 0 0 0 0 o 0 0 0 0 0 0 0
8103377024 MAEGAARD, LISBETH DK 0 o 0 0 0 0 oO 0 0 0 0 0
8906263723 MANN, ANJA DE 0 0 0 0 0 0 0 0 0 0 0 oO
8404512845 STANFORD, TOMMY SE 0 0 0 Oo Oo 0 0 0 0 0 0 0}
7000196211 HARTMANN, GUENTHER AT 0 0 0 0 0 0 0 ° 0 0 0 O|
1987061 COURCHESNE, JASON cA Oo ° 0 0 0 0 0 0 0 766.69 0 766.69
8003585484 BRUINS, BEN NL 0 0 0 0 0 0 0 ° ° 0 0 Oo
659085 MCGRATH, THOMAS J us oO 0 Q 0 0 o 0 0 0 0 0 0
7800045981 PRINZIVALLI, GIACOMO IT 0 0 0 o 0 0 O 0 0 0 0 0
659751 EBRITE, GINGER A us 0 0 0 0 0 0 0 0 0 0 0 0
8404629271 YLIMAEKI, PETER SE 0 o 0 0 0 0 0 0 0 0 0 0
651056 NESSELBACK, GWEN C us 0 0 0 0 0 0 0 0 0 0 0 0
655013 BOHN JR, RALPH R us 0 0 0 0 0 0 0 0 0 0 0 0
8906187538 BUSE, CARSTEN DE 0 0 0 0 0 o 0 0 0 0 0 oO
7800041225 AGO SERVICE SRL IT 0 0 0 0 0 0 0 Oo 0 0 0 0
652384 BARLOW, DEBORAH us 0 0 0 0 0 0 0 0 0 0 0 0
960] 8003614374 CHOI, TINHING, JACKY NL 0 0 0 0 0 0 0 0 0 0 0 0
[26961] 8906242965 SCHLAMMER, ALEXANDER DE 0 0 0 0 0 0 0 0 0 0 0 0
[26962] 655340 POSS, LAURA us 0 0 0 0 0 0 0 0 0 0 0 0
[26963] 655356 ARREDONDO, AMELIA D us 0 0 0 0 0 ° 0 0 0 0 0 q
26964] 650211 BIRSTON, LISAG CA 0 0 0 o ° 0 0 0 0 0 0 o
7800045751 PRIVITERA, MAURIZIO IT 0 0 0 0 0 0 0 0 0 0 0 q
[26966] 8882763271 HARPER, MARK J GB 0 0 0 0 0 0 0 0 0 0 0 0
6967| 8906208805 WASMUND, JEANNETTE DE 0 0 0 0 0 0 o 0 0 ° 0 0
[26968] 8906295564 RUDOLF, GERLINDE DE 0 0 0 0 0 0 0 0 0 0 0 a
|26969] 8202862154 OJALA, MIA FI 0 0 0 0 0 0 0 0 0 0 0 0
6970] 651730 KRASOMIL, RANDALL us 0 0 o ° ° 0 0 0 0 0 0 Q
[26971] 655743 KELLER, SAMANTHA L us 0 0 0 0 0 0 0 0 0 0 0 q
[26972] 650930 TRINITY FINANCIAL INSTITUTION, INC. US 0 0 0 0 0 0 0 0 0 oO 0 0
26973] 8906242925 STEINBACH, DETMAR DE 0 ° 0 0 0 0 0 0 0 0 0 ql
[26974] 7300195261 DACOSTA VACAS, JUAN JOSE ES 0 0 0 0 0 0 0 0 0 0 0 0
[26975] 8906203078 MEIER, HANS - JOACHIM DE ° 0 0 0 0 0 0 0 0 0 19.46 19.46
[26976] 8003589614 HEYBROEK JANSEN, INGRID J PM NL 0 0 0 0 0 0 0 0 0 0 0 0
655403 BRADSHAW, DEBRA cA ° 0 0 0 0 0 0 0 0 0 0 ql
8003617425 MORMINA, SILVANA NU 0 o 0 o 0 0 0 o oO 0 0 0)

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 12 of 24

Case 1

I B

A

661898 NORRIS, LEON

656581 ROBERTSON, STEVE R
7800048775 GENTILUCCI, FEDERICO
8906205368 BUERKLE, KONRAD
8003610941 TIMMERMANS, JOSCO
8702159041 GAARDEN, JAN ROGER
8702143555 MEHREN, IVAR TRYGGUE
7800010122 PODDA GUGLIELMO

659115 BROOKS, TIFFINY

659780 ROMERO, DION L
8003574692 SPALBURG, BRIGITTE
8906181120 POLOCZEK, RAFAEL

661319 ROBINETT, ZACHARY N
7600849197 SHALA, SAJMIR

656573 CAREY, PATRICIA F

661402 BROWN II, GREG C

657349 LYON, JENNIFER

657681 FIELDS, DANNY L
7600804998 OUDIN JUE, MURIEL
7800005115 MANFRONI, ANNA MARIA

659807 FIDDICK-HAYNES, SANDRA L
8906288994 KRIEGER, BORIS

661846 FONG, PAUL
7000207183 TEAM BALANCE
7000213383 MITTERHUBER, JOSEF
8702136944 PEDERSEN, PAUL GUNNAR
7800021681 BACCO, GERARDO

661878 CASH, LOLA F
8170056731 JACOBSEN, KENT L

659242 BRANDON, CHRISTIE L

659252 DOW, RONALD

660103 MCLEAN, ROD
8906288117 PISCHKE, GUIDO
8103392385 KRISTIANSEN, LEIF
7000213466 KNAUS, ANDREAS RUDOLF
7000217826 GUNTENDORFER, ROLAND
8702186481 EIDEM, WENCHE

657152 WILSON, MARSHAL

US

8906288846 KARSTENS, GERMAINE / RICHTER, PETER DE

8202852162 TEXMISS OY

8003590786 VAN DER GIESSEN MANAGEMENT PARTNI

659279 HAYSBERT, ADAM
657130 MANUEL, BOBBIE F
8003630390 ZUIDMA, EDDIE
8103391637 FRANDSEN, HENRIK
661152 KERWIN, LAQUETTA
8906259223 FISCHER, SABINE
8906228919 JACOBS, DIRK
7800045986 ROMANO, CLOTILDE
7670670841 LAHJAR, YASSIN
8003625302 WIJNKER, JOHANNES B
8702131131 STIGEN, SIGMUND
8906294027 BECKER, ANJA SIMONE
659327 WILCOTS, TERRI L
8003613942 JOELLE, JOHNSON
8906212482 NEKOLA, FRANK
659755 FUHRMAN, JOHN J
656712 HOEMSTEAD SALES LLC
8202807017 GRANBACK, ANN-SOFIE
8202924675 TOIKKA JUTTA
657849 PENA, GAILC
8906183446 FUHR, KATHRIN
659224 AVERY, TRACY A
8103393511 FROST, MADS
8906252625 SCHULZ, ASTRID
660058 JANKS, JAMES G
8906241080 GRUTERICH, PERCY
8906236426 FRIEDRICH, MARTINA
8003587894 SALON SANTHE
8203015677 EUROLL OY
1982703 JONES, MATTHEW
656150 KAFER, JASON
658626 GILES, KAREN J
8702111432 KROKSTAD, HAVARD
8906265507 KRAMER, HEINZ
660091 COOK, CATHY
8906255690 RICHTER, WOLFGANG
8702135073 BREVIK, KJELL RICHARD
7000218237 RIES, MONIKA
661512 STULZ, ROBERT CORY
8103365195 HOLM LEO
8702146439 STENSLAND STRAND, SIRI
7000218169 PLAM, TAMARA
8882714335 CLEWES, KEITH W.
650854 FLINT, BOYCE B & SYDNEY S
650862 MARTIN, RENATE L
8702150025 FORSETH, ELLEN
8702140597 SANDSDALEN, ASTRID
8103376243 NIELSEN, PER
8202861222 TMI KATI PERASTO
8702107740 BJELKE, ELIN, NILSEN
7000210625 KRAPFENBAUER, ANDREAS
8103348498 ISAJAN, LYDUMILA
8404643651 MARKLUND, TIMO

FI
NL

jgooooososoesoscoCCoo CFO oO SCO O ODOC OOO OO OOOO eC oO OO BC ODO OOD OCOD OOO OOOO OOO OOOO BOO COCO OOOO OOO OOO COO O OC OOOO COOSD

jocoooseseoceeecsc9eosoSeeCCPNONO OOOO OC OOOO OOO eOC OOO OOD OOOO BO OOD OOO OOOO OOOO OOO COC OOOO COC OOOO ODOC OOO OOOO OOO0”D

eoscaeeooo99o9eeosc oso sFeCCOCoCOO OC OOO ODO OOO OOOO OOOO OO eO OOO BOO OOOO OOC ODO OOOO OOO OOOO OO OOOO OOO OC OOO OOOO oGCSD

eeosec0c0eccocCoCoCoCFCoO OCC OC OD ODO OSD oO OOO OOO OOOO OOO ODO OOOO OOOO OOOO OOOO COO OOOO OCC OOD DODO OOOO OOOO OOO OOCOOOOD

eoocogc9c oC oSoSCCDOCCCoOO COCO oOoCOoC OOOO oC OO BC OO OF OO CoCC OOOO OOO OC OOOO OOOO OC OOOO COC OOOO OOOO COC OOO OOOO OO00

geoo00ecec0c0eocN9CC OCC eCNDBOC OOOO OC oOo oD OOOO OO OO eC OOO OOO OODGD OOOO OOO OOOO DOC COO OO OKC OOOO OOO OOOO OOOO OCC OOO CoCOO

eeoooeec0e0eoecooCNCoDOCoOOoGOOOoD OOOO oOoOoOBD OOO OOOO OOO OC Oo OOOO G Oo OeO OOOO OOO OCOD O OOOO OOO OOOO OC OOOO OOO OOOO oOGCOS

eooeoeoc0eoc09CCOoOCoCKDCoOOSC OOOO OCODOoOO oO oOD OOOO OoO Oo OOO OD OOOO BG OO OOO OOOO ODOC OOOO COC OOO C OOO OOOO OOOO OGCOoO COO OC OOD

eoocecc9occ Fo oC CDCOoCoOCOoOOOCOOoOBDOOoC OOOO OOO OOD OCOD OD OO OOO OOOO OOO OOOO OOOO GOO O OOO KB OOO DOOD OOO COC OOOOOOOD

Mooo00000000000

42.8:

eeceaoce ccc DCO oO OCOD OOOO BODO DO OOOO DO OOO DOOD ODOC OCC O ODO OC OOOO OO COORD CD COO C OOOO COOOOO

esne9eeoo0o CC OC OOoOoOOOoOoOeBe OOOO oOeO OOOO DO Oo OOOO OCOD ODO OOOO OOOO OOOO DOC OOO OOO COC OOOO OOOO OOO OOO C OOO OOO OG OODO

MOGD0000000000

2.

@

1

S
SSSTFTFTDDSFDFDOODDFCOCOSODSFDOODODO DOGO oOoOBO oO OBOOoOoeooOO OD OD OOO OOOO ODOC OC OO COO OOOO OD OOOO OCOD OO Oo cS

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 13 of 24

Case 1

A 8 Lc D I E I E I S I H I | | J I K I L I M I N I o
26697| 627125 TANNER, KYLE P Us 0 0 0 0 0 0 0 0 0 0 0 0
[26698] 626407 SIMPSON, ALTHEA M us 0 0 O 0 o 0 0 0 0 0 0 q
[26699] 8702150871 LYNGSTAD, ANNE GRETHE GROENLI NO 0 oO 0 0 0 ° 0 0 0 0 0 O|
26700 628115 KIM, KYUNG J us 0 o 0 0 oO 0 0 0 0 0 0 Q
[26701] 8702145552 FJELLDAL, TONE NO 0 0 0 0 0 0 0 0 0 0 0 oO
[26702] 8404355258 BRANDT, PIERRE SE 0 0 0 0 0 0 0 0 0 0 0 0
[26703] 8103350320 LAURIDSEN, GUNNER DK 0 0 0 0 0 0 0 0 0 0 17.22 17.22
[26704] 8882758115 HARDIMAN, SIMON M GB 0 0 0 0 0 0 0 0 0 0 0 0
8906214256 RODIG, FALK DE 0 oO 0 0 0 0 0 0 0 0 0 0
26706] 629699 HOWELL, DEBRA K US 0 0 0 a 0 Q 0 0 0 0 o 0}
[26707] 8906196980 STASS, THOMAS DE oO 0 0 0 0 0 0 0 0 0 0 0
[26708] 626765 TWITCHELL, JAMES E us 0 0 0 0 0 0 0 0 0 0 0 0
[26709] 625654 AGEE, ALEIAR us 0 0 0 0 0 0 0 0 0 0 0 0
26710] 8103362524 BLOMSTERV/ERKSTEDET HAWAII APS = DK 0 0 0 0 0 0 0 0 0 0 0 0
126711] 8906204507 KULAS, MONIKA DE 0 0 0 0 0 0 0 0 0 0 0 0
[26712 628677 FALCONER, ROBERT J us 0 0 0 0 0 0 0 0 0 0 0 0
26713] 8702129825 ARNTZEN, EIRIK FJOELSTAD NO 0 0 0 0 0 0 0 0 0 0 0 0
[26714] 629507 KAY, JANICE F us 0 0 0 0 0 0 0 0 0 0 0 Q
[26715] 629806 AMES, THOMAS D us 0 0 0 oO 0 0 0 0 0 0 0 Qo
26716 629811 CLINE, DWAYNE us 0 0 0 0 0 0 0 0 0 0 0 Q
[26717 625203 HAMPY, MICHAEL L us 0 0 0 0 0 0 0 0 0 0 0 0
(26716) 625269 DUPLESSIE, JASON T us 0 0 0 0 0 0 0 0 a 0 o 0
26719] 8882748487 NADARAJAH, SUPPIAH GB 0 0 Oo 0 0 0 0 0 0 0 0 0
627223 CLEMONS, LAMONT us 0 0 0 0 0 0 0 0 0 0 0 0
627225 LEWIS, ALAN us 0 0 0 0 0 0 0 0 0 0 0 O|
625028 MIKULA, PATRICK us 0 0 0 0 0 0 0 0 0 0 0 0
627233 BRADSHAW, WESLEY K us 0 0 0 0 0 0 0 0 0 0 0 oO
8702146176 SAUE, NILS EINAR NO 0 0 0 0 0 0 0 0 0 0 0 0
629526 JAMES, WAYNE M us 0 0 0 0 0 0 0 0 0 o 0 0
625277 NYE, TERRY L us 0 0 0 0 0 ° 0 0 0 0 0 ql
625283 SAINT STEVENS ENT. INC us oO 0 0 0 0 0 0 0 0 0 0 q
(26728) 624925 HANKS, STEPHANIE A us 0 0 0 0 0 0 0 0 0 0 0 0
26726] 8702095627 BECKEN, DAVID OSVALD No 0 0 0 0 0 0 0 0 0 0 0 a
[26730] 8882647050 VEALE, STEVEN J, BROWNE, NICK GB 0 0 0 0 0 0 0 0 0 0 0 0
[26731] 8702111715 JENSEN, ROLV EIRIK NO 0 0 0 0 0 0 0 0 0 0 0 0
[26732] 8702008219 SKATLAND, BERNT NO 0 0 0 0 0 0 0 0 0 0 0 oO
2 7800030102 BUONOCORE, ANNA MARIA IT 0 0 0 0 0 0 0 0 0 0 0 0
[26734] 627248 HOGAN, PENNY E us 0 0 0 0 0 0 Q 0 0 0 0 q|
26735) 627260 TRIPLETT, JOSEPHINE us 0 0 0 0 0 0 0 0 o o 0 0
[26736] 627232 NAYLOR, TAMMY us 0 0 0 0 0 0 0 0 0 0 0 0
[26737] 8906823949 SITTNER, MONIKA DE 0 0 0 0 0 0 0 0 0 65.71 0 85.71
26736] 7000212465 KRAINZ, HANNES AT 0 0 0 0 0 0 0 0 0 0 0 0
[26739] 627816 MCTAMMANY, MICHAEL J us 0 0 0 0 0 0 0 0 0 0 0 O}
[26740] 6906193516 HAMMERL, GERD DE 0 0 0 0 0 0 0 0 0 0 0 0
26741] 628805 LAVIN, LINN US 0 0 0 0 0 0 0 0 0 0 0 0
[26742| 628827 BROWN, CHERIE M US 0 0 0 0 0 0 0 0 0 o 0 0
[26743] 6906216619 PUERS, BERNHARD DE 0 0 0 0 0 0 0 0 0 0 0 0
26744) 629791 TUTTLE, KIM cA 0 0 0 0 0 0 0 0 0 0 0 0
[26745] 626143 CHUDEJ, BERTHA A us 0 0 0 0 0 0 0 0 Q 0 0 0
[26746] 8003619531 KLEIJNEN, MONIQUE NL 0 0 0 0 0 0 0 0 0 0 0 0
26747 627837 GOOD, WILFRED P CA 0 0 0 0 0 0 0 0 0 oO 0 O
[26748] 627838 INGRAM, QUINESTER us 0 0 Oo 0 0 0 0 0 0 0 0 O
[26749] 8103346772 GLUECKSTADT, EBBA DK 0 0 0 0 0 0 0 0 0 0 0 0
26750] 8103350833 BJORN, SANNE OK 0 0 0 0 0 0 0 0 0 0 0 0
[26751] 8103363252 JENSEN, CHRISTIAN G DK 0 0 0 0 0 0 0 0 0 0 0 0
[26752] 7800059745 SICARI, LUANA & LAMANNA, MARIA FRANC IT 0 0 0 0 0 0 0 Q 0 0 0 0
26753 625912 DARLING, EARL D us 0 0 0 0 0 0 0 0 0 0 0 Ql
[26754] 7670675166 CUKOVIC, ALEXANDRE FR 0 0 0 0 0 0 0 0 0 85.71 0 85.71
[26755] 8103355113 LINDHOLM, LISA DK 0 0 0 0 0 0 0 0 0 0 0 0}
26756| 8103340344 SINGLE ROCK CAFE DK 0 o 0 Q 0 0 0 0 0 0 0 0
[26757| 626148 WILCOX, WILLIAM M us 0 0 0 0 0 0 0 oO 0 0 0 0
[26758] 626527 MCKENZIE, RICK E us 0 0 a 0 0 0 0 0 0 0 0 0
26759 628854 CAREY, MICHAEL us 0 0 0 0 0 0 0 0 0 0 0 0
8103376524 JENSEN, LILLIAN DK 0 0 0 0 0 0 0 0 0 0 0 0
8170056985 APEL, LASSE DK 0 0 0 0 0 0 0 0 0 0 0 o
8103372220 SPAR 2 OK 0 0 0 0 0 0 0 0 0 0 0 0
8906226608 ELSINGER, MATTHIAS DE 0 0 0 0 0 0 0 ° 0 0 0 0
628849 WETHERBEE, CHRISTINA M us ° 0 0 0 0 0 0 0 0 0 0 O|
8702153594 MOLLERIN, FRED LOUIS. NO 0 0 0 0 0 0 0 0 0 0 0 0
650512 EDWARDS, JACQUELINE L us 0 0 0 0 0 0 0 0 0 0 0 0
659849 RIVERA, ARMIDA T us 0 0 0 0 0 0 0 0 0 0 0 0
659841 ASTOUR, ANDREW us 0 0 0 0 0 0 0 0 0 0 0 Ql
8103351489 ANDERSEN, TAO DK 0 0 0 0 0 0 0 0 0 0 0 O|
7000219071 SEMENDUEW, DANIEL AT 0 0 0 0 0 0 0 0 0 0 0 O|
8906258880 DELIKTAS, RAIME DE ° 0 0 0 0 0 0 0 0 0 Oo 0
26772 661376 BOONE, FELICIA us 0 0 0 0 0 0 0 0 0 0 0 0
[26773] 8870125687 GAULT, NAOMI M GB 0 0 0 0 0 0 0 0 0 0 0 o
[26774] 659872 DEEM, MARQUEE us 0 0 0 0 0 0 0 0 0 0 0 oO
26775) 659930 STULL, MATTHEW B us 0 o o 0 0 0 0 0 0 0 0 oO
[26776] 661686 CARPENTER, PAUL R us 0 0 0 0 0 0 0 0 0 0 0 Q
[26777| 7600846719 GHANNOUCHI, ADEL FR 0 0 0 0 0 0 0 0 0 171.42 0 171.42
[26778] 8702165307 KARLSEN, STIAN HOSPES NO 0 0 0 0 0 0 0 0 0 0 0 Q
26779| 8103383921 SOERENSEN, HANS JOERGEN DK 0 oO 0 0 0 0 0 0 0 0 0 0
[26780] 658471 MILLIMAN, BRENDA L us 0 0 0 0 oO 0 0 0 0 0 0 oO
[26781] 8103375800 HANSEN, TINA DK 0 a 0 0 0 0 0 0 0 0 0 0
[26782] 7000206255 STRASSER, CHRISTA AT 0 0 0 0 0 0 0 0 0 0 0 0
8404401132 EDLUND, OVE SE 0 0 0 0 0 0 0 0 0 0 0 0
[26764] 8882759642 MARTIN, LEONARD J GB 0 0 0 0 0 0 0 0 0 0 0 0
26785| 8404634076 ROYAL ENTERPRISES SE 0 0 0 0 0 0 0 0 0 0 0 0
[26786] 656691 SAMAROO, ROBERTA CA 0 0 0 0 0 0 0 0 0 0 0 Q|
[26787] 8702165262 STENSVOLD, OLE VIDAR NO 0 o 0 0 0 0 0 0 0 0 Q 0
6786] 8203025273 KARES, JUHA FI 0 0 0 0 0 0 0 0 0 0 oO 0
678 660009 HALLOCK, CLIFTON J us 0 0 0 ° 0 oO 0 oO 0 0 0 Q
660013 NEWTON, JOE us oO Oo 0 0 0 0 oO 0 oO oO 0 |

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 14 of 24

Case 1

Ny
Dy
1D
3
5

a
3
3
8

BEREER ES
BIBS S13 a1 813
Sea are 8318
algelslalgle

B

A
654458 REEVES, ROBIN
7800048741 NARDI, CARLA
8906203196 STEFFEN U CHRISTA ROTHAUPT GBR
7670674189 LAPOUGE, XAVIER A
653277 BENTZ, ELAINE M
653280 THOMAS, JENNIFER M
653632 RIZZO, GARY P
8906287940 LAUMANN, WLADIMIR
8906243314 ROSWITHA PAUL
8906181119 REISWICH, OLGA
8702103941 KLIPPER, LARS CATO.
8906258800 KIRCHBERG, FELIX
8702168142 KRISTIANSEN, RUNE
653679 WINTERS, PAUL
654061 JORGENSEN, GARY
654062 PITTMAN, CHARLES
8906261154 SCHROETER, MARKUS
8906264050 DIERS DR., TORSTEN
650503 WHEELER, JENNIFER
8906237167 HUGO, THORSTEN
01 BIRGITTA ZEED
653313 MALONEY, CHERYL
653319 MATTHEWS, LYNN A
653723 DABIS, ABRAHAM Y
8906258987 KLOKKERS, JOHANN
653606 MOKATE, PHIL
8003584726 DIDDEN - GOOSSENS VAN, LISBETH
627669 MCWHORTER, CHRISTINE
628367 SWOOPE, WALTER W.
8906151687 KANZLE] LANDGRAF
629316 ROBERTS, RODNEY
8103372218 PEDERSEN LONE MAI & KARSTEN
8906236113 RIEMER, WALTER
650410 SECOND TEMPLE BAPTIST CHURCH
651076 LOMAX, LORI A
8702146591 HAUGEN, OEYSTEIN
8906265923 CHAMPION, HANS-CLAUS U. BRIGITTE
654007 CRASSI, JANICE W
8003581974 WERRES, FRANS
653617 SMITH, IRVING D
1988132 BENTLEY, MICHAEL P
8103371207 ALLAN BUERREGAARDS K@RESKOLE
653970 FLOWERS, JOHNNIE
8103363741 BREUM, OESTERGAARD LARS
655122 TOMASZEWSKI, JOSHUA M
655870 STEIMHILPERT, VIRGINIA M
8103355114 PETERSEN, LEA VIKKELSOE
7800048834 RUZZO, MAURIZIO
8906230287 BREDOW, BETTINA
8103381341 HOLM, PIA OESTERGAARD.
651859 COLBERT, DANIEL J
8906201989 GIMMLER, FRANK
8003569471 CYRUS, CYNTHIA
626456 STODOR, DENISE D
8404502401 JP HAGMAN SVETS & BYGG HB
8003605772 FIDOM, JOHAN
8003605774 SANRUBENSY B.V.
8103377651 CHRISTENSEN, KJELD.
8702144097 HARSTAD, SYNNOVE
8702100627 WAERNES, FREDRIK GAAL
7000213799 RADA, THOMAS
629724 BRADLEY, TONY
625746 LEE, LINDA
625850 DAVIS, IKE
7000200863 SCHOSSLEITNER, CHRISTA
627432 FOSTER, ELISE A
626093 LOPEZ, MARINA.
8404621421 SKRIVBYRAA ELITE
626789 WEEKS, MICHAEL
628151 BRUNSON, MARILYN
8702048403 WALLIN, HILDE WIIG
628475 ROSS, ROBERT E
8906240404 PANNIER, RENE
8906178867 MAYCON BAECKEREITECHNIK GMBH
7300190712 DUQUE GARCIA, LUZ MARINA
625876 HOWELL, GARY
625014 DALE, LINDA K
625019 COLBY, BRANDON L
8906181717 MAJOR - TEL
8404574838 JOHANSSON, PETER
8882735494 MAAG, JUDITH F
625608 HILL, ONTAY
8103345190 MULLER, LONE
8906229959 SCHMUCKER, ARMIN
626383 HORN, THOMAS R
626697 DAVIS, LAWANDA R
627395 MATHEWS, ISAAC.
628079 BRANT, JAMES C
8702157322 NYLUND, EINAR
8404578942 LILJEBLAD, ANNIKA
8003591275 SIKKES ELLEN, COURTAR HILDO
629946 ANDRUS, RONALD D
628133 KARABATSOS, BELINDA
8906223527 HILDEBRAND, SUSANNE

eogeesesoc Coe ODOC COB SOO ODOC SOOO O OOO OOD OD OOOO OOOO oC COO OCB OOOO OC BCOOC COC OOOO OOOO COCO OO OOOO OO COO OOOO GCCS

eooegggg9 eg ScC99 DOD Se COO D SSBC OC OOD oO OC OOOO OBB OC OOO oOo OCOD OBC OG OGD OC COOOO OC OOOO DOO OOOO OC OC OOOO OC OOCD

eoeroocooosseeeoc9pfoC FF ooC OFC OS SCO OC OBO OOO OOOO eC Be OOOO Oo C OOOO ODO OOO ODO OGC OOOO OO OO OOO COC C OCC COCO OC COO OOOO CCOCG

eooesooggeegco ofp oS SG eo Neo OSC OSD OOO D OC OO B eo OOO OSD OOOO OOO OOOO OOOO ODO ODOC CD OO COC OOOO DOO OOOO COC COD OOCCOCCO

eooergeceocogcesspSe eo oC ODO Seo Seo OSG Oo OCOD OBC OOOO OC OOD OOOO OOOO OOO eC OOOO OCOD COC OOOO OOOO OOOO COCO oO OOOO KGOCCO

esesoreoec99ccC oo eo oO B Oe BON SOO SBG oe Coo OOO COO OOOO DOO OOOO CO Oo OoO OOO OOO OCODO ODOC COO O OOO COCO COC COO OOOO OC OKGCCOS

jooocosoeaonp9 ooo eB De O DOB OOO OB OC OC OOOO OOOO OBO OOO oCBD OOO OO ODO OOOO OD OOOO OO COC DOOD OOOO ODOC COD OOO OOO COCCO

eoeoocoocc9ee9c09FD OSC C ODF eO Se eOeoOC DBO COCO ODOC OC OOOO OD OOD ODD OOD OOOO OC OOO COC OC OC OCC OOO COC ODO OCC OOOO OCC OOCCO

eoggneoggoo oe ses eC eC COO OD Oe AOD OOO SOO eo OOO OOO OD OOOO oO OCC OOO OO OOOO OOOO COC OO OC OOD OOOO OOOO OCC OOO CoGCSG

Nv

o
moooeosceoc99C0SeoDNDFCOSoCOoSB OC oOo oOoOoFO OG oOSC OBO OOO oO oO D OOOO OO eC OBC OOD OOOO COO OOOO OOOO COROCCO

42.8!

eeoe0eee9eeoOGOoCoOoOoOCoO

poo ocooooeseseSeC Oooo ODO DODO OCB O COO OSC oOo OOOO O OOOO OOO COO OCOCBC OOO OCOD OOO OCC OOOO OCC ODO OC OCC OCC COCO OOCOOOGCD

a
N
o
NFO

SIEIPPSAPDASSADSDADSSOSCADDSCODFDODO GDS O DDO BOO OSGOOD ODO OOOO OOO CO OOOO OOOO OC CC OCC Ooo

a
Nn
@
a

Ss0005D0000000000000

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 15 of 24

MTNTNNT|
D/D| | a|H
Hlalapala
| co] co] co]
oi Jolal>

Case 1
Eee

[26584]

S|
a
‘23
N)

a
a
oa
o

8B
646223 WAGNER, CRYSTAL M

| I L I I I I I
CA 0 0 0 0 0 0 0 0 0 0 0 0
8003617690 VAN KUIK, J.D. NL 0 o 0 0 0 0 0 0 0 0 0 o
7000210385 METZ, JOSEF AT 0 0 0 0 0 0 0 0 0 0 0 Ol
8404604221 GRAN, CARL THOMAS SE 0 ° 0 0 0 0 0 0 0 0 0 0
648145 LENNOX, KERRIE cA 0 0 0 0 0 0 ° 0 0 0 0 oO
648154 STEPHENS, SHANE us 0 0 0 0 0 0 0 0 0 0 0 ol
8003576796 WATSON, EDWINA NL 0 0 0 0 0 0 0 0 0 0 0 O|
8906193709 KIMMIG, SIEGLINDE DE 0 0 0 0 0 0 0 oO 0 0 0 0
8103377161 DIRCKINCK-HOLMFELD, LISSEN DK 0 0 0 0 o 0 0 0 0 0 0 oO
8103384265 KROGSGAARD, HENRIK DK 0 0 0 0 0 0 0 0 0 0 16.59 16.59
7400642718 PLOZZA, ALDO CH 0 0 0 0 0 0 0 0 0 33.66 0 33.86
8702130870 TRANAAS, SVEIN ODDVAR NO 0 0 0 0 0 0 0 0 0 0 0 0
8906255217 ZIMMER, ALEXANDER DE a 0 0 0 0 0 0 0 o 0 o o
8404624102 BENGTSSON, KJELL SE 0 0 0 0 0 0 0 0 0 0 0 0
8103377990 ISOTEAM/ RAMSDAHL, DENNIS DK 0 0 0 0 0 0 0 0 0 0 0 0
8702097321 SUHR, BERNT OLAV NO 0 0 0 0 0 0 0 0 0 0 0 Q|
8906212406 OEZTAS, HASAN DE 0 0 0 0 0 0 0 0 0 0 0 oO
8702102010 FOSSE, ODD NO 0 0 0 0 0 0 0 0 0 0 0 O|
645277 WALTERS, AUSTIN us 0 0 0 0 0 0 o 0 0 0 0 oO
645259 RIVERA, CARLOS F us 0 0 0 0 0 0 0 0 0 0 0 0
645271 GONZALES, AISHA us 0 o 0 0 0 0 0 0 0 0 0 0
645181 SIMAS, BRIAN J us 0 ° 0 0 0 0 0 0 0 0 0 Q
8003593687 CAFE DE RUIF NL 0 0 0 0 0 0 0 0 0 0 0 O
8003591667 LIEFERS, MARK NL 0 0 0 0 0 0 0 0 0 0 0 0
647481 CS PONTE ENTERPISES INC us 0 0 0 0 0 0 0 0 0 0 0 O|
8882736149 CROSSLEY DAVIES, ELIZABETH J GB 0 0 0 0 0 0 0 0 0 0 0 oO
648097 SCOTT, TONYAL us 0 0 0 0 0 0 0 0 0 0 0 oO
8906186925 NIEMANN, INA DE 0 0 0 o 0 0 0 0 0 0 0 Q|
8702109668 GRANSLETTEN, MARTE NO 0 0 0 0 0 0 0 0 0 0 0 0
649066 SIMON, THELMA us 0 o 0 0 0 0 0 0 0 0 0 0
7800049417 MOSCETTI, CLAUDIA IT 0 0 0 0 0 0 0 0 0 0 0 q
649668 MCCONNELL, JOY M cA 0 0 0 0 0 0 0 0 0 0 0 O
1974779 SMETHURST, BECKY S us oO 0 0 0 0 0 0 0 0 0 0 0
645723 SHURTLIFF, JARED R us 0 0 ° 0 0 0 0 oO 0 0 0 Q|
646835 HOLDEN, MELISSA us ° 0 0 0 0 0 0 0 0 0 0 0
646838 BORN, DOUGLAS us 0 0 0 0 0 0 0 0 0 0 0 0
7800029930 RAINA, MARIA IT 0 0 0 0 o 0 0 0 0 0 0 O|
8906265087 LUDORF, PATRIC DE 0 0 0 0 0 0 0 0 0 0 0 0
626282 WICKS, CHARON A us 0 0 0 0 0 0 0 0 0 0 0 0
8103355175 HANSEN, INGE LISE DK 0 0 0 0 0 0 0 0 0 0 0 o
7670674036 HOFF, LUC FR 0 0 0 0 0 42.85 0 42.85 0 0 0 0
8702094082 NOEKLEGAARD, GRO ANITA NO 0 0 0 0 0 0 0 0 0 0 0 0
8702118201 VIKESTAD, JOHN NO 0 0 0 0 0 0 0 0 0 0 0 0
628316 INGRAM, CHRISTOPHER M Us 0 0 0 0 0 0 0 0 0 0 0 q
7800010997 LAGANA, DANIELE IT 0 0 0 oO 0 0 0 0 0 0 0 oO
8103352369 KW MANAGEFMENT DK 0 0 0 0 0 0 0 0 0 0 0 0
628967 WREDE, DARREN J us 0 0 0 0 0 0 0 0 0 0 0 O}
8906203399 REIFARTH - SCHADE, MARINA DE 0 0 0 0 0 0 0 0 0 0 0 0
7000189753 LEITNER, ANDREAS AT 0 oO 0 0 0 0 0 0 0 0 0 0
7000200862 HOFIANS, HANNES AT 0 0 0 0 0 o 0 0 0 0 0 O|
6906217056 HEMPFE, JUTTA DE 0 0 0 0 0 0 0 0 0 0 0 oO
625931 WYCOFF, MARY C us 0 0 0 0 0 0 0 0 0 0 0 0
8702143083 ENGJABERG, ODDVAR NO 0 0 0 0 0 0 0 0 0 0 0 q
8882747638 TAYLOR, SANDRA GB O 0 oO 0 0 0 0 0 0 0 0 oO
8906221086 KUTSCH, BEATE DE 0 0 0 0 0 0 0 0 0 0 0 0
8404521305 WASARA, JAN SE 0 0 0 o 0 0 O 0 0 0 0 0
8906201254 MUNCH, HEIDRUN DE 0 0 0 0 0 0 0 0 0 0 0 0
628995 BEERS, THEODORA us 0 0 0 0 0 0 0 0 o 0 0 0
8906203558 VON GLAHN, HEIKE DE 0 0 0 0 0 oO 0 oO 0 0 0 0
8906220324 MARINO, FRANCESCO DE 0 ° 0 0 0 0 0 0 0 0 0 oO
625949 NARICK, CAROL L us 0 0 0 0 0 0 0 0 0 0 o 0
8702102669 BLYSTAD, GRETHE NO 0 0 0 0 0 0 0 0 0 0 0 Q
626968 GATLIN JR, CHARLES us 0 0 0 0 0 0 0 0 0 0 0 O}
626974 PATTERSON, MARILYN us 0 0 0 0 0 0 0 0 0 0 0 O}
7670670814 MOUZDA, ALI FR 0 0 o 0 0 42.85 0 42.85 0 85.71 0 85.71
628303 CARUSO, JOAN W us ° 0 0 0 0 0 0 0 0 0 0 ol
8702133492 GILLEBO, JORID PS NO 0 0 0 0 0 0 0 0 0 0 0 0
8003600535 BRITO TAVARES, MARIA JOSEFA NL 0 0 0 0 0 0 0 0 0 0 0 0
628268 HOWE, FRANCES A us 0 0 0 0 0 0 0 0 0 ° 0 ql
8103344216 EL SWEISSI, MOHAMMED DK 0 0 0 0 0 0 0 0 0 0 0 0
8702157324 AARSTAD ANDERS, IDSTAD ODDBJOERN NO 0 0 0 0 0 0 0 0 0 0 0 0
7000201571 VUJCIC, JASMIN AT 0 0 0 0 0 0 0 0 0 0 0 0
625367 SHORT, TRAOUNCI us 0 0 0 0 0 0 0 0 0 o 0 0
7000198593 MAG IMBODEN, CHRISTIAN AT 0 0 0 0 0 0 0 0 0 0 o Ol
8906225347 HEIDER ELEKTROTECHNIK DE 0 0 o 0 0 0 0 0 0 0 0 0
8906233154 WELZ, URSULA DE 0 0 0 0 0 0 0 0 oO o 0 0
8003577455 SCHWEINSBERG, TOMMY NL 0 0 0 0 0 0 0 0 0 0 0 0
8103365598 FOGSGAARD, BETTINA DK 0 0 0 0 0 0 0 0 0 0 0 oO
6268294 WINKELVOSS, JAMES H us 0 0 0 0 0 0 0 0 0 0 0 oO
8702046474 STRAND, MARITA FLORES NO 0 0 0 0 0 0 0 0 0 0 0 O|
8906225700 HOPP, INGE DE 0 0 0 0 0 0 0 0 0 0 0 O|
8404544308 ENGSTROEM, LENNART SE 0 0 0 0 0 0 0 0 0 0 0 o)
628941 MURATORE, DANIEL us 0 0 0 0 0 0 0 0 0 0 0 O|
628948 PENA, LYDIA us 0 0 0 0 0 0 0 0 0 0 0 0
629257 GABBART, JANIS L us 0 0 o 0 0 0 0 0 0 0 0 Q
8702060782 JOHANSEN, ASTRID S. NO 0 0 0 0 0 0 0 0 0 0 0 0
8702120561 KJELL MATZOW NO 0 0 0 0 0 0 0 0 0 0 0 O
8404587407 ERIKSSON, PERNILLA SE 0 ° 0 0 0 0 0 0 0 0 0 0
8906233004 MANZKE, BENITO DE 0 0 0 0 0 0 0 0 0 0 Oo 0
8003586456 GOEDJAAR, HARRY NL 0 0 0 0 0 0 0 0 0 0 0 0
8003605781 MEIJER, YVONNE NL 0 0 0 0 0 0 0 0 0 0 0 oO
8003587875 JONGNET NL 0 0 0 0 0 0 0 0 0 0 0 0
6070042887 YAMA, ELIAS NL 0 0 0 0 0 28.57 42.85 71.42 0 0 0 0
654010 STELLEY, JANMARIE us 0 0 Oo 0 0 o 0 oO 0 0 0 0

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 16 of 24

Case 1

A__ | B I I I I I I 1 I J I K I l I J
684751 SHARPE, SADIER US 0 0 0 0 0 0 0 0 0 0 0 0
8906168500 LUEPKE, YVONNE DE 0 0 0 0 0 0 0 oO 0 0 0 oO
678194 FISHER, CHARLES us 0 oO 0 0 0 0 0 0 0 0 0 0
678204 FISHER, ETTAL us 0 0 0 0 oO 0 0 0 0 0 0 oO
678208 FISHER, NICOLE C us 0 0 o 0 0 0 0 0 0 0 oO O
679425 VANFLEET, LESLIE us 0 0 0 0 0 0 0 0 0 0 0 O
682822 CHISSOM, BRIAN us 0 0 ° 0 0 0 0 0 0 0 0 O
681619 XXXX_2009-11-26-01-05-25-0676 us 0 0 0 0 0 0 0 0 0 0 0 0
682317 RODRIGUEZ-VIRGEN, ALMA A us 0 0 0 0 0 0 0 0 0 0 0 0
683709 ALLEN, CALEB us 0 0 0 0 0 0 0 0 0 0 0 0
8906311010 MICHAEL, NICOLE DE 0 0 0 0 o 0 oO 0 0 oO 0 oO
8906250747 HERBICH, ANITA DE o 0 0 ° 0 oO 0 0 oO o 0 Q
8103389071 NIELSEN, GITTE DK 0 0 0 0 0 0 0 0 0 o 0 oO
8103379017 RASMUSSEN, TOM OK 0 0 0 oO 0 0 0 0 0 0 0 0
8003603858 ESHUIS, MIRANDA NL 0 ° 0 0 0 0 0 0 0 0 0 0
8906292644 BUEROSERVICE SCHEURER DE 0 0 0 0 0 0 0 0 0 0 0 0
7300073561 MORENO GIRALDO, VICTOR ES 0 0 0 0 0 42.85 0 42.85 0 0 0 0
2 8870123769 CARUANA SMITH, JOSEPH GB 0 0 0 0 0 0 0 0 0 0 32.33 32.33
[26433] 680750 SLAPPY, RAHEEN us 0 0 0 0 Oo 0 0 0 0 0 0 0
[26434] 681680 WILSON, JOHN L US 0 0 0 a 0 0 0 0 0 0 0 0}
[26435] 679396 NICHOLS, LUCY us 0 0 0 0 0 0 0 0 0 0 oO Q
[26436] 8906300275 HEIN, EDDA DE 0 0 0 0 0 oO 0 0 0 0 0 0
[26437] 8870122979 RURAKA, FUNGISAI R GB 0 0 0 0 0 0 0 0 0 0 0 oO
647381 RAYMOND, LURIANE us 0 0 0 0 oO 0 oO 0 0 0 0 0
8906264819 EISENHART ROTHE, HANS JOACHIM DE 0 0 0 0 0 0 0 0 0 0 0 oO
8103390332 RASMUSSEN, LAILA DK 0 0 0 0 0 0 0 0 0 0 0 0
649606 ZWINKELS, CATHARINA H CA 0 0 0 0 0 0 0 0 0 0 0 oO
7000202535 HERNDLER, FLORIAN AT 0 0 0 0 0 0 0 0 0 0 0 0
7000209703 BERAN, MICHAEL AT 0 0 0 0 0 0 0 0 0 0 0 0
8202816632 WINFILE OHJELMISTOT OY FI 0 0 0 0 0 0 0 0 0 0 0 O
7870105590 ZUCCA, ALFREDO IT 0 0 0 ° 0 0 0 0 0 42.85 0 42.85]
7000212216 HINTERBICHLER, MICHAEL AT ° 0 0 0 0 0 0 0 0 0 0 0
8103372604 KOELBAEK CONSULT DK 0 0 0 0 0 0 0 0 0 0 0 o
8906256284 APWEILER, ASTRID DE 0 0 0 0 0 0 0 0 0 0 0 0
8003614647 GROEN DE GROOT, CECILIA MARIA NL 0 0 0 0 0 0 0 0 o 0 0 0
8404553362 HELLSTROEM-ARVIDSON, CHARLOTTE SE 0 0 0 0 0 0 0 0 0 0 0 oO
8702134234 SANDHAALAND, JOHN OVE NO 0 0 0 oO 0 0 0 0 0 0 0 0
649937 THOMPSON, GREG S us 0 0 0 0 0 0 0 o 0 0 0 Q|
8103374743 OKL-BILER DK 0 0 0 0 0 0 O 0 ° 0 0 0
8103376892 JGP. TELE DK 0 0 0 0 0 0 0 oO 0 oO 0 oO
647402 FOWLER, BRIANA US 0 0 0 0 0 0 0 0 0 0 0 oO
8103361377 LUDOX MARKETING DK 0 0 0 0 0 0 0 o 0 0 0 0
647417 REESE, JAMES us 0 0 0 0 0 0 0 0 0 oO 0 oO
7670668031 LAMGANDAZE, MOURAD FR 0 0 0 0 0 0 0 0 0 0 0 0
8404532829 NOVAKOVIC, DUSAN SE 0 0 0 0 0 0 o 0 0 0 0 0
649002 OJEDA, MARLENE E us 0 0 0 0 0 0 0 0 0 0 0 Q
7800021682 SCAGNETTI, GIULIANO IT 0 0 0 0 0 0 36.51 36.51 0 0 0 0
679010 WOJTOWICZ, BRIAN A us 0 0 0 0 0 0 0 0 0 0 0 o
8906175960 SPEEDYTEL DE 0 0 0 0 0 0 0 0 0 0 0 oO
8404636875 BARRULF, FREDRIK SE 0 0 0 0 0 0 0 0 0 o 0 0
8906229600 MELL, REINHARD DE 0 0 0 0 0 0 0 0 0 0 0 oO
7800049436 DAMATO, FILOMENA IT 0 0 0 0 0 0 Oo 0 0 o 0 0
8906229832 WARKENTIN, GERHARD DE 0 0 0 0 0 0 0 0 0 0 oO 9
9870123548 SUDHASKARAN, VEMBU GB 0 0 0 0 0 0 0 o 0 0 0 0
647047 TOTH, DONALD J us 0 oO 0 0 0 0 0 0 0 0 0 oO
7000202725 SCHWARZ, HELMUT AT 0 0 0 0 0 0 0 0 0 0 o 0
8103395242 H H SERVICE DK 0 0 0 0 0 0 O 0 0 0 0 oO
7800022839 CARICCHIA, RAFFAELE IT 0 0 0 0 0 0 0 0 0 0 0 oO
649274 STEWART, ADAM us 0 0 0 oO 0 0 0 0 0 0 0 0
8702146438 VIDDAL, NANNA HAUANE NO 0 0 0 0 0 0 0 0 0 0 0 0
8404641586 HOLMBERG, KENNETH SE 0 0 0 0 0 0 0 0 0 0 0 oO
8702143455 JOHN RUSTAD NO 0 0 o 0 0 0 0 0 0 0 0 0
646170 METCALFE, JAMES us 0 0 0 0 0 0 0 0 0 0 0 0
645455 DECKER, MARLENE L us 0 0 0 0 0 0 0 oO ° 0 0 0
8906042390 SCHMID, FRIEDRICH DE 0 0 0 0 0 0 0 0 0 0 0 0
8003617927 KNUPPEL, HENRI NL 0 0 0 0 0 0 0 0 0 0 0 0
647694 SCHMIDT, JANE L us 0 0 0 0 0 0 0 0 0 0 0 Q
8702114806 EINARSEN, REIDUN NO 0 0 0 0 0 0 0 o 0 0 0 0
7800007001 CIPRESSI, PAOLO IT 0 0 0 0 0 0 0 0 0 0 0 0
8003598483 LIM ING, LIM NL 0 oO 0 0 0 0 0 0 0 0 0 oO
8906250979 PLANTIKOW, GABY DE 0 0 0 0 0 0 0 0 0 0 0 0
8702068189 FURU, RIGMORE ELISE NO 0 0 0 0 0 0 0 0 0 0 0 oO
8702079643 OLSEN, HAAKON NO 0 0 0 0 0 0 0 0 0 0 0 oO
649575 HUGHES, CLIFFORD W US 0 0 0 0 0 0 0 0 0 0 0 oO
7670666662 BERTHE, SEBASTIEN FR 0 0 0 0 0 0 0 0 0 0 0 0
8170056393 MIKKELSEN, MARTIN H DK 0 0 0 0 0 0 0 0 0 0 0 0
649900 MCDONALD, RYAN us 0 0 0 o 0 oO 0 0 ° 0 0 Q
8906242697 STILLER, HARTMUT DE 0 0 0 0 0 0 0 0 0 0 0 oO
649067 KASHUBA, HOWARD S CA 0 0 0 0 0 0 0 0 0 0 0 0
649074 BURKE, WEDNESDAY S us 0 0 0 0 0 0 0 0 0 0 0 0
7000206263 SPITZBART, GERALD AT 0 0 0 0 0 0 0 0 0 0 0 oO
8103382882 RASMUSSEN, JAN STEN DK 0 0 0 0 0 0 15.4 15.4 0 0 0 oO
8702112193 FOCUS NO 0 0 0 0 0 0 0 0 ° 0 0 oO
8003576956 BURGER, INEKE NL 0 0 0 0 0 0 0 0 0 0 0 QO
1974416 DUMAS, DIONNE M us 0 0 0 0 0 0 0 0 0 100 0 100}
646527 HARRIS, SHERONN V us 0 0 0 0 0 0 0 0 0 0 0 oO
646859 BROWN, RODNEY us 0 0 0 0 0 0 0 0 0 0 0 0
8906232126 GREIF, BIRGIT DE 0 0 0 0 0 0 0 0 0 0 0 Q
647493 COTTON, PEGGY S us 0 0 0 0 0 oO 0 0 0 oO 0 Q
8702121435 VEDOEY, JOHANNES NO 0 0 0 0 0 0 oO 0 0 0 0 0
7000208656 ULLMANN, GEBHARD AT 0 0 0 0 0 o 0 0 0 0 0 0
8003603081 EXPRESS YOURSELF NL 0 0 0 0 0 0 0 0 0 0 0 0
8103385131 MADSEN, SUSANNE DK 0 0 0 0 0 ° 0 0 0 0 0 oO
8906236506 CLAPP, WILLIAM DE 0 oO 0 0 0 0 0 0 0 0 0 0

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 17 of 24

Case 1

I B

A
8003594064 HAGEDOREN, PETER
643615 CROWNINSHIELD, CHAD
8404525511 BORG, INGER
8906184374 MULLER, PETER
8906216975 MEISBORN, KLAUS
644523 WASHINGTON, FAI T
641686 HENNEMAN, ROGER
678457 TORGERSON, RODNEY T
7670667789 NIMON, SOLIM
680117 HILLMAN, MICHAEL
8906300024 MAY, SIEGLINDE
8003622291 RIDDERBEEKX, JOHN & JUDITH
8103365237 TESFAY, EYOB
685141 NELSON, ROSALINDA M
679061 ROBERTS, DARIN
679063 THOMAS, JENIFER A
680143 JONES, LAFAYE M
662730 PHILLIPS, MARK D
8906267100 WIESNER, BARBARA
7000210185 FOESLEITNER, SYLVIE
684706 GLODT, CHRSTINE M
679047 MAGEE, JOESEPH B
678460 PALAFOX, RUBEN J
8702139941 KONSULENT KRISTIN H@ILI
680630 EVANS, MICHAEL
680639 YONKOSKI, STEPHEN A
8906235254 MILOS, LASZLO
681400 FERRETTI, ANTHONY
8906272523 REIM, FRANK
8906258953 GOERGENS, HELGA
7000207606 GRAFINGER, CHRISTINE
8906229060 SCHMITT, RAINER
678485 BONDY, BRIAN L
683634 FARMER, VERN W
679017 ANDERSON, JAN
8003585420 HAKKENBROEK, ILONA
680066 MARRA, BIAGIO B
680070 KEITH, LUCY
8882747434 CLIFFORD SMITH, JON L
8906219505 ARNOLD, ALFRED
8906278300 STEIN, HANS-JURGEN
684499 DUNPHY, MARY P
684489 MACDONALD, CARLTON
684500 SHEFFER, TERRY W
1972160 SMITH, CRYSTAL N
684531 SHERMAN, LEE
8103392375 VALLESPIR, ANNA SAND
7800046444 CATAPANO, GRAZIA
680213 SZMOLKE, DANIEL
679306 CHAMBERS, AARRON R
679326 JORDAN, URSULA
680076 MASSEY, YVONNE A
8906266850 ARI-TEL, .
8906300025 PETRA & ULLI STIFTER
68906211006 ANDERS MONIKA
8103389183 GRAULUND, RASMUS
8003572500 KRAAYEVELD, RINUS
7800048088 GARCIA, ADRIAN MARCELO
8003614663 BOON, SYLVIA
678120 VANWYNEN, WILLIAM
8906288525 GROMOWSKI, KARL
681725 JOHNSON, DAMEON J
8404622751 KRONBLOMSHUSET SNICKERI
8906234026 WEIDELENER, CORNELIA
7600825715 BOMPARD, LESLIE
8906205405 BARTONEK, ALEXANDER
679862 ADAMSON, SAM D
8103237420 STEFFENSEN, ULLA
680819 JOLLIFF, MARSHA A
680833 SIMONS, EDWIN L
682860 MONCINELLI, KAREN M
682882 BARON, SHANNON B
8906281977 GOLDSCHMID, WERNER
679106 POWELL, RICHARD W
8103362711 LOUS JORGENSEN, ANNE
681689 BAER, ADAM M
7470073070 DA SILVA SOUSA, FABRICE
8103398973 SOERENSEN, LEO
678024 ENGLAND, DAVID H
8003556381 KORVING, M
679898 ORBELL, LEIGH A
682377 HENDERSON, CORNELIUS
7800329117 MANGINO, EROS
8906283595 WOTSCHEL, OXANA
8103373873 PETERSEN, TEDDY CHR
680957 GONZALES, DAVID J
682409 SVENSSON, ERIK D
677999 AUNGST JR, RANDALL L
682304 ANDERSON, DAVID
678078 FIFER, SEAN P
681559 WORK, STACI
8906269321 DREMEL, GERD
682776 WINCHELL, STACY
8103364034 RS-SERVICE

N]R]O
D/O]
Q/Q]@
BlA|R
Ni=]5)

ra
a
o
s
a

NININTINTS nO]
DID!) aH) a |
@]@}o]a}e eo
Hina als aS
=lo}6lolsJo x

Ra]
|
a3 | co
|
ols.

N]O]ND
| ch] o>
es] e3] 03
'G2| Co] co
Dorp a

ND
D
ca
io
>

nin
DID
28
ais

CoO C DO OOOO COO oO OOOO OOOO OOD OOO OOOO OC OOD oO OOOO OOOO oOOOOOOD OOOO OOOO oO oO O OCOD OOOO OBB OC COO oOo Oe OMG Oooo OO} |)

CoO DOC DOO OOO OOOO COCO OOOO O OOO OOCOO OOD OOo OOOO OOOO OCOD O OOOO O OOO OB OOO BC OOOO oO OO OOO C eB O BOO Oooo KO OOO Oooo Oo} |

COSCDD ODO OO OO SoC OOOO eo OO OOOO OOOO OOOO DOO OOOO O OOOO OOOO OoOoOOCOO OOOO OOOOoO oO OOOO OOO BOSOO OOOO OO oC OO SCO OO Ooo OOOO} |

Coco oO Ooo OOOO OO OOOO ODO OOOO O DOOD OOOO OOOOOOOoD oOo OOOO OC OOOO OOOO ODO BD OO OC O BOOB OOC OCC COO KBO BOS OOBOOOOC Oooo} |

lOocecoO OOOO OOOO ODO ODDO OC OO OOOO DOO oO OO OD OB OOO OOOO OoO OOOO OoO OC OOD OO OOOO oD OCOD OCOD Oo eo OOOCoOo OB So BOO oDOCoB oC OC Ol)

CODO0DR27ODODOCOCOOC OCC ODO Oe oO OOOO OOCoOO OO OOo oOGoOOoOoOCoSe

1

3

SeoDD DODO O OBC OD OO ODO oO OOOO O OOOO OOOO OOOO OOOeooOOBOoOoOeCCoOoOSs

loecooDDC OO OOD COO O OC O OOO OOOO OOO DOD OOOO Ooo OO OOOO OOO OOOO O OOOO OOOO O COO oO OOO OOO BOOB BOAO OOO eCOCKC Oooo Oooo} |)

eeDD DO OO C OO OOO OO OOD OD OOO OOOO O OO BOOoOoOoOoOoOOCoOCSD

1

3S

lon ecOCOOD OOO OOOO OOO OOO OOO OOOO OOO OOOO O OOO OOD oOOoOoOAOCoOoOs

SPeooKDoOD ODO OCC ODO OOO OOOO OOOO OD OOOO OOO ODO ODDO OOOO OD OOO BDO OOD OOOO O OOD COSC COBO BO OOOO OOOO OOF Oooo SGO ooo OO} |

eeepeoCeC oOo OO OOOO OOO DOO OOO eC DO OOOO OoO OOOO OOoC oOo oOOoOOeCOOOoOOAaeO oOo OD

42.8!

eeoDDeC oOo DOOD OODOoOoOBDOSCOOSCOoO BOSCO MOoOOOSG

eoeonDD ooo OOO OOD OOD OOOO OOO OCOD OOO OOO DOOD OOOO D OOOO OOOO OOD OD OOOO BGO OO BO OOD OCOD oO OOD OCC OO OSC OBO BOO OOO OO |

SoODePeFDo DCO OD OO OOOO COO OOO OOOO OOOO DO OOOO DOO oOoOOoOBeOOoOoOoOoOoO oOo ooo oDOooODOOeD

a
N
@
a

lIococeoDDDDD OOOO OO OOOO O OOOO SCOSCOSD

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 18 of 24

Case 1

A B
7670669695 RODRIGUES, CHRISTOPHE

MINOT]
HID! A/a
K3]R3] Ro |r!
|| a>} co}
= |Sleo}o!

Ny

INFN TN
BIBS
alg
glals

Inopr NIN] nN Nn
D>} Oy DIO a QD
ereyersyeiaye 3
alsialalalals 3

FR 0 0 0 0 0 0 0 0 0 0 0 Ol

8202857114 ANRA OY FI 0 o 0 0 0 0 0 0 0 0 0 Q|
8003603379 MUSIKA TREMENDA NL 0 0 0 0 0 0 0 0 0 0 0 0
644481 SANTIAGO-RODRIGUEZ, LEZETTE A us 0 0 0 0 0 0 0 0 0 oO 0 0
644458 PRUE, JAMES us 0 0 0 0 0 0 0 0 0 0 0 Q|
8906187062 GOETZE, HARTMUT DE 0 oO 0 0 0 0 0 0 0 0 0 0
644452 LAE, WILLIAM US 0 0 0 0 0 0 o 0 0 0 0 0}
640904 BELTRAN, THOMAS E us 0 0 0 0 0 0 0 0 0 0 0 0
640906 SKEEN, JANELLE F us 0 0 0 0 0 0 0 o 0 0 0 O}
641939 RAYMOND, EDDY P US Oo o 0 0 0 0 0 0 0 0 0 0
641944 LACY, DIANA us 0 0 0 0 0 0 0 0 0 0 0 Q|
642264 STEVENSON, JASON us 0 0 0 0 0 0 oO 0 0 0 0 o
8906181991 JOENS, WERNER DE 0 Oo 0 0 0 0 0 0 0 0 0 0}
640935 RHINEHEART, TONY J us 0 0 0 0 O 0 0 0 0 0 0 0
640943 PORTER, LISAM us oO 0 0 0 0 oO 0 0 0 0 0 oO
8404627662 ARWIDSON, JOHN SE 0 0 0 0 0 0 0 0 0 0 0 0
643229 DUCKWORTH, CLARENCE E us 0 0 0 0 0 0 0 0 0 0 0 O|
643237 MEERS, CAMERON us ° 0 0 0 0 0 0 0 0 0 0 0
644809 REYNOLDS, LINDA us 0 0 0 0 0 0 oO 0 0 0 0 0
661229 BETZ, DEBORAH A us 0 0 0 0 0 0 0 0 0 0 0 0
7000200866 DROZDOWSKYJ, PETER AT 0 0 0 0 0 0 O 0 0 0 0 0
656499 KAMPNICH, KATRINA L us 0 0 0 ° o 0 0 0 0 0 0 O}
8906258749 ARREDONDO, PETRA DE 0 0 0 o 0 0 0 0 0 0 0 o|
8003586966 WONGSOPAWIRO, RAMIN NL 0 0 0 0 0 0 0 0 0 0 oO 0
659033 LINDSTROM, KEVIN L us 0 0 0 0 0 oO 0 0 0 0 0 q
8906256745 LABUDA, JENS DE 0 0 0 0 0 0 0 0 0 0 0 O|
661788 DIVERSFIED SERVICES UNLIMITED Us 0 0 0 0 0 0 0 0 0 0 0 o|
8906227017 SCHWINDT, THOMAS DE 0 0 0 0 0 0 0 0 0 0 0 0
8906235501 SCHOENENBERG, SABINE DE 0 0 0 0 0 0 0 0 0 0 0 0
8906260994 ERMISCHER, MICHAEL DE 0 0 0 0 0 0 0 0 0 0 0 0
659375 GUERECA, ROSA us 0 0 0 0 0 0 0 0 0 0 0 ql
8906224281 KAISER, HAGEN DE 0 0 0 0 0 oO 0 0 0 ° 0 0
7000207391 ZAUNER, MARIO U. ANITA AT 0 0 oO 0 0 0 0 0 0 0 0 |
8404607923 SODERLING, THERESE SE 0 0 0 0 0 0 0 0 0 0 0 0
661234 PHILLIPS-HANNAH, HELEN A us 0 0 0 0 0 0 0 0 0 ° 0 oO
657232 CROWTHER, JEREMY D us 0 0 0 0 0 0 0 0 0 0 0 |
658358 MANIRE, CYNTHIAL us 0 0 0 0 0 0 0 0 0 0 oO O
8103388291 NIELSEN, THOMAS DK 0 0 0 0 0 0 0 0 0 0 0 O
7000199826 GIELESBERGER, KLAUS AT 0 0 0 o 0 0 0 0 0 0 0 0
640874 RESKA, LISA us 0 0 0 0 0 0 0 0 0 0 0 ql
641246 SPENCER, DAVID us 0 0 0 0 0 0 0 0 0 0 0 0
641250 FIERO, CAROLYN us 0 0 0 0 0 0 0 0 0 0 0 Q|
641578 KINNEY, CHANDRA L us 0 0 0 oO 0 0 0 0 0 0 0 |
642554 CARSON, VONDA V us ° 0 0 0 0 0 0 0 0 0 0 0
8003593615 VIJZELMAN, DAVE NL 0 0 0 0 0 0 0 0 0 0 0 O|
8103384001 MICHAELSEN, LAURITS DK 0 0 0 0 0 0 0 0 0 0 0 oO
642728 CAUSER, JEFFERY us 0 0 0 0 0 oO 0 0 0 0 o o|
643309 HUGHES, JENNIFER us 0 0 0 0 0 0 0 0 0 0 0 O}
8404642712 HORNMAN, SOFIE SE 0 0 0 0 0 0 0 0 0 0 0 0
7800042641 IACONO, GIUSEPPE IT 0 0 0 0 0 0 0 0 0 Oo 0 oO
8906177691 FISCHER, BRIGITTE DE 0 oO 0 0 0 0 0 0 0 0 0 0
8906185688 GIER, HELMUT DE 0 0 0 oO 0 0 0 0 0 0 0 0
7000213944 KNOLL, FLORIAN AT 0 0 0 0 0 0 19.68 19.68 0 0 0 oO
1980659 CHILDERS, DAVID J us 0 0 0 0 0 100 0 100 oO 0 0 O|
8404596185 NORDVIST, AAKE SE 0 0 0 0 ° 0 0 0 0 0 0 O|
643961 BOLANOS, HOWARD us 0 0 0 0 0 0 0 0 0 0 0 Q
(26283) 644914 STEPHENS, MARY E us 0 0 0 0 0 0 0 0 0 0 0 o
26284) 640706 BAKHTAVAR, MAHVASH M US oO 0 0 0 0 o Oo 0 0 0 0 oO
[26285] 8202810516 SPK VISIO FI 0 0 0 0 o 0 Oo 0 0 0 0 o|
[26286] 642726 FLYNN, GREGORY US 0 0 0 0 0 oO 0 0 0 0 0 0
26287) 8103349383 NIELSEN, BENTHE DK 0 0 0 0 0 0 0 0 0 0 0 o
642730 HEFFRON, ALEEN us 0 0 0 0 0 0 0 0 0 0 0 0}
8702119868 AARBY, ANDREAS NO 0 0 0 0 0 0 0 0 oO 0 0 0
8702135772 BORDE VIK, TROND HELGE NO 0 0 0 0 0 oO 0 0 0 0 0 oO
8702119201 ENGE, GRO NO 0 0 0 0 0 0 0 0 0 0 Oo oO
640721 NAZAK, NANCY us 0 0 0 0 0 0 Oo 0 0 0 0 oO
8906220865 LINGNAU, JURGEN DE 0 0 0 0 o 0 0 0 0 0 0 |
8003620151 RAEMAKERS, HUUB NL 0 0 0 0 0 oO 0 0 0 0 oO 0
8404642714 ARNEHALL, DAN O ANNA LENA SE 0 0 0 0 0 0 0 0 oO Oo 0 |
642745 SHARMAN, ELIZABETH us 0 0 0 0 0 0 0 0 0 0 0 oO
8702140753 AASBERG, DANIEL NO 0 0 0 0 0 0 0 0 0 0 0 |
8702144306 HOLDER, RUNE NO 0 0 0 0 o 0 0 0 0 0 0 oO
640714 WELLS, MICHAEL Us 0 0 0 0 0 0 0 0 0 0 0 0
643576 ROSS, MARGARET M us 0 0 0 0 0 0 0 0 0 0 0 0
649240 HARPER, LARRY E US 0 0 0 0 0 0 0 0 0 0 0 0
640950 JOHNS, MARK L. US 0 0 0 0 0 0 0 0 0 0 0 oO
7470074958 LARDI, MICHELE CH 0 0 0 0 0 0 0 0 0 0 oO oO
643559 RYAN, KARLA us 0 0 0 0 0 0 0 0 0 0 0 oO
7800010876 LAVORANTE, FABIO IT 0 0 0 0 0 0 0 0 0 0 0 Ql
7370163916 MORENO ESCAMILLA, FCO MANUEL ES 0 0 0 0 0 0 0 0 0 0 oO 0
6307| 7800000021 CONTI, ALESSANDRO IT 0 0 0 oO 0 0 0 O 0 0 0 0
644849 PEMBERTON, BRENT us 0 0 0 0 0 0 0 0 0 0 0 0
644868 COPPAGE, PHINIEHAS A us Oo oO 0 0 0 ° 0 0 0 0 0 0
7870105336 MANDRILE, FRANCESCO IT 0 0 0 0 0 42.85 0 42.85 0 0 0 O|
641672 GOLTRY-REED, ANNA E us 0 0 0 oO 0 ° Oo 0 0 0 o |
642037 O BRIEN, PATRICE us 0 0 0 0 0 0 o 0 0 0 0 oO
642006 SISROE, MORRIS A us 0 0 0 0 0 0 0 0 0 0 0 oO
8103381492 DAUGAARD, TRINE DK 0 0 0 0 ° 0 0 0 0 0 0 |
8882737151 BG 33 cB 0 oO oO 0 0 0 0 0 0 0 ° 0
7000211433 PLATZKY, THOMAS AT 0 0 0 0 0 0 0 0 0 0 0 |
8003595510 BOUAZZAOUI, SAIDA NL 0 0 ° 0 0 0 0 0 0 0 0 O
1978294 PLATOW, KRIS us 0 0 0 0 0 0 0 0 0 0 0 o

1 641706 MATTHEWS, DENISE us 0 oO 0 0 0 0 0 0 0 0 0 0
8404633762 ISOSALO, MIKA SE oO 0 0 0 oO 0 0 Oo 0 oO o 0

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 19 of 24

Case 1

LT a_i B [Lc | D

I I ] | I I I |

7000209568 KUKIC, NEVENKA AT 0 0 0 0 0 0 0 0
7000207432 MATZNER, HEIDEMARIE AT 0 0 0 0 0 0 0 0

647537 OSBORN, ANITA A us 0 0 0 0 0 0 0 0

642834 PAPANICOLAON, JALENE K us 0 0 0 0 0 0 0 0

640768 HAUMESSER, W SCOTT us 0 0 0 0 0 0 0 0

8702093405 LINDGREN, METTE BARBROFOSSAAS NO 0 0 0 0 oO 0 0 0

640443 MORGAN, CHARLES E us 0 0 0 0 0 0 0 0

640746 JOHNSON-SCHMIDT, ELISE us 0 0 0 o oO 0 0 0

8906220872 ANLIKER, ADELBERT DE 0 0 0 0 0 0 0 0
6003611924 ELZINGA, PETER D. NL 0 o 0 0 0 0 0 0

642757 DODGE, JULIE us 0 0 0 0 0 0 0 0

642772 MARTIN, JARED C us 0 0 0 0 0 0 0 0

[26145] 644025 LANIEU, NICOLE US 0 0 0 0 0 0 0 0
[26146] 644028 KORMAN, ANDREW us 0 0 0 0 0 0 0 0
[26147] 7700038535 LYNCH, PAUL P IE 0 0 o 0 0 0 0 0
[26146] 644357 WOJTON, JS us 0 0 0 0 0 oO 0 0
[26149] 643101 STOUT, CAROLINE D us 0 0 ° 0 0 o 0 0
[26150] 8103375474 NEDERGAARD, MOGENS MN DK 0 0 0 0 0 0 0 0
26151) 8702146295 FRODE R MELLINGEN NO 0 0 0 0 0 0 0 0
8906238744 LINDGENS, BERT DE 0 0 0 0 0 ° 0 0

[26153] 8702112996 TVETEN, HANS PETTER NO 0 0 0 0 0 0 0 0
[26154] 642469 SHUMWAY, WENDY us 0 0 0 0 0 0 0 0
[26155] 642784 ALLISON, CAROLE L us 0 0 0 0 0 0 0 0
[26156] 8103382962 FIALA, FRANK OK 0 0 0 0 0 0 0 0
26157| 8906216356 HULSCH, ARNO DE 0 0 0 0 0 0 0 0
641517 SHOCK, JAMIE us 0 0 0 0 0 0 0 0

[26159] 641843 SALAZAR, CARLOS us 0 0 0 0 0 0 0 0
26160| 7670670208 SYLLA, WILLIAMS FR 0 0 0 0 0 o 0 0
[26161] 8404610320 DAGERSKOG, ANDERS SE 0 0 0 0 0 0 0 0
[26162] 8906195862 ERDMANN, REINHOLD DE 0 0 0 0 0 0 0 0
[26163] 8862748770 WALDIE, STEVEN J GB 0 0 0 0 0 0 0 0
[26164] 8003609367 DE JONG, CEES NL 0 o 0 0 0 0 0 0
|26165) 645972 GEIGER, HENRY R us 0 0 0 0 0 0 0 0
26166] 7000190393 NEUWIRTH, GERTRUDE AT 0 0 0 0 0 0 0 0
8103343820 RASMUSSEN, ILSELIL DK o o 0 0 0 0 0 0

[26168] 8003619404 VAN DER VEN, WIM NL 0 0 0 0 0 0 0 0
26169 648552 SARDINHA, YURAIMA CA 0 Q 0 0 0 0 0 0
26171 649201 HAYES, JEFFREY R us 0 0 0 0 0 0 0 0
26171| 6103375180 JENSEN, CLAES DK 0 0 0 0 0 0 0 0
2617: 649815 STANLEY, DEBORAH us 0 0 0 0 0 0 0 0
2617. 650168 VALINSKY, JEFFREY us 0 oO 0 0 0 0 0 0
2617 650171 NURSE, AMANDA us 0 ° 0 0 0 0 0 0
2617 646337 MURANI, GLENN J us 0 0 0 0 0 0 ° 0
8702122039 KYLLINGSTAD, TOMMY NO 0 0 0 0 0 0 0 0

647629 PEARCE, JOY us 0 0 0 0 oO 0 0 0

650094 KALES, SANDRA A us 0 0 0 0 0 0 0 0

648574 NIEBUHR, JAMES W us 0 0 0 ° 0 0 0 0

648866 CORDNER, FREDERICK L us 0 0 0 0 0 oO 0 0

649217 BECKMAN, LINDA us 0 0 0 0 0 0 0 0

649226 JOSEFSON, DOUGLAS J us 0 0 0 0 0 0 0 0

649231 MUHAMMAD, N N'NAMDI us 0 0 0 0 0 0 0 0

8906188938 PANKRATZ, ANDREAS DE 0 0 0 0 0 o 0 0
8702120473 GUNDERSEN, SIV BENTE No 0 0 0 0 0 0 0 0
7800031400 DE SANTIS, FABIO IT 0 0 Qa 0 0 0 0 o

647645 SIMPLE, WENDY us 0 0 0 0 0 0 0 0

647654 RICKS Ill, J CHRISTOPHER us 0 ° 0 0 0 0 0 0

8103373679 KNUDTOFT, STEN OK 0 0 0 0 0 0 0 0
7370150376 GARCIA CUESTA, ANA BELEN ES 0 0 0 0 0 0 0 0

648194 GUY, JIM us 0 0 0 0 0 0 0 0

644012 SANDERS, EPHRIM C us 0 0 0 0 0 0 0 0

648175 STILLWELL, ANTHONY us 0 0 0 0 0 0 0 0

648176 BLACKWOOD, RONALD R us 0 0 0 0 0 0 0 0

8906250980 JOSWIG, DITLINDE DE 0 0 0 0 0 0 0 0
8906286910 MOESINGER, ANDREAS DE 0 0 0 0 0 0 0 0
6906253069 LUEDEMANN, GERTRAUD DE 0 0 0 0 0 0 0 0
8906251005 STROBEL, MICHAEL DE 0 ° 0 0 0 0 0 0
8003609356 FREEK SLOMP CONSULTANCY NL 0 0 0 0 0 0 0 0
8870124658 UVARAJAH, SIVANRAJ GB 0 0 0 0 0 0 0 0
646586 MEDEIROS, DESIREE us 0 0 0 0 0 0 0 0

7670668358 NITU, SYNTICHE FR 0 0 ° 0 0 42.85 0 42.85

645952 GOLLNER, DAVE us 0 0 0 0 0 0 0 0

648195 MUNDY, ALAN W us 0 0 0 0 0 0 0 0

650108 RICCHIUTO, MARK us 0 0 0 oO 0 0 0 0

648507 DONATO, VINCE M us 0 0 0 0 0 0 0 0

8906260474 STREHLKE, REINHARD DE 0 o 0 0 0 0 0 0
649152 MAGAMEN, MARY D us 0 0 0 0 0 0 0 0

649169 KING, STEVEN T us 0 0 0 0 0 0 0 0

646939 WEYGANDT, CONSTANCE M us 0 0 0 0 0 0 0 0

648209 COOK, CATHY us 0 0 0 0 0 0 0 0

648532 GEORGIADIS, PANTELIS us 0 0 0 0 0 0 0 0

8702128101 GRIMSRUD, SISSEL NO 0 0 0 0 0 0 o 0
7800041242 GALLO, CLAUDIO IT 0 0 0 0 0 0 0 0

649607 WANTZ, WAYNE us 0 0 0 0 0 0 0 0

649810 REVENSE, JOSEPH us 0 0 o 0 0 ° 0 0

8906148186 WEBER, DANIEL DE 0 0 0 0 0 0 Oo o
647593 WADE, BRYCE B us 0 0 0 0 0 0 0 0

640566 BUMP JR, RICHARD C us 0 0 o 0 0 0 0 0

8906216060 GINTER, ANJA DE oO 0 ° 0 0 0 0 Oo
8702122143 HANSEN-BRINCK, EINAR NO 0 0 0 0 0 0 0 0
8906188589 FUERST, FRANZ OE 0 0 0 0 0 0 o 0
7600822781 VALLAT, ANNABELLE FR 0 0 0 0 0 0 0 0
7000200453 UEBERBACHER, DANIELA AT 0 0 0 0 0 0 0 0
1980320 DAVIS, FELICITY E us 0 0 0 o 0 100 0 100

642585 JOHNSON, TANIA E us 0 0 0 o 0 Oo oO 0

IDC CoCo OC OOO OOOO OOOO OOOO DO OO OOOO OC OOOO Oe OOO DOO BDO OOOOOO OOD OeCC OOOO OOOO ODO O BOC OD DOOD OOO OOO SB BOO OOOO OOF OF)
Coo DD COD OOO DOC OOOO OOOO O OOOO OOOCOO OOOO OD OOOOOOOSCOOOSOSOSCODOOO BOO ODOCOSDOADOD CODD OOOBDSODO DFE OOOO OC FOO SOO} _)
coouee oe OO eC COO DOC OO OOO OOC OOD OOO OOOO OOOO OOO OOOO OC OOO OOOO ODCOoC OOOO OC OOD ADOC OOOO OO SD OBC OC OOO BBO OC OOOO OO Ol)

eocnceo oo CD OD OOOO OOO OOO oC OOOO OOOO OOD OOO DOO OOOO OSD DO OO DODD ODO DODO OODOODSDADOAPDADSPDODDDAAADADPAOSDOCAOSCAIDO SOOO

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 20 of 24

Case 1

A I B Lc D I E I F I G I H I 1 I J I K I L I M I N I °
604639 YOUNGER, AMANDA AND JOSEPH Us 0 0 0 0 0 0 0 0 0 0 14.53 14.53}
606549 JONES, MINDI M Us 0 o 0 0 0 0 0 0 0 0 0 oO
609173 WILSON, KIMBERLY S us o 0 0 0 0 0 0 0 0 0 0 0
7470077153 JAGMAC, BASHIR CH 0 0 0 0 0 0 0 0 0 33.86 0 33.86
605411 YAKOVIC, BILLA us 0 0 0 0 0 0 0 0 0 0 0 O
8882737081 LYLE, ALISDAIR GB 0 0 0 0 0 0 0 0 0 0 oO 0
8906177138 REDLICH, HERBERT DE 0 0 0 0 0 0 0 0 0 0 oO oO
8702101278 REMMEM, GEIR ARNE NO 0 0 0 0 0 0 0 0 0 0 0 O|
606576 BUSCH, SHIRLEY us 0 0 0 0 0 0 0 0 0 0 0 0
7370167501 PASCUAL MONTOYA, JERONIMO ES 0 ° 0 0 0 0 0 0 0 85.71 0 85.71
8003569086 VARWWK, ALY NL o ° ° 0 0 o 0 0 0 0 0 0
8003574942 WINTER-VD VEER, EVELIEN NL 0 oO 0 0 0 0 0 0 0 0 0 0)
608205 SUCHORA, BOB US 0 Oo 0 0 0 0 0 0 0 0 0 0}
608518 WALKER, RJ US 0 0 0 0 0 0 0 0 0 0 0 0
8702053916 INGEBRIGTSEN, METTE NO 0 0 0 0 0 0 0 ° 0 0 0 0
606546 WITTWER, PATTI us 0 0 0 Oo 0 0 0 0 0 0 0 o
607711 STACHELRODT, BRANDIE N us oO 0 0 0 0 0 0 0 0 o 0 o
607317 GONZALEZ, MIKE A us 0 0 0 0 0 0 0 0 0 0 0 oO
8404462152 ERIKSSON, THOMAS SE 0 0 0 0 0 0 0 0 0 0 0 0
8103131750 HAHN, FRANK DK 0 0 0 0 0 0 0 0 0 0 0 o|
8003582323 SCHAIK VAN, IRIS. NL o 0 oO 0 0 0 0 0 0 0 0 0
608635 HOUCK, TADD M us 0 0 0 0 0 oO 0 0 0 0 0 Q
608972 PITTS, SHADONNA S us 0 0 0 0 oO 0 oO 0 0 0 0 0
8906176668 HOLTHUSEN, TOBIAS DE 0 0 0 0 0 0 0 0 0 0 0 |
8003579376 RIJSWIJK VAN, SANDRIKUS PIETER OTTO NL 0 0 0 0 0 0 0 0 0 0 0 0
605452 LAVALLEY, KARI E us 0 0 0 0 0 0 0 0 0 0 0 O}
605733 RUIZ, CORINNA us 0 0 0 0 0 0 0 0 0 0 0 |
606070 STOFFLE, JULIAA us 0 0 0 0 ° 0 0 0 0 0 0 0
8906202130 KRAFT, INGRID DE 0 0 0 0 0 0 0 0 0 0 0 Oo
607708 ROOD, THERESA L us 0 0 0 0 0 0 0 0 0 0 0 oO
606029 MCGEORGE, DENISE us 0 0 0 0 oO 0 0 0 0 0 0 0
8906176840 PETRUSCHAT, CLAUDIA DE ° 0 0 0 0 0 0 0 0 0 0 |
608336 WAGNER, HENRY us 0 0 0 0 0 0 0 0 0 0 0 O|
8906194130 MORAL-POSO, LORENZO DE 0 0 0 0 0 0 0 0 0 0 0 0
608956 RITCHIE-LOPEZ, SHAWN M us 0 oO oO 0 0 0 0 0 0 0 0 0
608958 BOURGART, THEODORE J us 0 0 0 0 0 0 0 0 0 0 0 Q|
634592 SEAL, LESLIE us 0 0 0 0 0 0 0 0 0 0 0 o
630821 HARPER, JOHNNY J us 0 0 0 0 oO 0 0 0 O 0 0 o|
26077 631128 SMITH, JEFFREY us 0 0 0 0 0 0 0 0 0 0 0 0
26078] 8404560400 SONNGAARD, MATS SE 0 0 0 0 0 0 0 0 0 0 0 o
2607. 631767 ARGENTO, CHARLES us 0 0 0 0 0 0 0 0 0 0 0 |
26080] 7800012903 TRAMACERE, GIUSEPPE IT 0 0 0 0 0 0 0 0 0 0 0 0
26081| 8103330813 PALLE JONSSON DK 0 0 0 0 0 0 0 o 0 0 0 o
2608: 606330 ESPIRICUETA, MARIA | us ° 0 0 0 0 0 0 0 0 0 0 0
26083] 8906199781 HOFFMANN, JANETTE DE 0 0 0 0 0 0 0 0 0 0 0 O|
26084) 7800032583 BRIDI, MARIO IT 0 oO 0 0 0 0 0 0 0 0 0 O|
608591 DRONE, CAROL us 0 0 0 0 0 0 0 0 0 0 0 0
8882734221 GREEN, DEBORAH J GB 0 0 0 0 0 0 0 0 0 0 0 0
7000203606 STEINER, BARBARA AT 0 0 0 0 0 Oo 0 0 0 0 0 0
8906201268 SCHWABEDISSEN, ANDREAS DE 0 0 0 0 0 0 0 0 0 0 0 O|
8103351882 DENKER, ELIN ED DK 0 0 0 0 0 oO 0 0 0 0 0 O|
8906197344 JANETT ROETHIG DE ° 0 0 0 0 0 0 0 o 0 0 O|
8702063971 INGEBRIGTSEN, INGE A NO 0 0 0 0 0 0 17.95 17.95 0 0 0 0
[26092] 8906190266 HOCHBAU HILSBERG DE 0 0 0 0 0 0 0 0 0 0 0 Q|
[26093] 8882732311 FUNGE, SIMON GB 0 0 0 0 0 0 0 0 0 0 0 oO
[26094] 8103353682 NIELSEN, JONAS DK 0 0 0 0 0 0 0 0 0 0 0 0
6095] 8404584394 JOHANSSON, BERIT SE o 0 0 0 ° 0 0 0 0 0 0 0
[26096] 8404584446 CLAESSON, CHRISTINA SE 0 0 0 0 0 0 0 0 Oo 0 0 Q
[26097] 606351 FOWLER, MILDRED Us 0 0 0 0 0 0 0 0 0 0 0 0
[26098] 8003575596 GANGABISOENSINGH, SANDER NL 0 0 0 0 0 0 0 0 0 0 0 O|
[26099] 8404610861 ERIKSSON, URBAN SE 0 0 0 0 Oo 0 oO 0 oO 0 0 0}
[26100] 7170117081 VIEIRA TEIXEIRA GONCALVES, ANDREIA SPT 0 0 0 0 0 614,23 0 614.23 0 42.85 0 42.85
[26101] 8702107133 LINNERUD, HEID! NO 0 0 0 0 0 0 0 0 0 0 0 0
[26102] 8404553140 BOSTEDT, MONA SE 0 0 0 0 0 0 0 0 0 0 0 0
[26103] 608631 CLEMENT, JASON us 0 0 0 0 0 0 0 0 0 0 0 0
[26104] 8906197914 ROSCHER, CARLA DE 0 0 0 0 0 0 0 0 0 0 0 0
26105] 7000170540 JAKOB, ANDREAS AT 0 0 0 0 0 0 0 0 0 0 0 o
8702083967 IMA IVAR MYREN NO 0 0 0 0 0 0 0 0 0 0 0 0
126107] 8906188178 JENSEN, INES DE 0 0 0 0 0 0 0 0 0 0 0 0
26108 631785 CANNON, ERMA us 0 0 0 0 0 0 0 0 0 0 0 |
[26109] 8103358989 HANSEN, MALENE DK 0 0 0 0 0 0 0 0 0 0 0 0}
8003578868 WAGTHO, BEN NL oO 0 oO 0 0 oO 0 Oo ° 0 0 0
8103359985 TVAN, NGUYEN VAN DK 0 0 0 0 0 0 0 0 0 0 0 Q|
8003580277 TRENDYFURN NL 0 0 0 0 0 0 0 0 0 0 0 o
8906257544 ACKERMANN, PETRA DE 0 o 0 0 0 0 0 0 0 0 0 0
640201 MCDERMID, MARION E CA 0 0 0 0 0 0 0 0 0 0 0 Q}
8906181721 GOLANOWSKY, GABY DE 0 0 0 0 0 0 0 0 0 0 0 O|
7670668907 PERILLAT, SEBASTIEN P FR 0 0 0 0 0 0 0 0 0 42.85 0 42.85
641541 WILLIAMS, LEE R us 0 Oo 0 0 0 0 0 0 0 0 0 q
8906230286 RIEGER, BURKHARDT DE 0 0 0 Oo 0 0 0 0 0 0 0 O|
8404641291 JONSSON, MATHIAS SE 0 0 0 0 0 0 0 0 0 0 0 O|
642502 GARCIA, EDWARD us oO 0 0 0 0 0 0 0 0 0 0 0]
642819 SPAHN, WILLIAM P US 0 0 0 0 o 0 0 0 0 0 0 0}
8702106804 AASMUNDSEN, HEIDI IRENE NO 0 0 0 0 0 0 oO 0 0 0 0 0
8103357769 DANIEL, LEIF DK 0 0 0 0 0 ° 0 0 0 0 Oo Q
8404541111 HAEGG, LINDA SE 0 0 0 0 0 0 0 0 0 0 Oo 0
8906244665 LANGE, REGINA DE 0 0 0 0 0 0 0 0 0 0 0 o|
8906227782 OLSCHNER, JENS DE 0 0 0 0 0 0 Oo 0 0 0 0 0
7670668901 NASR, STEPHANIE FR 0 0 0 0 0 0 0 0 0 42.85 Oo 42.85
8202854838 LONNBERG, JOHANNA FI 0 0 0 0 0 0 0 0 0 0 0 O|
641227 WILLIAMS, THEODIS A us 0 0 0 0 0 0 0 0 0 0 oO oO
643155 TORRES JR, ROBERT E us 0 oO 0 0 0 0 0 0 0 0 0 0
7670669771 BLANCHON, BERNADETTE FR 0 0 0 0 0 321.4 ° 321.4 2.14 190.7 0 192.84
7800041770 BARRELLA, DOMENICO IT ° 0 ° 0 oO 0 0 0 oO 0 0 0

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 21 of 24

Case 1

NTN
lay
alo
SI
So

Ny
oy
o
2
5

NN nD
lay o
oo oO
a] o
Oe =

Ino}
EB
gl
15>)

Nyy
D1)
S/o
alc
Si=)

Ro]
d/o)
S/o)
S/S
ole

SSS RES ESs
SSR SSS S88
eieieisieleisiels
laltalal=lals|=

NTS
| aD
alo
ro}
Blo

no]
a/a
o|9
|S
D1

603)

NTS NTSTRRIQTN
DD AA a|a
S]olslojalo
B/G/o)@}y|9

=~! eln|s|olole

A I B I
8906225345 MICHELS, ALEXANDER DE
8906181731 MEYER, RUDI DE

633178 BAGGETT JR, TED us
8702124034 RAMBERG, RUNE NO
8103374527 JOERGENSEN, DORTE B DK
8702120147 SIMONSEN, BAARD RIKARD NO
8003598887 WILMINK SERVICES NEDERLAND NL
8906182858 FISCHEDICK, HELMUT + ELISABETH DE
8906217150 SCHMIDT, MANFRED DE

630387 THAO, YEUR us
8404596411 ANDERSSON, MONICA ELEONORA SE
8404553367 GRUNDITZ, PEDER SE
8404611154 TRUEDSSON, ANNA MARIA SE

631636 AIKEN, SUZANNE us
7000210486 ETTL, HEINRICH AT
8003591167 WELLINK, ANGELIEN NL
7800018809 MICHELOTTI, GIOVANNI IT

633189 NEWBY, FLORAL us
8702129915 PEDERSEN, KATHRINE ROKKE NO

634128 VEENSTRA, WILLIAM CA

634132 MCALPIN, MAXIE A us

634438 ESQUIVEL, TRINIDAD us
8906237100 MUEHLENWEG, ASTRID DE
8003605768 KLUNDER, JOSEPH NL
8906227833 KLUEE, MONIKA DE
8003598044 SOEPENBERG, ERWIN NL

631617 KLOSTER, APRIL us

632492 GAVITT, ERIC M us

631781 SALERNO, FRANCIS us
8003591811 BACAS, VIRGIL NL
8404511906 ERIKSSON, TOBIAS SE

631890 TIPPER, NADENE M CA
8702115027 BAKKEN, KENNETH NO
8906225303 WUENSCH, RALF DE
8404642722 LUNDEN, HAAKAN SE
8003620295 SLIK, ARNE WEYDEMULLER, ERWINL

630329 MANN, ANNETTE us
8906222954 TREBBIN, HEINO DE
8702120331 WIEN, MORTEN NO

632517 MCDONOUGH, CAROL us
8003584553 STEGEMAN, HARRY NL

632220 JAMERSON, CHARLES R us
6906200296 KAESSMEYER, GISELA DE
8003595059 MANOE, BIEDJAIKOEMAR NL

634037 LANGGOLF, MARIANNE us

631279 BROWN, ARLEM N us

631282 DEGUZMAN, VENUS V us
8003584736 HAREN VAN, ANNIE & TOON NL
8906237585 SCHREIER, ROBIN DE

633120 GEORGE, DARRYL A us
7000213224 KOSLA, GUENTER AT
8003601017 HOGENDOORN, MAAIKE NL
8702124167 TALHAUG, METTE NO
7000207664 MATEV, GORAN AT
8103327003 SKOELD, KENT DK
8702018980 STAVIK, ARILD NO

604646 KREKLEWETZ, MILES cA
8906198634 SCHULZ, ROBERT DE
8404609036 SCHOEFFEL, RICKARD SE
8906207135 STEINCHEN, GISELA DE
8404552852 TEGNER, TULLA SE
8906190743 WINTER, MANFRED OE
8906195755 ROEDER, JOHANNES DE
8702045236 NORAAS, GUNN HAMRE NO

607212 SORENSON, JEFFREY S us

608230 KESSLER, ED D us
8906206028 FIEBIG, BODO DE
8906206666 BENTIVENGA, GIUSEPPE DE
8702024643 ISENE, JONNY PETTER NO

608831 LINDER, WAYNE | us

607596 MYERS, HENRY & BERNADETTE us
8906176373 POTH, KARL-HEINZ DE
8702091213 ESKINDR, TIRIL VIVIDOTTER NO
8404615801 BERGQVIST, ROLF SE
8906207764 THEISS, NORMAN DE

608554 DIGENOVA, THOMAS P. us

609217 ISERMAN, MARION us
8702084196 LIEN, GUNN KRISTIN NO
8404547001 GT:S SKOG O VIRKE HB SE
8404588240 STROM, EVA SE
7000210220 GRUBLINGER, MARIA AT
8103361226 MCSTRETON, REGIN DK

606863 PEDRO GONZALEZ PA & CO. us

631354 CORNETT, BOBBY J us
8906205919 KUMAR, URSULA DE

609389 SLOAN, RINALDO L us
8906213040 SCHOEFFEL, CHRISTIANE DE

607496 CHRISTINI, ROBERT us

607889 LOPEZ, ANTONIO us
8103373312 TOMMERUP, SOFIE DK
8702103667 SPECTRUM KONTOR OG REGNSKAPSSER NO
8103361228 NIELSEN, INA - MARIA DK
8906191925 KREBS, WILFRIED OE

8702067271 OLSSON, ANDRE NO

coeoccoo ooo c OC COCO DCO O BOO OCOD OO OOOO DOO OOOO DOO OOOO OOOO OOOO OOOO ODO OOOO ODO OOOO ODO DODD OO DOO SOO DFO OCD OO}

coco o oo oOo ODOC OOO COD O OOOO OOOO OOOO OOOO OD OOOO OO DOO OOOO D DODO OOOO OOO DO OOO DOOD DOO OBO BCD O OOO DODD OOO OO}

CoC COO COO OOOO OO ODO ODOC OOD DO OOOO OOOO OOOO OCOD OO OCOD DD OOO DOOD ODSOOSOBOODOSAOOODGDAODDOODAGOOOSOSFSCOOO OVO OO OF |

Coco o oo C OOOO OOOO OOO ODO OOO OOOO SCO O OOO OD OOOO DOO CO ODO OO OODDOOODOBDBOSOSOSOOOOODODODDADDADGOSOSOOSCOSO FOF OF O}_)

coco e ee DCO ODO DOO O COC OOOO OOO BOO OO ODO OOO COCO OOOO OO ODD OOO ODDO OOOSOODOCOD CODD DODDDODODGDAODOSFOC OOOO FF OOOO}

coeoce ooo eco ODOC DD OCO CODCOD COO O OOO ODO ODO OOOO OD OOOO OOOO OOC OOD OOOO OOOO DBO ODO BOO ODD AOD OOD ODDO OOOO OPO FOO FO} _)

coo co ee D OCOD OOO DCO OOOO OC OOD OOOO OOOO OOO OOD ODO OO OOOO OD OOOO BDO OOOO SOOO O ODD SOOO DO DODO ODDO OS OOOO GOF OOO} |

coo c ooo ODO DODO OOO OC OOOO OD OOOO OOO OOOO O OO OOOO OCOD ODDO ODD OOD OD OOOO O SOOO DOOD ODA DAOOO OOO SOOCO OB OFFOO OF} _

loc ceo CODCOD OOOO OOD OCOD OOOO OOO OOOO OOO OOOO ODO OCOD DOO DOOD OD OOD COO ODO OOODDAODODOGDDOAOBAODSO OO SOOO SO 99990 OF

coco KD nooo OOOO OOOO OOOO OOOO OOD OOO OOO OOOO DOOD OOOO ODO OOOO DOGO SDSOOOSSOOODOOSAODCODSOBDODSCOO OOO SOOO GFOFO FO}

coo e ooo CoD OOOO OOOO COO O DOO OOOO OOOO OOO OOO OD OOOO OD OOOO OOOO OOOO BD OOOOSDS OOOO DODO OB OOO OO OD OOOCO OFF OFO OF)

coco aoco ee ooo Ooo Coo OOO oOo OOOO OOO DO OOOO ODO ODO OO DODO D DOO ODOODDDSDOSSDODDGDODPOCOSDDSCOAADOSO ODA OSCOOODOOOCOS

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 22 of 24

Case 1

0 0 0 0 0 0 oO 0 0 0 0 0 vo TAONZLIS "“LLBSSOND SS50E9

lo 0 0 0 0 0 0 0 0 0 0 0 sn Tg 'NOSS3ud ZEezE9

lo 0 0 0 0 0 0 0 0 0 0 0 sn BOIMLVH 'NOSNISOY bLbLE9

0 0 0 0 0 0 0 0 0 Q Q 0 3s YVAONI 'LSIAWTIAW $295/)Sb0r8
0 0 0 0 0 0 o 0 0 0 0 0 as GUVHOIY 'WIOULSVV O6ZE6SP0rB
0 0 0 0 0 0 0 0 0 0 0 0 ya HOO18 SLLANNV 'NSS8OMvr ZbersecoLs
0 0 0 0 0 0 0 0 0 0 0 0 iv VLINY Y3993SI10M 6695020002
0 0 0 0 0 0 0 0 0 0 0 0 iv ANILSIMHO 'MIVWS38S9 ch0z0z0002
0 0 0 0 0 0 0 0 0 0 0 0 sn GC NMVd 'Y37IM esgee9o

oO 0 Oo 0 ° 0 0 0 0 0 0 0 sn H NVHLVNOP 'NOSNNW Opeceg

0 0 0 Qo 0 0 0 0 oO 0 0 0 sn SYOCOSHL ‘Ur SILUV S90ee9

lo ° 0 Qo 0 0 0 0 0 0 0 0 sn d VISOS 'SINVIENONNOY B69zE9

lo Q 0 0 0 0 0 0 0 0 0 0 iv GNVULIVM 'H3ZLI4 1980070002
Sop 0 S8zb 0 0 0 0 0 0 0 0 0 ud QGUYVHOIY 'NONVG 8268290492
0 0 0 0 0 0 0 0 0 0 0 0 aa 1vwad 'LOISYNVd 0279179068
0 0 0 0 0 0 0 0 0 0 0 0 ya NVIu@ 'NSSY393NO ZepPsecors
0 0 0 0 0 0 0 0 0 0 0 Q ON OILS ‘DUBESLNYY 9p80E1Z028
0 0 0 0 QO 0 0 0 0 0 0 0 1N OSWOU 'GVWVH3OW 828rese008
49°¢9 L£9>9 0 0 0 0 0 0 0 0 0 0 ao HVIGNV™ 'WVONITVAIS 6h89ZL0288
0 9 0 0 0 0 0 0 0 0 0 0 sn VN3ASLS 'GYOINE Lb6EEo

0 0 0 0 0 0 0 0 0 0 0 0 sn TN3YVy “WAIDUSd Pr6EES

0 0 0 0 0 0 0 0 0 0 0 0 sn f SHTHVHD "JSON Spsee9

EZ PLO 0 EZ blo 0 0 0 0 0 0 0 0 0 ud GNV10¥ ‘LYNALNOW bOLPS90Z92
0 0 0 0 0 0 Q 0 0 0 0 0 YG ONHd 'WVT OSLSzecole
0 0 0 0 0 0 0 0 oO 0 0 0 3s HL3e8VSINS 'NVWMS OZSz9zb0r8
0 0 Q 0 0 0 0 0 0 0 Q 0 ya GUVVDS9OS Vid 'NSSNSP SPZPSEEOLs
0 0 0 0 0 0 0 0 0 0 0 0 30 NV431S ‘WYAld 0zabzz9068
0 0 0 0 0 0 0 0 0 0 0 Q sn BLLAAM ‘IND3s zegce9

0 0 0 Qo 0 0 0 0 0 0 0 0 IN ‘W “138ON L68625e008
0 0 0 0 0 0 9 0 0 0 0 0 sn f SIONVYS 'MOUNVOG EBL bEo

0 0 0 0 0 0 0 0 0 0 0 0 iv NVZNS 'NSLAAVH LOLELZO00L
0 0 0 0 0 0 0 0 0 0 0 0 IN a 'NASLINNVS Lozseseoo8
o 0 0 0 0 Qo 0 0 0 0 0 0 sn VHOVS 'ZLVH LZZLE9
jo 0 0 0 Q Q 0 0 0 0 0 0 sn Q3uSTv “TSN 606069

0 0 0 0 0 0 0 0 0 0 QO 0 ON VNIN ‘LSIM ZL bbl cole
0 0 0 0 0 0 0 0 0 0 0 0 30 Y3AIO ‘HLNVW poseozs068
yo 0 0 0 0 0 Q 0 0 0 0 0 IN €NH 8 SITTSN 'SYSMSVWY BeerZse008
|secr SB tp 0 0 0 0 0 0 0 0 0 0 30 SVWOHL ‘dWN1™ $989200268
0 0 0 0 0 0 0 0 0 0 0 0 a5 VZ4u 'NVINVOXOHNYVE 981Se2z888
0 0 0 0 0 0 0 0 0 0 0 0 sn W YASINN3P 'AVMOTIOH EZ8LE9

0 0 0 0 0 0 0 9 0 0 0 0 sn  STAy 'SSOHYSMNING GE9EES

0 0 Qo 0 0 0 0 0 0 0 0 0 3a SN3QVWV-ONVDIIOM 'H3ATIANW 9600619068
0 0 0 0 0 0 0 0 0 0 0 0 ga Ole 'ZINY CehyLz9068
0 0 0 0 Q 0 0 0 0 0 0 0 as SVNOP 'NVWHAUS SPOLLObOrs
lo 0 Qo 0 0 0 0 0 0 0 0 0 sn Hd1vu ‘LNOdNdG zseLe9

lo 0 0 0 0 0 0 0 0 Qo 0 0 xd SyYAT 'NSSNVH CZepZeeore
0 0 0 0 0 Q 0 0 0 0 0 0 ya NNIJ ‘GNMINNOM bozegecoLe
0 0 0 0 0 Q 0 0 0 0 0 0 ya TSONVHNIA YAVYNNG ZOLSZEEOL8
0 0 0 0 0 0 0 0 0 0 0 0 sn ANIMSHLVO “TABVUA PELLED

lo 0 0 0 0 0 QO 0 0 0 0 0 sn NVUVSIHO 'VIVEON 222089

0 0 0 0 0 0 0 0 0 0 0 0 3a BYCNV 'WNVE seb Lz9068
0 0 0 0 0 a 0 0 0 0 0 0 sn OOGNVWHY 'ZSAVHO 99669

0 0 0 0 0 0 0 0 0 0 0 0 ON VOINOW 'SANAS S9eezoz0le
0 0 0 0 0 0 0 0 0 0 0 0 sn V OCIVNSO 'ONGINOW 810rE9

0 0 0 0 0 0 0 0 0 Q 0 0 sn MOLWd 'NVMOU Ob0r09

0 0 0 QO oO 0 0 0 Qo 0 Q 0 sn BOP ‘TWH oezoog

0 0 0 0 oO 0 0 0 0 0 0 0 ON “MU SUONIS 'NSNLS €22Z/0z0298
Secb 0 Str 0 0 QO 0 0 0 0 0 0 ud f NINVPN3S 'SYB1V138 LreZesoleL
0 0 0 0 0 0 0 0 0 0 0 0 sn NOSVf 'NVW3109 401 p09

0 0 0 0 0 0 0 0 0 0 0 0 sn VATS 'NBAOLS 108209

0 0 0 0 0 0 0 0 0 0 0 0 sn N3Yvm 'G7SISNVLS 064209

0 0 0 0 0 0 0 0 0 0 0 0 sn W 3N3TYVd 'NVTAOW 958109

oO 0 0 Qo 0 0 0 0 0 0 0 0 go 01 GYVNOST 'NVHOVTIVS crSe8l2z888
0 0 0 Qo 0 0 0 0 0 Qo 9 0 3a NOLNV - THVy ‘SNGN3H 94z90z9068
0 0 0 0 ool 0 OoL 0 0 0 Qo 0 sn UY SNOYVWW “T1AyNHoId Z9zs00z

0 0 0 0 0 0 0 0 0 0 0 0 sn 1 139NV ‘Y3G73 075109

0 0 0 0 0 0 0 0 0 0 0 0 sn HL3NN3» "SN3901IHd SZSL09

0 0 0 0 0 0 0 0 0 0 9 0 3a TAVHOIW 'NSWVHO bZ79219068
0 0 0 Qo 0 0 0 0 0 0 0 0 as CNVION ‘NYS Be6rSspors
0 a 0 0 0 0 0 0 0 0 0 0 as WILAWedLSSVH SONIGSOMNSOP 281L2bSpors8
lo 0 0 0 0 0 0 0 0 0 9 0 sn UY Aud 'Adgay 9¢0r09

lo 0 0 0 0 QO 0 0 0 0 0 0 sn WOHWVUIA 'WVHXINVIN 92009

0 0 0 0 0 0 0 0 0 0 0 0 sn ZXIW "NVAONOG SZEe09

0 0 0 0 0 0 0 Q 0 0 0 0 sn TIVHSYVW 'ASMWIL 92609

0 0 0 0 0 0 0 0 0 0 0 0 iv VISINBV9 ‘OIUNVN-MSYVHAd S608610002
0 0 0 0 0 0 0 0 0 0 0 0 .N SOTYV9 ‘SVE ZLZpaseoos
io 0 0 0 0 0 0 0 0 Qo 0 0 sn SO VNID ‘AUNSH 96bL09

0 0 0 0 0 0 0 0 0 0 0 0 sn MNOGNVHE ‘ATVMSO S88009

10 0 0 0 0 0 0 0 0 0 Qo 0 sn AND 'Z3ONVNU3 $98009

10 0 0 0 0 0 0 Q 0 0 0 0 sn WVITIM 'NIV8 bbS009

10 0 0 0 0 0 0 0 0 0 0 0 sn W WI 'NSONVO £22809

0 0 0 0 0 0 0 0 0 0 0 0 ON NOLNV -310 'N3LS3H 2S18602028
0 0 0 0 0 0 0 0 0 0 0 0 ON NOd WLINY 'NASIHLWW bLSs60z0z8
10 0 0 0 0 0 0 0 0 0 0 0 sn Hd 10Gv "ur N3T1W 185Z09

io 0 0 Qo 0 0 0 oO 0 0 0 0 vo TIMYAL ‘YI1NY 926z09

0 0 0 0 0 0 0 9 0 0 0 0 sn v T30r 'Nvauor $2szo9

10 0 0 0 0 0 0 0 0 0 0 0 sn 4 3uduISG ‘3noWaL £92209

10 0 0 0 0 0 0 0 0 0 0 0 ON VOINOW 'NSSSWOHL b22z60z0z8
oO 0 0 0 Q 0 0 0 0 0 0 0 ON IDV 'YVAGCO 'N3I13050 ‘SAGSONVLS b8EL60z0Z8
o 0 0 0 0 0 0 0 0 0 0 0 gs Y3L3d ‘OUSETISS BreeZspors
D 0 0 0 0 0 0 0 0 0 0 0 sn f NOSAL ‘NVWHSI37 8/PE09

0 0 0 0 0 0 0 0 0 0 0 0 sn N SINT 'HLOL $28709

0 Q 0 0 0 0 0 0 0 0 0 0 sn W 33Q0NAS 'NITG3AW o9szo9

OD 0 0 0 0 0 0 0 0 0 0 0 sn f GIWNOG 'ASIT LL6L09

x

I a Lv

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 23 of 24

Case 1

HOODOO O OOD OO ODO OOOO OOO OD OOO ODDO OOOOOODOODOOSOSNSSSSSSCSCSaSCSOoOSONOSCO COS SSO ae eeo9 ee Oo

MOOOSCCSD000C0R

oO oO
qQ a
+ <r

BOSOO0000

Moco DeD eC OOOO OOOO ODOC OO ODO OOOO O OOOO eO OOO ooOOoODOOoOBOOCOGOOOOoOSCODOSoGODGOoCAeeB eGo ooOo

erc0nDDOOMeSDODGCOBDD OOO

2
a
+

S
a
+

ee0eDeD oOo ACOOOeOGCOoD

©
oO

“OLE

eeoDoDD COO OOOO BRODODOD OCD ORSCGeSCoOBO OCOD COBO AOOO
za
oy

2
&
6
o

ecco eoDCD ODOC OC oOOoOOAOABDeOOoOSDOCOoOoO

eececn00cCeCDoCBDSF COCO O RBC OO OOF AGeS COD OC000
2
oO

eooaeeeo oOo COCO RHROODOCOCOOOCOR
za o
ov =
= o

2
rR
nN
o

ocrecceeC OOOO OOO oOeOOOoOOAaoOSBAOAGOCoOCo

GOWHOL “ONVTTY 1P0S60Z028
SNNU ‘CTSPSILS 92ZLOLZ028

d SVWOHL ‘3433» O S0666S

W GIAVG 'SANOP 012665

@ 3OlTv ‘AVMOTIOH ObLb09

W SLLANWIIW 'WNOON 684£09

7 AOP ¥ MOIY ‘SHSM 82209

@ 3NHsv ‘3s33u 098209
GV LINSNOM SNONSH Zoalespore
NV43LS 'NOSSAVLSNO ZLZapSPore

AQUA 'NSHLNND pSb66S

TWA ‘SONIINWND 228109

9 WYVW 'SLUSOH €28109
VUNUIS ‘ONNdWd¥WH B8Ze8SPOr8
‘WD ‘WAIN LpZb2S€008

G39 ‘Al TWONVY €zLal9

7 ATISHOIN ‘SIAVUL 062919

4 B9UORS ‘dYWHS ZEZ9L9
NVWSO ‘VaO 29820022
YASW ‘GVLSOGSW al6esozoze

UNVHLWN 'NOSBID 8Zb619

QIVNID3Y ‘SGYVMGS 89819
Np YHOMLEN-TIZNOL NONIS 4002279068
SNILSIYHOD 'NNVWLNIZE ZOLepL9o6e
WNILSINHD "HAMOWNISLS 9898210002
1143 'dOHYHNS 2229219068
WHINY '144¥7H POzZOzZONOL

SSSNSHL 'NS4VHLSAM 0bZ009

TAVHOIW ‘SHOOW 924819

S NAUHLVY 'G1S4NH 621619

ATV 'LLOOS E08LL9

Nod 'NOSNOY3s 69b/t9

V ANODAND ‘NOWOTOS 18919
UVEONd ONSWIYd 2629219068
ALISW "JOSONAT 1ZZpSEEO18
d3ONOSSIAGY SUSCNVS 6P09/SE008
MIUNBH ‘NOSSNNOVW b2ZS19b0r8
YANYAM WNIINWd $b Lp090019

CNIATAW ‘SNASUS FeSbL9

SNNINOO 'NOLN3J E€SbL9

H3NuV1 ‘SIdWAL bZSPl9

ANVIG 'YITLN 2b2eL9
ud “AONSUNNE 988/90Z028

NHOP 'NOSHOVWr 9zerO9

N3HdALS ‘Il VNid €PE£09
ONNG ‘NA 8062619068
WN31 ‘GNYSNSONZOr pO6a80zOLE

7] LUAGON 'SACOHY 1109
VINCV 'SVNIGUVD VZOOVUVZ ASE69LOZEL
IWy 'NASNVWYSH 945960z028
Wud SCIADNVS ELagpbbore
QuvUya9 ‘NWA NSMn331 92¢8/S€008
WHINOW "ISWH3YLS 29z9pL9068

AVY AUVIN 'XNWaYCGNO 986£09

WNVO?P ‘SVWOHL 0/5919

3 Of 'NILUVW E€p9£09
VIZVUD 'ONINOLNY e8sezoongs
OWISSWW 'IND3G ssgeLaooes
AWWOL ‘NOSS1uV9 SE0609P0r8

4 VIOITAd ‘AVEYNIN Se9009

WONA1 ‘ASNDOA bOS009

M3HLLVW ‘ONW1 281009

O11 dNOUS LNSWSOVNWW WV 081009
I@VHNW ‘WrldGga FL Z9PS00b2
VVONWM ‘LLOOS O66elzzee8
H 4104 ‘NOWIS 6910819068

DININOG “SISOUE ZEL6L9
A@ 3SW31 SASNAS O96ezve008

THdasor ‘NISNY 6P9E09

VONIT ‘MOIMLSJ $66809
OINWWN 'ININWD939 6ZeezOO0RL

W YNVIO 'Y3WWM1d 1z0609
ANILUVW ‘SNaYS 12Z9@90292
LY3aY3H 'AadW3 9261619068
NYruy ‘SSMANSONS peZEZSE008
WIM 'M33NS LZsoeseoog
ASSV1 ‘NSOUVWOAGSO 6iSpZ1Z0Le
3NDOU ‘NOSdWIS ZEP909
YSHLVSH 'NOSNHOF €11909
S3TYVHO ‘Il GVSLSdW3H 601909
f VOVANSY "MYW19 660909
VVSITv ‘USONVXS1V 682509
GIvNOd ‘Ag33uy soss09
ONINOLSIA 8 ATAd "WNOAVE E0509
AIG ‘ATIANNOD LZZSZ00L/2
NOMVWH ‘S1SVH Opsesozoze
VISYOW ‘LAAISD SSeg09
3 VLIMSONY ‘WYHVNS EbE809
S3NSHOH ‘S/A 1aLOSO Le”960Z028
NAWHY9 'YSN4VH Obgcoz906e
MSS2r ‘ONNOA €60909
1 Q1vu39 ‘OvYOS 610509
V SINVIAW ‘wISVaNa ZL0s09
SSIMGNV HUSHNarISY ay6e/Se00e

DTaTO
w]s|o
| ale
1p}.
fal

o
2

=a]
eo) slelo}s

@} a} a
to] tp io tw
NINN NIN

eS
oO
o
1
nN

o
oO
to

Hsecoccoccc coc occ DOOD eo OOO OCOD OOO OOOO OO OOOO DOODOCO Oooo OOOO BOO DDO OD OB ODO COND ABO OBB ADO BOB ASCO OSD ODD OO

Ho ococon cc coco DDO oO O MeO ODOC ODOC OOO ODOC OCOD OOOO OOD OOOO O OD OOD OBO OOO AO OOC ONO BAO OOOO DODD ODDO OCOD O BBD OO99B 90°

ooo cocc co cc ODD OOOO OCOD OOD CODCOD OCOD OOOO ODO BCOD Ooo OOO DOD ODD OOD ODO OBO OOS BBO O OCOD NDAD DO AADC OOD OF 99990°

Hocccoc conse ce eco DOOD OOOO OC DOOD OOD OOO OOOO OO ODDO ODO DOO OOD OBO OOO GOOD ODBDOADSDOGGADBADDDOADOSOO SOO SIGPOGFAG9FOD OO

Hoecccc econ cco oe DODO OOOO DODO OOOO O DODO OOOO OOOO OOD ODO OOO OOOO OOOO OO BD OOOO DOBDODODADBOSOOBSSAIOOGODOFF°

Hic cccoco ccc eco ee eco CoO OC OOOO CODCOD OOOO OOO OOOO ODD OBO OOOOBDO OOD DOO OSOOSDOGOSDGADADAOSOOODSAOAGADODVGZF99 FO

Ho acocc onc coco oo CC OCOD CD Oo OOO COD OO OOO OOOO COSC OOD OB OBO O ODO DOO OO BD NOOB OOD ODD ADA ADDO OBA DO OOOO OOD F9 900

Ho ccc accc ccc coco OKC oOo CC OOOO OCOD OOOO OOOO OOD OOOO ODO eSB OOO OOO OOD OOO OOOO SOD AD BAGO AODADAAADAAOBOOBOOIVFFFF FOG

18-cv-09936-LGS-SLC Document 696-79 Filed 03/01/24 Page 24 of 24

Case 1

TOTITTSOSSISIFPSSOSAOOSSSSOSCS SOS O OSS CO OOOC OOOO OOOOOOOOOOOOOOOOOOOOOOO OOD OOO OOOO

<
a
v

Goocoo0c0000c0FCGoaoaong

.
oO
a
+

eooggag9eccoD CC OB OO OOo OCOoBGOOCC GOO OC OOO BOC OCKC COCO ODOC OC OCC COCO COCO OOOO COC OO OC OCC OO CC OD0DGC OC OGGOCS

2
A
v

o
a
+

eoogggg9g 99999999 SBSSBeCCO CO CODCOD BGG COODCOGOCODC OOD OCC COC CCC COC Oe CCC OC OOOO OC OCC COMODO C CC ODD DDKD OOO OC ONS

esos esgeecc9 aS ee SCSC SDSS OC AOD ODO O OOOO D ACO OD OC ACeO CGO OCO CCC ODOC OC OOOO ODOC OOOO OCOD OCC aC OOO CCC OCC DCO OC OGCOO0G

eo0000

fe LLS

ecco e0e0ceCcoo0mo00

pogge9egs9eCD Ne eBe COD BG BO OOOOD OG OOOO OCC OOOO CCC OCC OOOO COC OCC OC OC Oe O OOOO CC OC00

eoosggggrf ee fCC ea S SG AOSCSB OOOO O BoD OO C OOo BOC DOOD OOOO GC OOOO OCOD ODOC ODD OOCO OCOD OO COCO BCC OOOO COG CoC CDC OCC OGOGCCSG

ooca0

ELLs

eoecooeoOD00omoCaG0

eoeoocegscaec CODD eB SC OBO OOO OO ODOC OCOD OO Oo aC OC OOOO COC ODO OOO COCO ODOC ODOC COCO COC OC O00

eossgcesccocoo SSeS S AAG OCOD ODOC OSGOCCOGCCOCO oO GC OCB OC COC COCO OCC COCO COO ODOC OCC OOO OOC BOO OCC OAD CODCOD OOOO GO00G

eoocesoosc 9 eee oAaD BSS ACSCSCO DDD O Oe OC oOB DOC oO OOOO DCAD OO OC OC CCOC COCO COCO C OCC OOO OCOD COCO OOOO OCC OCOO CCG OoOGG

gpoogggec9 9c FCCP ADA SGSBOAeC DCO ODD OO eo eC BOO OC Oo CC OOD OOO CO ODOC OCOD OOOO OOOO CODCOD OOOO OOOO OOOO OG COCoBO COO OOGGd

eogeeosceo9 os F90C0SB BCC DOD OOOO ODDO OAGODOD OOO OOOO COC OC eG OCC ODD OOOO CODD COC OOOO CCC OOO OOO OCC OCOD CoCOOOGCCG

eoogee9999c CFO D BOBO OOD OeCoOOO OBO OeB OOO DOC OOO CO OeC CCC O COCO OCC OC OC OOOO OOOO OBC OOO COO O OOOO DOOD COC OCOGG

NVSVH Na lad Lpbeeseoos
SOTHV9 NvNr ‘VIIAVG NIS14q eesesto0e2
SN3TYVG ‘MVHSN3YONS 182509
YM WVITIM ‘LNOdYald ZLP809
uadS3r 'NASSdd5r LozbZeeoLe
W 1 'NIINVYS 682509
V M3ud ‘AS 62>809
AZOWLS 'NOLYOH 92809
SUV Nar 'LVG38 186790292
LYSMOIMLS INS £SS€60Z028
VOTH ‘GNVHAMNO 1S6PZSE008
Q VIA» 'NASTAIN PLLZO9
TNINWPN39 ‘ulvay 6s2509
WW31NZ 'VuaYysH ZeE609
Aauadar 'SNIMM 9609
OVLVHO 'NITINVYS LbLSo9
VIATAS 'NHOdSONITY-VIHLLWW b9ShLz79068
SNOUWW ‘ANY3E 891009
ZNWUd ‘OYUN bbZ86L0002
VINOS 'OTOMOM Eb9ZS90L9L
OU 'ANVH ZE9ZS90/92
VvITaq 'Z3qTVA 9z$509
W ANNYZNS '3144OLS 915S09
9 394YO39 'SN3ONA pSts09
VSSSUSHL ‘SSAVH 921509
TAYSHO "VLS3L OLFS09
GUVVONZON LISL 'NSSQVW s66eSecole
LIMA ‘NVAYVS-NIAFT SOLsPecole
NHOf ‘HONONTOOM ose60zze88
NHOf 'SSNNNH 8beSzse008
© 3NVIC ‘MVHS 16Z09
ANOHLNV 'NSNUV9 700z09
N33xOO 'NOSMOW 9Se109
TAVHOIN ‘V4LSSM 8/2009
OONWW 'SN3Y4 Se9LZse008
3y¥Maua SSSV1 'OYTSIOS 60EL60z0L8
YNHLYY "LUN 98/66
NIVUGY “TSINVG baze6s
BSA ‘ONNG BErEES
GQ AHLV9 'LYVHYSES 9eh66s
OWINNA ‘WHINY Zobe8t9068
VEMVW 'NSNNHNAL FLbLiSpore
SNNY SUV1 “IvaSMV bZ1280Z028
vid '44PINY 3G PZzegse008
YFAONVO LSOUS 6zereZze88
VNILSINO VIN ‘INWNHOS Os9etoo0RZ
SMV 3SNVLSISSV VLVG SNSSGNNWV OBZE681028
AGNY ‘SIHLNG pbeeos
A NHOP ‘TIVGNVHO bESE09
3 VHSINSY 'ASTSNVL B0SE09
SNYYVW 'MALLINETVH $0z76619068
V T3VHOIW ‘TH 696109
YVATVH SHY3OG 'HLIM PeBSOLZOL8
N3LSHOHL 'N3773 88h0619068
YSPlBW3IN WId30aN4 WYVH 6222256008
YOLOIA 'ZANILYWN ZZbbE9
GNV14A ‘ONITHON ZpLz9pbore
f GUVHOIY ‘STISV S9sc09
3TH NNV ‘T13r310s oz60p81028
TUS TALI 2269000082
LYABOY ‘VAN b6SE09
BLV3G 'MSTLISLS Zepl6L9068
AMOIA “TINN p80Lo9
a VINVW 'SOWVY EFL009
UM VISHS ‘SLLETIO 9eL009
VYGNVS 'NVWSYOS 951 9PSPOb8
AV10 ‘373S30u 608z6L9068
AV SUSGNV LOUMS ezezespors
ANDINOW ‘SH3OULS BL BPsseo0R
d CTVNOH ‘NSYCN3H b10z09
f TaVHOIW ‘11303M SZSe09
3 NATW 'YSTHN Z9se09
3Al4d HOH LVLLINI p8t62S€008
NIS N33LS 'N3SSIN 6SO0EccoLe
VGN319 ‘GOOM g1sel/ze8e
ONNUA 'ININWS3D 60SzL00082
VNO1I ‘Y3TISNWSS31 Z19Z¢19068
M 1Y380H 'SISHL £22109
NATSONA NVA ‘9 9S509/5E008
W VLINV 'N3TIVZ Z90L09
NINV> 'NSSN3P ZeogeecoLe
£1401 'NS1SHOSM BEb009
MNVUd 'OIN39 6ZL£09
SONITAAQH ‘O''H Zeeezse008
GUYVHOIY 'NSZNVUO ZBL E0zO00L
‘O'S N¥-3S 'ONNHD ONOM 12601SE008
WNAUHLVH ‘AdIYD bLSLZ9
AWAU3P ‘N3G9O Lostz9
STONY “IMOWH 8826810002
ZNAZNIA ‘HOUSETISOLS Z+9h0Z000L
ONNUE 'OOITSONV £6619
G 43u3d 'S3NUVE S0Bbz9
AOVLS 'HOVEWNW ELL bZ9

Sisielslele
Ho fio fio Jw |]
PPP I
tO ]io |t5 Jt fin |to
Nvfeufutntey

Ss
iN
io
IN

MPO] Sola
s[eielo]s
SSIS SS
to fio fun fin fis
ALN

=F
=
iS
i
in

BTA OT=[a]o
ojols|s}a1z
MINIS ISIS IS
15 13/5 |G fin fu
lntfnteutey

=|
m]eo]o
LR
ho fia fun
Alain

AS] sO OTS S] OO
NAIA ATTA AN
IRIS IS|RINTS
to |p fun i fin }io |io is
NNN]

aS
c
wD
a

O)
S|
5S
wo
a

OTS
S|s
S|~
tu }u5
NN

Addd 'SLOavYsO 1s618se008
Vv.

